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                             UNITED STATES BANKRUPTCY COURT

                                  SOUTHERN DISTRICT OF IOWA

In re:                                                 )   Chapter 11
                                                       )
QHC Facilities, LLC et al.,1                           )   Case No. 21-01643-als11
                                                       )   Jointly Administered
         Debtors.                                      )
                                                       )   Hon. Anita L. Shodeen
                                                       )
                                                       )   Sale Hearing: March 11, 2022
                                                       )   Time: 9:30 a.m. CST
                                                       )
                                                       )

                                 NOTICE OF SUCCESSFUL BIDDER

       PLEASE TAKE NOTICE that on January 28, 2022, the above-captioned debtors and
debtors-in-possession (the "Debtors”) filed with the Bankruptcy Court for the Southern District
of Iowa (the "Court") their Motion for Orders (I)(A) Approving Bidding Procedures; (B)
Scheduling the Time, Date, and Form of Notice for the Auction and Sale Hearing; and (C)
Approving Break-Up Fee; and (II)(A) Authorizing Sale of Assets Free and Clear of Liens,
Claims, Interests and Encumbrances; and (B) Authorizing Assumption and Assignment or
Rejection of Leases and Executory Contracts (Docket No. 117) (the "Sale Motion").

        PLEASE TAKE FURTHER NOTICE that the Debtors have solicited offers for the sale
of the Debtors’ Assets2 consistent with the bidding procedures (the "Bidding Procedures")
approved by the Court by entry of an order on February 11, 2022 (Docket No. 164) (the "Bidding
Procedures Order").

      PLEASE TAKE FURTHER NOTICE that on March 4, 2022, pursuant to the Bidding
Procedures Order, the Debtors conducted the Auction with respect to the Debtors’ Assets.

        PLEASE TAKE FURTHER NOTICE that the Debtors have determined that the
highest and best Qualified Bid for the Assets at the Auction (the “Successful Bid”) was made by
Cedar Healthgroup, LLC (“Cedar Healthgroup” or the "Successful Bidder"). The Successful Bid
was made for the cash amount of twelve million one hundred thousand dollars ($12,100,000.00).
In addition to the cash amount, the Successful Bidder agreed to assume the Accrued PTO

1  The Jointly Administered Debtors in this proceeding are In re QHC Management, LLC (Case No. 21-01644-
als11), In re QHC Mitchellville, LLC (Case No. 21-01645-als11), In re QHC Winterset North, LLC (Case No. 21-
01646-als11), In re QHC Madison Square, LLC (Case No. 21-01647-als11), In re QHC Fort Dodge Villa, LLC
(Case No. 21-01648-als11), In re Crestridge, Inc. (Case No. 21-01649-als11), In re Crestview Acres, Inc. (Case No.
21-01650-als11), In re QHC Humboldt North, LLC (Case No. 21-01651-als11), In re QHC Humboldt South, LLC
(Case No. 21-01652-als11) and In re QHC Villa Cottages, LLC (Case No. 21-01653-als11).
2 Terms used but not defined herein shall have the meaning ascribed to them in the Sale Motion or Bidding

Procedures Order.
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amounts as stated in Section 2.08(b) of the Successful Bidder’s Asset Purchase Agreement (the
“Accepted Bid APA”). Attached as Exhibit A is the duly executed Accepted Bid APA between
the Debtors and Cedar Healthgroup dated March 7, 2022.

       PLEASE TAKE FURTHER NOTICE that the Debtors have determined the second
highest and best Qualified Bid for the Assets at the Auction (the “Backup Bid”) was made by
Blue Diamond Equities LLC (the “Backup Bidder”). The Backup Bid was made in a cash
amount of twelve million ($12,000,000). In addition, the Backup Bidder also agreed to assume
the Accrued PTO amounts. Attached as Exhibit B is the Backup Bidder’s Asset Purchase
Agreement (the “Backup Bid APA”) between the Debtors and Blue Diamond Equities LLC
dated February 29, 2022.

        PLEASE TAKE FURTHER NOTICE that objections relating to the selection of the
Successful Bidder (other than the Purchaser), or the terms of the Accepted Bid (other than the
Asset Purchase Agreement), must: be filed with the Court, with copies delivered to the
Bankruptcy Court and received by the Chambers of the Honorable Anita L. Shodeen, United
States Bankruptcy Judge, at the U.S. Courthouse Annex, 110 East Court Avenue, Des Moines,
Iowa 50309; conform to the Bankruptcy Rules, set forth the name of the objecting party, the
nature and amount of any claims or interests held or asserted against the Debtors’ estates, the
basis for the objection and the specific grounds therefor; and be served so as to be received no
later than March 9, 2022 at 5:00 p.m. CST upon: A) general reorganization counsel to the
Debtors: attention Jeffrey Goetz (goetz.jeffrey@bradshawlaw.com) and Krystal Mikkilineni
(mikkilineni.krystal@bradshawlaw.com); (iii) counsel to the Committee: attention Francis
Lawall (Francis.Lawall@Troutman.com) and Deborah Kovsky-Apap
(deborah.kovsky@troutman.com); (iv) counsel to Lincoln Savings Bank, attention Jeff Courter
(jwc@nyemaster.com) and Roy Leaf (rleaf@nyemaster.com); and counsel to the Webb Family
Trust, attention Terry Gibson (TGibson@2501grand.com) (collectively, the "Notice Parties").

        PLEASE TAKE FURTHER NOTICE that the Sale Hearing to consider approval of the
sale of the Debtors’ Assets to the Successful Bidder at the Auction, free and clear of liens,
claims, interests, and encumbrances in accordance with Bankruptcy Code section 363(f), will be
held before the Honorable Anita L. Shodeen on March 11, 2022, commencing at 9:30 a.m. CST.

        PLEASE TAKE FURTHER NOTICE, that at the Sale Hearing, the Debtors will seek
the Court's approval of the Accepted Bid. Unless the Court orders otherwise, the Sale Hearing
shall be an evidentiary hearing on matters relating to the Sale Transaction.

         PLEASE TAKE FURTHER NOTICE that this Notice of Successful Bidder is subject
to the terms and conditions of the Bidding Procedures Order, with such Bidding Procedures
Order controlling in the event of any conflict, and the Debtors encourage parties in interest to
review such documents in their entirety. Parties interested in receiving more information
regarding the sale of the Assets and/or copies of any related document, including the Bidding
Procedures Motion or the Bidding Procedures Order, may make a written request to Debtors’
Counsel.

Dated:         3/7/2022
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                                                   /s/ Krystal R. Mikkilineni    _______________
                                                   Jeffrey D. Goetz, Esq., AT0002832
                                                   Krystal R. Mikkilineni, Esq. AT0011814
                                                   Bradshaw Fowler Proctor & Fairgrave P.C.
                                                   801 Grand Avenue, Suite 3700
                                                   Des Moines, IA 50309-8004
                                                   515/246-5880
                                                   515/246-5808 FAX
                                                   goetz.jeffrey@bradshawlaw.com
                                                   mikkilineni.krystal@bradshawlaw.com
                                                   General Reorganization Counsel for the Debtors
                                                   and Debtors in Possession,

CERTIFICATE OF SERVICE: This document was served electronically on parties who receive electronic notice through
CM/ECF as listed on CM/ECF’s notice of electronic filing.

/s/     Barbara Warner
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                                    EXHIBIT A

                             ASSET PURCHASE AGREEMENT

THIS ASSET PURCHASE AGREEMENT (the “Agreement”) is made and entered into as of
March 7, 2022 (the “Execution Date”), by and between QHC Facilities, LLC, QHC Management,
LLC, QHC Mitchellville, LLC, QHC Winterset North, LLC, QHC Madison Square, LLC, QHC
Fort Dodge Villa, LLC, QHC Humboldt North, LLC, QHC Humboldt South, LLC, and QHC Villa
Cottages, LLC, each an Iowa limited liability company, and Crestridge, Inc. and Crestview Acres,
Inc., each an Iowa corporation, (“Seller”), and Cedar Healthgroup, LLC, a New Jersey limited
liability company (“Buyer”).

                                          ARTICLE I
                                         DEFINITIONS

1.01   Definitions.   The following terms have the meanings assigned below:

       “Acquired Assets” has the meaning described in Section 2.01 of this Agreement.

       “Acquisition Transaction” shall mean any sale, transfer or other disposition (not involving
       the Buyer or its Affiliates), in one transaction or a series of transactions, of all or any
       substantial portion of the Acquired Assets or the Business, whether proposed to be effected
       pursuant to a merger, consolidation, tender offer, exchange offer, share exchange,
       amalgamation, stock acquisition, asset acquisition, business combination, restructuring,
       recapitalization, liquidation, dissolution, joint venture or similar transaction, whether or
       not proposed or advanced by the Seller.

       “Action” means any claim, action, cause of action, demand, lawsuit, arbitration, inquiry,
       audit, notice of violation, proceeding, litigation, citation, grievance, summons, pleading,
       motion, objection, subpoena or investigation of any nature, whether civil, criminal,
       administrative regulatory or otherwise and whether at Law or in equity.

       “Affiliate” means any Person that directly, or indirectly, controls, is controlled by, or is
       under common control with, such a specified Person.

        “Ancillary Agreements” means any bill of sale, warranty deed, or similar transaction
       agreements in form and substance acceptable to Seller and Buyer.

       “Ancillary Businesses” means the ancillary healthcare and medical business, including
       physician services, that Seller conducts.

       “Assumed Executory Contracts” means the executory contracts, including Leases, of
       Seller listed on Schedule 2.08(a), designated and agreed by Buyer, that have been assumed
       and assigned by the Seller to the Buyer.

       “Assumed Lease” means any Lease that is an Assumed Executory Contract.


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     “Assumed Liabilities” has the meaning set forth in Section 2.08 of this Agreement.

     “Assisted Living Facilities” means the facilities consisting of (1) Madison Square Assisted
     Living, located at 209 W Jefferson St., Winterset, IA 50273 and (2) Fort Dodge Villa
     Cottages, located at 925 Martin Luther King Drive, Fort Dodge, IA 50501.

     “Bankruptcy Code” means Title 11 of the U.S. Code, as amended from time to time.

     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
     of Iowa.

     “Bill of Sale” means a bill of sale in form and substance acceptable to Buyer and Seller.

     “Bidding Procedures Order” means that certain Order (A) Approving Bidding Procedures
     in Connection with the Auction and Sale of Assets and Scheduling an Auction and Sale
     Hearing; (B) Approving Assumption and Assignment Procedures; (C) Approving the
     Break-Up Fee; and (D) Granting Other Related Relief, entered on February 11, 2022,
     Docket Nos. 164 and 165 in the Bankruptcy Case.

     “Business” means Seller’s business as operators of 8 Skilled Nursing Facilities and 2
     Assisted Living Facilities across Iowa, and all Ancillary Businesses of Seller.

     “Business Day” means any day other than a Saturday, a Sunday, or a day on which
     commercial banks are allowed or required to close in Iowa.

     “Chapter 11 Case” means the following proceedings pending before the Bankruptcy Court
     in which Seller are the Debtors: In re QHC Facilities, LLC, Case No. 21-01643-als11, In
     re QHC Management, LLC (Case No. 21-01644-als11), In re QHC Mitchellville, LLC
     (Case No. 21-01645-als11), In re QHC Winterset North, LLC (Case No. 21-01646-als11),
     In re QHC Madison Square, LLC (Case No. 21-01647-als11), In re QHC Fort Dodge Villa,
     LLC (Case No. 21-01648-als11), In re Crestridge, Inc. (Case No. 21-01649-als11), In re
     Crestview Acres, Inc. (Case No. 21-01650-als11), In re QHC Humboldt North, LLC (Case
     No. 21-01651-als11), In re QHC Humboldt South, LLC (Case No. 21-01652-als11), and In
     re QHC Villa Cottages, LLC (Case No. 21-01653-als11). ,.

     “Claim” means any action, assessment, loss or experience rating, cause of action, claim,
     damage, demand, proceeding, fine, injury (including death), investigation, judgment,
     lawsuit, liability, loss, penalty, settlement or expense of any nature, whether civil, criminal,
     administrative or otherwise, and includes any and all “claims” as defined in 11 U.S.C.
     Section 101(5), and all “interests” as used in 11 U.S.C. Section 363(f).

     “Closing” has the meaning set forth in Section 6.01 of this Agreement.

     “Closing Date” has the meaning set forth in Section 6.01 of this Agreement. .

     “Code” means Title 26 of the U.S. Code, as amended from time to time.


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     “Contracts” means all contracts and other agreements incident to the Facilities and/or
     Business to which Seller is a party.

     “Cure Costs” means the amount necessary to cure all defaults under the Assumed
     Executory Contracts (as of the Closing Date) to permit Seller to assume and assign the
     Assumed Executory Contracts pursuant to Bankruptcy Code section 365 and any order of
     the Bankruptcy Court.

     “Disclosure Schedules” means the disclosure schedules delivered by Seller concurrently
     with the execution and delivery of this Agreement. If any schedules are not completed or
     attached hereto as of the date of this Agreement, the parties hereto agree to attach such
     schedules as soon as reasonably practicable, but in any event, this Agreement is subject to
     Buyer approving (which approval will not unreasonably be withheld, delayed or
     conditioned) all schedules or subsequent updates thereto within seven (7) days of
     submission thereof to Buyer. The parties hereto agree that the party charged with providing
     an exhibit or schedule to this Agreement shall, to the extent necessary after delivery
     thereof, amend or supplement all exhibits and schedules in order for the same to be current,
     true and correct in all material respects as of the Closing Date.

     “DOH” means Iowa Department of Public Health and the Iowa Department of Inspections
     and Appeals and Iowa Department of Human Services, collectively.

     “Employee Plans” means any pension, retirement, savings, disability, medical, dental,
     health, life, death benefit, group insurance, profit-sharing, deferred compensation, stock
     option, stock purchase, bonus, incentive, executive compensation, vacation pay, holiday
     pay, severance benefit plan, trust, arrangement, agreement, policy or commitment, whether
     or not any of the foregoing is funded or insured and whether written or oral, that is intended
     to provide or does provide benefits to any of Seller’s employees, and (i) to which seller is
     a party or by which Seller (or any of Seller’s rights, properties or assets) is bound; (ii) with
     respect to which Seller has made any payments, contributions, or commitments, or may
     otherwise have any liability (whether or not Seller still maintains such plan, trust,
     arrangement, contract, agreement, policy, or commitment); or (iii) under which any
     director, employee or agent of Seller is a beneficiary as a result of his or her employment
     or affiliation with Seller.

     “Encumbrances” means and includes interests, contractual rights, security interests,
     mortgages, liens, licenses, pledges, guarantees, charges, easements, reservations,
     restrictions, clouds, equities, rights of way, options, rights of first refusal and all other
     encumbrances, whether or not relating to the extension of credit or the borrowing of money.

     “Equipment” means all furniture, fixtures, equipment, machinery, vehicles, and other
     personalty now or hereafter attached to or appurtenant to the Land or used in connection
     with the Facilities or the Business.

     “ERISA” means the United States Employee Retirement Income Security Act of 1974, as
     amended from time to time, and the rules and regulations promulgated thereunder.

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     “Escrow Agent” means Bradshaw Fowler Proctor & Fairgrave, 801 Grand Avenue, Suite
     3700, Des Moines, IA 50309, attn: Jeffrey Goetz , goetz.jeffrey@bradshawlaw.com.

     “Excluded Agreements” means all contracts, leases, and agreements (other than those
     between Seller and Buyer) that are not Assumed Executory Contracts: (i) as to which Seller
     is a party; (ii) to which Seller or its property is subject; or (iii) by which Seller is otherwise
     bound, whether oral or written.

     “Excluded Assets” means those items specifically described in Section 2.02.

     “Excluded Liabilities” means any liabilities of, and Claims against, Seller or the Acquired
     Assets, together with all other liabilities and obligations of, and Claims against, Seller that
     are not Assumed Liabilities.

      “Facilities” means Seller’s interest in the 8 Skilled Nursing Facilities and 2 Assisted
     Living Facilities, Land, Improvements, Equipment, Intellectual Property, Contract Rights,
     Leases, Intangible Personal Property, Government Authorizations, Records and the other
     intangible and tangible assets, whether real or personal or mixed, that are located in, or
     associated with, the nursing and assisted living facilities, and/or on the Land. The Facilities
     are listed on Exhibit A.

     “FMLA” means the United States Family and Medical Leave Act, as amended from time
     to time, and the rules and regulations promulgated thereunder.

     “GAAP” means generally accepted accounting principles in the United States, consistently
     applied.

     “Governmental Authority” means the government of the United States or any foreign
     country or any state or political subdivision thereof and any entity, body or authority
     exercising executive, legislative, judicial, regulatory or administrative functions of or
     pertaining to government, and other quasi-governmental entities established to perform
     such functions.

     “Government Authorizations” means all licenses, permits, approvals, certificates of need
     and occupancy, facility certifications, consents and other authorizations from any
     Governmental Authority as are necessary to lawfully own and/or operate the Facilities or
     conduct the Business.

     “Hazardous Materials” means any substance, material, or waste that is or becomes
     regulated by any Governmental Authority including: (i) petroleum, (ii) asbestos, (iii)
     polychlorinated biphenyls, (iv) those substances, materials or wastes designated as a
     “hazardous substance” pursuant to Section 311 of the Clean Water Act or listed pursuant
     to Section 307 of the Clean Water Act or any amendments or replacements to these statutes,
     (v) those substances, materials or wastes defined as a “hazardous waste” pursuant to
     Section 1004 of the Resource Conservation and Recovery Act or any amendments or
     replacements to that statute, or (vi) those substances, materials or wastes defined as a
     “hazardous substance” pursuant to Section 101 of the Comprehensive Environmental
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     Response, Compensation and Liability Act, or any amendments or replacements to that
     statute.

     “IDHS” means the Iowa Department of Human Services.

     “IDIA” means the Iowa Department of Inspections and Appeals.

     “IDPH” means the Iowa Department of Public Health.

      “Improvements” means the buildings and all other improvements, including site
     improvements, landscaping, fixtures, mechanical equipment, apparatus and appliances,
     now owned or leased or hereafter placed in the Facilities, and/or on the Land.

     “Intangible Personal Property” means all engineering and architectural plans and
     specifications, drawings, studies and as-built surveys relating to the Facilities that are in
     Seller’s possession, and any other intangible personal property Seller owns and uses in
     connection with the Facilities.

     “Intellectual Property” means any or all of the following rights: (i) all U.S., international,
     and foreign patents and applications therefor and all reissues, divisions, renewals,
     extensions, provisionals, continuations and continuations-in-part thereof; (ii) all inventions
     (whether or not patentable), invention disclosures, improvements, trade secrets, proprietary
     information, know-how, technology, technical data and customer lists, and all
     documentation relating to any of the foregoing throughout the world; (iv) all industrial
     designs and any registrations and applications therefor throughout the world; (v) all internet
     uniform resource locators, domain names, trade names, logos, slogans, designs, common
     law trademarks and service marks, trademark and service mark registrations and
     applications therefor throughout the world; (vi) all databases and data collections and all
     rights therein throughout the world; (vii) all moral and economic rights of authors and
     inventors, however denominated, throughout the work; and (viii) any similar or equivalent
     rights to any of the foregoing anywhere in the world.

     “Inventory” has the meaning set forth in Section 2.01(a) of this Agreement.

     “Knowledge” with respect to Seller means all facts that a responsible officer of Seller
     employed as of the Execution Date would know or would have reason to know following
     due inquiry and diligence with respect to the matters at hand.

     “Labor Laws and Employment Laws” means all Laws and all contracts or collective
     bargaining agreements governing or concerning labor relations, collective bargaining,
     conditions of employment, employment discrimination or harassment, wages, hours, or
     occupations safety and health. The term includes ERISA, the Immigration Reform and
     Control Act of 1986, the National Labor Relations Act, the Civil Rights Acts of 1866 and
     1964, the Equal Pay Act, the Age Discrimination in Employment Act, the Americans With
     Disabilities Act, FMLA, WARN Act, OSHA, the Davis Bacon Act, the Walsh-Healy Act,
     the Service Contract Act, the Fair Labor Standards Act, the Rehabilitation Act of 1973, the


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     Sarbanes-Oxley Act, any worker’s compensation Law, and all rules and regulations
     promulgated under any of the foregoing Laws.

     “Laws” means all statutes, rules, codes, regulations, restrictions, ordinances, orders,
     decrees, approvals, directives, decisions, judgments, injunctions, writs, executive orders,
     awards, and decrees of, or issued by, any Government Authority.

     “Land” means the real estate described on Exhibit B, together with all easements,
     hereditaments, rights of way, privileges and rights benefiting the same and all strips and
     gores of land lying adjacent to such land that Seller owns.

     “Leases” means all lease or rental agreements involving or pertaining to the Business, to
     which Seller is a party, if any.

     “Licenses” means all notifications, licenses, permits (including environmental,
     construction, and operation permits), franchises, certificates, certificates of need,
     accreditations, approvals, exemptions, waivers, classifications, registrations and other
     similar documents and authorizations any Governmental Authorities have issued, as well
     as all applications for any of the foregoing; provided, however, that Licenses shall not
     include any notifications, licenses, permits (including environmental, construction, and
     operation permits), franchises, certificates, certificates of need, accreditations, approvals,
     exemptions, waivers, classifications, registrations and other similar documents and
     authorizations any Governmental Authorities have issued, as well as all applications for
     any of the foregoing, related to any Excluded Asset.

     “Lien” means any lien (statutory or otherwise), encumbrance, Claim, indebtedness,
     obligation, right, demand, charge, right of setoff, mortgage, deed of trust, security interest,
     pledge, preference, option, lease, license, Tax, right of first refusal or similar interest, title
     defect, easements, rights of way, restrictive covenant, encroachment, judgment,
     conditional sale, title retention agreement or restriction on transfer, or any other interest,
     whether it is secured or unsecured, known or unknown, recorded or unrecorded, contingent
     or liquidated.

     “Management Agreement” has the meaning set forth in Section 2.12.

     “Material Adverse Effect” means any adverse effect in the business, financial or physical
     condition, or results of operations of the Facilities, the Business, or Seller with respect to
     the Facilities, that is material when taken as a whole, provided, however, that a Material
     Adverse Effect shall not be deemed to include events, changes, effects, conditions, state of
     facts or occurrences arising out of, relating to, or resulting from: (i) changes in the United
     States or foreign economies or financial markets in general; (ii) general changes or
     developments in business, regulatory, or macroeconomic conditions or trends that affect
     the industries and markets in which the Sellers operate; (iii) any global or national health
     concern, epidemic, disease outbreak, pandemic (whether or not declared as such by any
     Governmental Authority and including “coronavirus” or “COVID-19”) or any Law issued
     by a Governmental Authority requiring business closures, quarantine, “sheltering-in-place”
     or similar restrictions that arise out of such health concern, epidemic, disease outbreak or
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     pandemic or any change in such Law following the date of this Agreement; (iv) changes
     after the date of this Agreement in any Laws; (v) the announcement or anticipated
     consummation of the transactions this Agreement contemplates; (vi) the commencement
     or pendency of the Chapter 11 Case; (vii) any objections in the Bankruptcy Court to (A)
     this Agreement or any of the transactions contemplated hereby or thereby, (B) the Bidding
     Procedures Order, or (C) the assumption or rejection of any Contract or Lease pursuant to
     and in compliance with this Agreement

     “Medicare Advance Payments” means unpaid or unreturned accelerated or advance
     Medicare payments received by the Facilities under the Coronavirus Aid Relief, and
     Economic Security Act amending the Accelerated Payments program, and any other
     unpaid or unreturned advance payments or stimulus funds received by the Facilities
     through any federal or state governmental agency providing reimbursement.

     “OSHA” means the United States Occupational Safety and Health Administration.

     “Out of Compliance” means any of the following (A) a finding by a Governmental
     Authority of one or more deficiencies at any Facility at a “level G” or above that has not
     been corrected and cleared by the applicable Governmental Authority; (B) a denial of any
     Facility’s right to admit patients or to receive Medicare or Medicaid payments or
     reimbursements for existing patients or for new admissions at any Facility (C) any Facility
     loses its operating license or any material Permit; (D) any Facility has any Provider
     Agreement revoked or terminated; and (E) any Facility has its number of beds reduced;
     provided that the Facilities shall not be Out of Compliance if any of the conditions set forth
     in this definition exist at any Facility but are thereafter cured or rectified by the Seller
     within a reasonable period.

     “Person” means any individual, corporation, partnership, joint venture, association, limited
     liability company, trust, unincorporated organization or Governmental Authority.

     “Permitted Encumbrances” means any Encumbrances that remain attached to any
     Acquired Assets, from and after the Closing Date, with Buyer’s consent.

     “Petition Date” means December 29, 2021.

     “Purchase Price” has the meaning set forth in Section 2.03.

     “Records” means all books and records Seller (or its Affiliates) maintain in connection
     with the Facilities or the Business, but excluding any records relating solely to Seller
     corporate entity as distinct from the Facilities or Business.

     “Sale Order” means an Order of the Bankruptcy Court approving the sale to Buyer.

     “Skilled Nursing Facilities” means the facilities consisting of (1) Crestridge, located at
     1015 Wesley Drive, Maquoketa, IA 52060, (2) Winterset Care Center North, located at
     411 East Lane St., Winterset, IA 50273, (3) Crestview Acres, located at 1485 Grand
     Avenue, Marion, IA 52303, (4) Humboldt Care Center North, located at 1111 11th Ave,

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       North, Humboldt, IA 50548, (5) Humboldt Care Center South, located at 800 13th St.,
       South, Humboldt, IA 50548, (6) Sunnycrest Nursing Center, located at 401 Crisman St.,
       Dysart, IA 52224, (7) Mitchell Village Care Center, located at 114 Carter St. SW,
       Mitchellville, IA 50169, and (8) Fort Dodge Villa Care Center, located 2721 10th Ave
       North, Fort Dodge, IA 50501.

       “Tax Return” means any report, return, declaration or other information required to be
       supplied to any Governmental Authority in connection with Taxes, including estimated
       returns and reports of every kind with respect to Taxes.

       “Taxes” means all taxes, charges, fees, levies, duties, penalties, additions or assessments
       imposed by any Governmental Authority, including income, excise, property, sales,
       transfer, use, ad valorem, profits, occupancy, environmental, sewer, tap, severance,
       franchise, value added or other taxes, including any interest, penalties or additions
       attributable thereto.

       “Third Party” means any Person other than Seller, Buyer or an Affiliate of either.

       “Transaction Documents” means this Agreement and any other agreement, document or
       instrument executed and delivered pursuant to the terms of, or otherwise in connection
       with, this Agreement, including, for the avoidance of doubt, the Bidding Procedures, the
       Bidding Procedures Order and the Sale Order.

       “Treasury Regulations” means the Income Tax Regulations, including Temporary
       Regulations, promulgated under the Code.

       “WARN Act” means the United States Worker Adjustment and Retraining Notification
       Act, as amended from time to time, and the rules and regulations promulgated thereunder.

1.02   General Construction. Whenever the context requires in this Agreement, the singular
       includes the plural and masculine includes the feminine or the neuter. The word
       “including” means “including without limitation.” Words such as “herein,” “hereof,”
       “hereby” and “hereunder” and words of similar import refer to this Agreement as a whole
       and not to any particular Article, Section or Subsection of this Agreement.

1.03   Schedules and Exhibits. The schedules and exhibits referenced in this Agreement are
       incorporated herein. All items disclosed hereunder shall be deemed disclosed in connection
       with the specific representation to which they are explicitly referenced. If no disclosure
       schedule is attached with reference to a specific Section of this Agreement, then such
       missing schedule shall be deemed to state “None.”

                                    ARTICLE II
                            AGREEMENT AND CONSIDERATION

2.01   Agreement to Sell and Purchase. In consideration of the mutual covenants and promises
       contained in this Agreement, Seller agrees to sell, assign, transfer and convey unto Buyer
       all of Seller’s right, title and interest in and to the assets described in this Section 2.01 (but

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     not any Excluded Assets) (collectively the “Acquired Assets”), and Buyer agrees to
     purchase all of Seller’s right, title and interest in and to the Acquired Assets (but not any
     Excluded Assets), all upon the terms and conditions set forth herein. Except for any
     Excluded Assets, the Acquired Assets consist of the following assets, properties and rights
     of Seller as of the close of business on the Closing Date:

     (a) All inventory, including finished goods, raw materials, work in progress,
     packaging, supplies, parts and other inventories, but excluding the Excluded Assets
     (collectively, the "Inventory");

     (b) All Contracts set forth in Section 2.08(a) of the Disclosure Schedules (the
     "Assumed Executory Contracts");

     (c)    All Intellectual Property;

     (d) All furniture, equipment, machinery, tools, vehicles, office equipment, supplies,
     computers, telephones and other tangible personal property;

     (e)    All Land;

     (f)    All Permits which are held by Seller and required for the conduct of the Business
     as currently conducted or for the ownership and use of the Acquired Assets;

     (g) All rights to any Actions of any nature available to or being pursued by Seller to
     the extent related to the Business, the Acquired Assets or the Assumed Liabilities, whether
     arising by way of counterclaim or otherwise, provided, however, that the rights to any
     Avoidance Action against any party to a Contract of Seller not listed on Section 2.08(a)
     of the Disclosure Schedules as of the Closing or any Action against any director, officer,
     equity-holder, or lender of any Seller are not a Purchased Asset;

     (h) All of Seller's rights under warranties, indemnities and all similar rights against
     third parties to the extent related to any of the Acquired Assets or Assumed Liabilities;

     (i)   All employee benefit plans set forth in Section 2.01(i) of the Disclosure
     Schedules, solely to the extent designated and agreed by Buyer, including all related
     insurance policies, contracts, trusts and any other assets attributable thereto (the
     "Assumed Benefit Plans");

     (j)   All insurance benefits, including rights and proceeds, arising from or relating to the
     Business, the Acquired Assets or the Assumed Liabilities

     (k) Originals, or where not available, correct and complete copies, of all books and
     records, including books of account, ledgers and general, financial and accounting
     records, customer lists, customer purchasing histories, price lists, distribution lists,
     supplier lists, production data, quality control records and procedures, customer
     complaints and inquiry files, research and development files, records and data (including
     all correspondence with any Governmental Authority), sales material and records

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       (including pricing history, total sales, terms and conditions of sale, sales and pricing
       policies and practices), strategic plans, internal financial statements, marketing and
       promotional surveys, material and research and files relating to the Intellectual Property
       Assets ("Books and Records"); and

       (l)    All goodwill and the going concern value of the Business.

2.02   Excluded Assets. The following assets are expressly excluded from the purchase (the
       “Excluded Assets”):

       (a)  All Contracts that are not Assumed Executory Contracts (the "Excluded
       Contracts");

       (b)    Cash and cash equivalents;

       (c)    Accounts receivable;

       (d) The corporate seals, organizational documents, minute books, stock books, Tax
       Returns, books of account or other records having to do with the corporate organization
       of Seller;

       (e)    All rights to any Avoidance Actions against any creditor of Seller not listed in
       Section 2.08(a) of the Disclosure Schedules as of the Closing or any party to a Contract
       of Seller not listed on Section 2.08(a) of the Disclosure Schedules as of the Closing, or
       any Action against any director, officer, equity-holder, or lender of any Seller;

       (a) Prepaid expenses, credits, advance payments, claims, security, refunds, rights of
       recovery, rights of set-off, rights of recoupment, deposits, charges, sums and fees
       (including any such item relating to the payment of Taxes) related to prior to the Closing
       Date; and

       (f)    The rights specifically accruing to Seller under the Transaction Documents.

2.03   Consideration. Buyer agrees to pay to Seller the total of Twelve Million One Hundred and
       00/100 Dollars ($12,100,000) (the “Purchase Price”) in consideration for the sale of the
       Acquired Assets, subject to the adjustments and credits described herein.

2.04   Good Faith Deposit. Within two (2) business days of the Execution Date, Buyer shall
       provide a good faith deposit of $605,000 in cash to Escrow Agent to be held pending
       Closing. In the event Buyer is not the Prevailing Bidder at the Auction, Seller shall return
       the good faith deposit to Buyer within three business days of entry of the order approving
       the sale.

2.05   Method of Payment. Buyer will pay the Purchase Price at Closing, less the Medicare
       Advance Payments, in immediately available funds. The Good Faith Deposit shall be
       applied to the Purchase Price.


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2.06   Allocation of the Purchase Price. The Purchase Price will be allocated in the manner set
       forth on Exhibit C, said allocation being mutually agreed upon by the parties.

2.07   Excluded Assets. Notwithstanding anything herein to the contrary, Buyer will not acquire
       any interest in the Excluded Assets as a result of this transaction.

2.08   Assumed Liabilities. Buyer will not assume or in any way be responsible for any of the
       debts, liabilities, or obligations of any kind or nature of Seller, other than as specifically
       set forth below(collectively, the “Assumed Liabilities”).

        (a) Except as set forth herein, Buyer shall assume and be responsible for all Liabilities
        of Seller under the Assumed Executory Contracts, including any costs to cure any ongoing
        default under any Assumed Executory Contract (the "Cure Costs") in accordance with the
        Bidding Procedures. Section 2.08(a) of the Disclosure Schedules sets forth a correct and
        complete list of all Assumed Executory Contracts as of the date hereof, including any
        Cure Costs associated therewith. Therefore, Buyer shall only be obligated to pay
        Liabilities under contracts which Buyer has explicitly assumed pursuant to section 2.08(a)
        of this Agreement, which will be designated by Buyer, and detailed in section 2.08(a) of
        the Disclosure Schedules. If the Buyer indicates in the Disclosure Schedules that Buyer
        does not wish to assume a Cure Cost, it shall be deemed that Buyer does not assume the
        corresponding contract. Notwithstanding the foregoing, Buyer shall not assume any Cure
        Costs related to any provider agreement (i.e., Medicare, Medicaid or any HMOs), which
        amount shall either be satisfied by Seller simultaneously with the Closing or credited at
        Closing against the Purchase Price.

(b)    All Liabilities of Seller with respect to the amount of accrued but unused paid time of
       (including any accrued sick time) for each employee as of the Closing Date (collecting, the
       “Accrued PTO”) and the aggregate value of the Accrued PTO, as set forth on Schedule
       2.08(b). Seller shall provide Buyer, at least ten (10) days prior to the Closing Date, an
       updated version of Schedule 2.08(b) reflecting Accrued PTO amounts (and the value of
       those amounts). Seller shall provide Buyer on the Closing Date with an updated version
       of Schedule 2.08(b) reflecting Accrued PTO amounts (and the value of those amounts) as
       of the Closing Date. On the Closing Date, Buyer shall assume the Accrued PTO balances
       with respect to the transferred Employees and Buyer will, thereafter, be responsible for
       paying the Accrued PTO to the transferred Employees in accordance with the Buyer’s
       applicable policies and procedures.

2.09   Without limiting the generality of the foregoing, Buyer will have no liability for any
       Excluded Liabilities or Excluded Assets. Other than the Assumed Liabilities, Buyer shall
       not assume from Seller any Liabilities whatsoever, all of which shall be retained by the
       Seller and considered Excluded Liabilities including without limitation:

       (a)     malpractice, professional liability or other tort claims, statutory or regulatory
claims, claims of local, state or federal agencies whether civil or criminal, fraud-based claims or
claims for breach of contract to the extent any such claims are based on acts or omissions of Seller
or events occurring at the Facilities before the Closing Date;

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       (b)   any accounts payable, Taxes, or other obligation or Liabilities of Seller to pay
money incurred by Seller for periods prior to the Closing Date;

       (c)    any collective bargaining agreements or other agreements or understandings with
any labor union or collective bargaining unit or any employment or consulting agreements of any
kind and any Liabilities arising from any pension fund or benefits programs;

       (d)     any administrative expense Claims accruing in the Chapter 11 Case;

       (e)     Liabilities of Seller arising under or in connection with any Excluded Contract;

       (f)     Liabilities of Seller arising under all employment and change of control contracts,
severance obligations, equity option contracts and equity purchase contracts to which Seller is a
party other than any Liability arising pursuant to any Assumed Contract;

       (g)     Liabilities or obligations in connection with any indebtedness of Seller, except
pursuant to any Assumed Contract or other Assumed Liability;

       (h)     other than Cure Amounts related to the Assumed Contracts, all pre-petition and
post-petition Claims as of the Closing Date, including, without limitation, all trade payables and
general unsecured Claims;

       (i)     any Liability arising out of, under or in connection with the Excluded Assets;

       (j)    all Liabilities relating to (including amounts or notice due to) employees, former
employees, consultants, former consultants or retirees of Seller based on the termination of such
employment or engagement by the Seller, including any amounts due to such Persons prior to
Closing;

       (k)     any Liability that is not an Assumed Liability; and

        (l)     other than Cure Amounts related to the Assumed Contracts, any other Liabilities
arising in whole or in part from Seller’s acts or omissions or in any way related to the operations
of the Facility prior to the Effective Time.

2.10   Inspection / Due Diligence Period. Buyer agrees that it has conducted sufficient due
       diligence to close the sale and purchase the Acquired Assets as is, where is, other than as
       otherwise agreed by Seller and Buyer.

2.11   Revisions to List of Assumed Executory Contracts. Subject to the terms of any controlling
       Bankruptcy Court order and the requirements of the Bankruptcy Code, Buyer may revise
       Schedule 2.08(a) at any time prior to the Bankruptcy Court’s entry of the Sale Order, by
       giving notice to Seller; provided, however, that such revision shall not result in additional
       cost (including Cure Cost) to Seller., following entry by the Bankruptcy Court of the Sale
       Order. Immediately upon Buyer’s delivery of such written notice to Seller, Schedule
       2.08(a), so revised, will define the scope of the Assumed Executory Contracts in all
       respects pursuant to this Agreement, including the scope of Assumed Liabilities, Assumed
       Executory Contracts, Excluded Liabilities, and Excluded Agreements, and Cure Costs.
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2.12   Provider Agreements;

        (a)    Management Agreement. The Buyer and Sellers shall enter into an ancillary
agreement within five (5) Business Days of entry of the Sale Order to transfer management and
operation of the Facilities, subject to Applicable Law (the “Management Agreement”). Pursuant
to the Management Agreement, all economic risk and reward in relation to the operation of the
Facilities transfers to the Buyer on the effective date of the Management Agreement.      The
effective date of the Management Agreement shall be no later than two (2) weeks following the
the Auction; provided, however, that the parties shall use good faith efforts to cause the
Management Agreement to become effective as soon as feasible after the Auction.

       (b)      Interim Billing. (a) As of the Closing Date and to the extent permitted by Applicable
Law, Seller shall transfer and assign to Buyer all of Seller’s rights and interests in and to Seller’s
Medicare and Medicaid provider numbers and Medicare and Medicaid provider reimbursement
agreements. The Parties acknowledge and agree that Buyer is not expected to have received its
“tie in” notice from Centers for Medicare and Medicaid Services (“CMS”) with respect to Seller’s
Medicare or Medicaid provider agreements or any new Medicare or Medicaid provider
agreements (collectively, the “Provider Agreements”) as of the Closing Date. Prior to Buyer’s
receipt of its tie in notice and Provider Agreements, so long as Buyer is accepting assignment of
the Provider Agreements and is utilizing commercially reasonable efforts to become the certified
Medicare and/or Medicaid provider, as applicable, at the Facility, Seller agrees that Buyer may
bill for services performed following the Closing under Seller’s Medicare and/or Medicaid
provider number, as applicable, to the extent permitted by Applicable Law. (b) The Parties
acknowledge and agree that Seller’s managed care provider plans and agreements with other
third-party payors are not expected to have been updated with Buyer’s provider information as of
the Closing Date. From and after the Closing Date until such managed care provider plans and
agreements with other third-party payors are updated with Buyer’s provider information, Seller
agrees that Buyer may bill for services provided following the Closing under Seller’s managed
care provider plans and agreements with other third-party payors using Seller’s provider
information to the extent permitted by Applicable Law and the terms and conditions of the plans
and agreements with the third party payors. (c) Any reimbursements from Medicare or Medicaid
billed by Buyer for dates of service after the Closing Date which are paid into Seller’s accounts
shall be forwarded by Seller to Buyer.

                                    ARTICLE III
                          REPRESENTATIONS AND WARRANTIES

3.01   Seller’s Representations and Warranties. Seller represents and warrants to Buyer as
       follows and agrees that each of the following will be true and correct on the Execution Date
       and the Closing Date. This Section 3.01 contains the full and complete list of Seller’s
       representations and warranties to Buyer. Seller covenants as follows:

   (a) Organization of Seller. Each Seller as listed in the preamble above is either a limited
       liability company or corporation duly organized and validly existing and in good standing
       under the laws of the State of Iowa.


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  (b) Authority. The execution and delivery of this Agreement and the Ancillary Agreements
      to which it is a party, and the consummation of the transactions herein contemplated have
      been duly and validly authorized by all necessary action on the part of Seller. Subject to
      the Bankruptcy Court’s entry of the Sale Order, this Agreement has been, and any
      Ancillary Agreements will be as of the Closing Date, duly executed and delivered by
      Seller, and do or will (as the case may be) constitute Seller’s valid, legal, and binding
      obligation according to their terms.

  (c)   Consents and Authority. Except for the Bankruptcy Court’s entry of the Sale Order,
        Seller has obtained all corporate approvals and membership consents necessary to
        consummate the transactions contemplated therein.

  (d) Title. Seller has delivered to or made available for Buyer’s review true, correct, and
      complete copies of the title abstracts for all real estate in which Seller has an interest.

  (e) Litigation and Compliance with Laws. To Seller’s Knowledge, Schedule 3.01(e) sets
      forth a complete and accurate description of any litigation, proceeding, claim or
      investigation threatened or pending before any court, arbitrator or administrative agency
      affecting or relating to Seller or Seller’s operation of the Facilities.

  (f)   Utilities. To Seller’s Knowledge, all water, gas, electricity, telephone, cable, drainage
        facilities, sewer and other utilities required for the operation of the Facilities either enter
        the Land through adjoining public streets or, if they pass through adjoining private land,
        they do so in accordance with recorded easements.

  (g) Tax Returns; Taxes. Except as precluded by the Bankruptcy Code, Seller has filed all
      Tax Returns due as of the Execution Date of this Agreement and has or will pay all Taxes
      against the Facilities and/or Seller that relate to Seller’s ownership and/or operation of
      the Facilities, or that could constitute an Encumbrance against the Facilities, if and when
      they are due and payable.

  (h) Non-Foreign Status. Seller is not a foreign entity (as the term is defined in the Internal
      Revenue Code and Income Tax Regulations) and Seller agrees to execute a Certificate of
      Non-Foreign Status pursuant to Section 1445 of the Internal Revenue Code at Closing.

  (i)   Broker’s Fee. Seller is solely responsible for satisfying any Claim relating to any broker
        or advisor with respect to the transactions this Agreement contemplates for a brokerage
        commission, consulting fee, finder’s fee or similar payment.

  (j)   Bulk Sales Law. Seller has complied, or will comply, with any applicable bulk sales law
        requirements applicable to the sale of the Facilities, at its sole expense.

  (k) Environmental Matters. To Seller’s Knowledge, except as set forth on Schedule 3.01(t),
      the Facilities are in compliance with all federal, state and local environmental, health and
      safety laws, statutes ordinances and regulations, including all laws relating to Hazardous
      Materials, and wetlands.


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  (l)   Employee Plans. Except as otherwise may be prohibited by law, Seller has delivered to
        or made available for Buyer’s review true, correct, and complete copies of Seller’s
        Employee Plans.

  (m) Fraud and Abuse. Except as set forth on Schedule 3.01(t), to Seller’s Knowledge, Seller
      has not engaged in any activities that are prohibited under 42 U.S.C. §1320a-7b or 42
      U.S.C. 1395, or the regulations promulgated thereunder, or any applicable related Law,
      or that are prohibited by rules of professional conduct, including the following: (a)
      knowingly and willfully making or causing to be made a false statement or representation
      of a material fact in any application for any benefit or payment; (b) knowingly and
      willfully making or causing to be made any false statement or representation of a material
      fact for use in determining rights to any benefit or payment; (c) any failure by a claimant
      to disclose knowledge of the occurrence of any event affecting the initial or continued
      right to any benefit or payment on its own behalf or on behalf of another, with the intent
      to fraudulently secure such benefit or payment; and (d) knowingly and willfully soliciting
      or receiving any remuneration (including any kickback, bribe or rebate) directly or
      indirectly, overtly or covertly, in cash or in kind, or offering to pay or receive such
      remuneration (i) in return for referring an individual to a person for the furnishing or
      arranging for the furnishing of any item or service for which payment may be made in
      whole or in part by Medicare or Medicaid, or (ii) in return for purchasing, leasing or
      ordering or arranging for, or recommending, purchasing, leasing or ordering any good,
      facility, service or item for which payment may be made in whole or in part by Medicare
      or Medicaid. Seller is not and at no time has been suspended or excluded from
      participation in any federally funded health care program, including Medicare or
      Medicaid.

  (n) Insurance Policies. Seller has delivered to or made available for Buyer’s review true,
      correct, and complete copies of Seller’s policies of insurance applicable to Seller, and the
      Facilities, including medical malpractice insurance covering all physicians and other
      professional personnel Seller has engaged or employed, general liability insurance,
      property insurance, employer’s liability and workers’ compensation insurance.

  (o) Certificates of Need. Seller has delivered to or made available for Buyer’s review true,
      correct, and complete copies of Seller’s certificates of need; (ii) letters of non-
      reviewability; or (iii) other exemptions from certificate of need review, that Seller holds
      or uses in the operation of the Business. Schedule 3.01(o) sets forth a true, correct, and
      complete list of all such documents.

  (p) Medical Staff. Seller has delivered to or made available for Buyer’s review true, correct,
      and complete copies of Seller’s (i) medical staff privilege and membership application
      forms; (ii) delineation of privilege forms; current medical staff bylaws, rules and
      regulations, and amendments thereto; (iii) credentials and appeals procedures not
      incorporated in any of the foregoing; and (iv) contracts with physicians, physician
      groups, or other members of the medical staff of the Facilities.

  (q) Hill-Burton and Other Liens. Seller has not received any loans, grants, or loan guaranties
      pursuant to the United States Hill-Burton Act (42 U.S.C. § 291a, et seq.) program, the
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        Health Professions Educational Assistance Act, the Nurse Training Act, the National
        Health Pharmacy and Resources Development Act, or the Community Mental Health
        Centers Act. To Seller’s Knowledge, none of the Acquired Assets are subject to any
        liability in respect of amounts received by Seller or others for the purchase of the
        Acquired Assets (or any part thereof) under restricted or conditioned grants or donations,
        including monies received under the Public Health Services Act (42 U.S.C. § 291, et
        seq.).

  (r)   Experimental Procedures. Neither Seller, nor any officers, employees or agents of Seller,
        have performed or permitted to be performed, nor do they have Knowledge of the
        performance of, any experimental procedures involving patients/residents in the
        Facilities.

  (s)   Permits. Except as set forth on Schedule 3.01(s), the Facilities are duly licensed in
        accordance with the Laws of the State of Iowa, DOH and all other ancillary departments
        or services located at or operated for the benefit of, the Facilities that are required to be
        separately licensed are duly licensed by the appropriate Governmental Authority. To the
        Knowledge of Seller, Seller has all Permits which are needed or required by Law to
        operate its business related to or affecting the Facilities or any ancillary services related
        thereto as currently conducted. Schedule 3.01(s) is a true, complete and accurate list all
        material Permits owned or held by or issued to Seller relating to the ownership or
        operation of the Facilities or the Acquired Assets and such Permits constitute all material
        Permits necessary for the conduct of the Business and operation of the Facilities as
        currently conducted and for the ownership of the Facilities by Seller and operation and
        use of the Acquired Assets by Seller, all of which are in full force and effect.

  (t)   Compliance. Except as set forth on Schedule 3.01(t), or to the extent such failure would
        not constitute a Material Adverse Effect, to the Knowledge of Seller, Seller is complying
        in all material respects with all applicable statutes, rules, regulations, and requirements
        of each Governmental Authority having jurisdiction over the Seller, the operations of the
        Facilities and the Acquired Assets.

  (u) Licensed Beds and Current Rate Schedule. Schedule 3.01(u) sets forth a true, correct
      and complete statement, as of three (3) Business Days prior to the Execution Date, of: (i)
      the number and type of licensed beds at the Facilities, and (ii) the number of beds then
      occupied in, and the occupancy percentages at, the Facilities.

  (v) Prohibited Practices. Except as set forth on Schedule 3.01(t), during the eighteen (18)
      month period prior to the Execution Date, no officers or directors of Seller have, during
      their period of engagement with Seller, been charged with, convicted of or pleaded guilty
      to crimes of theft or dishonesty, financial misconduct, or offenses related to the delivery
      of health care services, nor, to Seller’s Knowledge, have any of Seller’s current officers
      or directors been excluded from participation in Medicare, Medicaid or any other state
      or federal government reimbursement program. To Seller’s Knowledge, during the
      eighteen (18) month period prior to the Execution Date, none of Seller’s officers,
      directors or employees has engaged in any conduct that may result in sanctions to Seller
      under any federal or state laws.
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   (w) Government Investigations. Except as set forth on Schedule 3.01(t), other than for
       routine state and federal inspections or surveys performed by DOH, during the eighteen
       (18) month period prior to the Closing Date, Seller has received no written notice of the
       commencement of any investigation proceedings or any governmental investigation or
       action (including any civil investigative demand or subpoena) under Laws.

   (x)   Cost Reports. Seller has filed all cost reports required to be filed for the Facilities as of
         the Closing Date under Law. Seller has furnished Buyer with copies of all cost reports
         filed by Seller with the appropriate State agency, the appropriate Medicare and Medicaid
         agencies and/or fiscal intermediaries in respect of the operation of the Facilities for the
         years ended December 31 2020 and 2019, and to Seller’s Knowledge, such cost reports
         did not contain any material disallowable costs or expenses or any untrue statement of a
         material fact or omit to state a material fact necessary in order to make the statements
         contained therein not misleading, and, to Seller’s Knowledge, such cost reports have been
         prepared in all material respects in accordance and compliance with all applicable
         government rules and regulations.

   (y) Financial Information.

                      (i)     Schedule 3.01(y) hereto contains the following financial statements
and financial information (collectively, the “Historical Financial Information”):

unaudited financial statements consisting of the balance sheet of the Business as of December 31,
2021, and the related statements of income and net surplus/deficit, and cash flow for the 12-month
period ended on December 31, 2020 (the “Unaudited Financial Information”).

                       (ii)     The Unaudited Financial Information included in the Historical
Financial Information has been prepared consistent with past practice and may not include required
footnote disclosures or reflect normal year-end adjustments. Seller has not changed in any material
respects any accounting policy or methodology in calculating reserves, including reserves for
uncollected accounts receivable, throughout all periods presented in the Historical Financial
Information.

         (z)   Real Property.

                        (a)     Schedule 3.01(z) contains an accurate and complete legal
               description, street address and tax parcel identification number for the Land. Seller
               holds good and indefeasible fee simple title to all the Land and shall convey the
               Land in accordance with the Sale Order free and clear of all Liens (other than the
               Permitted Liens). Seller is not a lessee of any portion of the Land. Seller agrees
               that title to the Land shall not be altered between the Execution Date and Closing.
               Except as set forth on Schedule 3.01(z), other than the right of Buyer pursuant to
               this Agreement, there are no outstanding agreements, options, rights of first offer,
               rights of first refusal, or any other grant to third party to sell, purchase, lease,
               sublease, use, occupy, or enjoy the Land or any portion thereof or interest therein.


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                        (b)     Except as set forth on Schedule 3.01(t), Seller has not received
                written notice from any Governmental Authority of (and otherwise has no
                Knowledge of): (i) any pending or threatened condemnation proceedings affecting
                the Land, or any part thereof; (ii) any written notice asserting or alleging any
                material violations or potential violations of any Laws (including zoning and land
                use ordinances, building codes and similar requirements) with respect to the Land,
                or any part thereof, which have not heretofore been cured; or (iii) any pending or
                threatened proceedings, nor any claims or actions against Seller or the Land,
                relating to the ownership, lease, use or occupancy of such Land or any portion
                thereof which is reasonably likely to result in a material change in the condition of
                the Land or the ownership or operation of the Land. Seller has not received any
                written notice of any pending zoning or other land use change affecting the real
                property.

                        (c)    Neither Seller nor, to Seller’s Knowledge, any other person is in
                violation of a condition or agreement contained in any easement, restrictive
                covenant or any similar instrument or agreement affecting any of the Land in any
                material respect.

                        (d)   To Seller’s Knowledge, except as set forth on Schedule 3.01(z), the
                Land is zoned for its current use and there are no waivers or variances granted by
                any Governmental Authority which, as a result of the transactions contemplated in
                this Agreement, will be withdrawn or abrogated, including but not limited to life
                safety code waivers.

3.02    Buyer’s Representations and Warranties. Buyer makes the following representations and
        warranties to Seller, which will be true and correct as of the date made and the Closing
        Date:

       (a) Organization of Buyer. Buyer is a limited liability company duly organized, validly
           existing, and in good standing under the laws of the State of New Jersey and as of the
           Closing will be licensed to do business in the State of Iowa.

       (b) Authority. The execution and delivery of this Agreement and the consummation of the
           transactions herein contemplated have been duly and validly authorized by all necessary
           corporate action on the part of Buyer, and this Agreement constitutes, and the documents
           contemplated hereby will be, Buyer’s valid and legally binding obligations, enforceable
           according to their terms.

       (c) Conflict or Default. Neither the execution nor delivery of this Agreement, nor the
           consummation of the transactions herein contemplated will conflict with, violate, result
           in a breach by, constitute a default under or accelerate the performance provided by the
           terms of any Law or agreement to which Buyer may be subject.

3.03    Full Disclosure. To their Knowledge, no representation or warranty by Seller or Buyer,
        and no statement, document, financial statement, certificate or other instrument, schedule
        or exhibit furnished or to be furnished hereunder or in connection with the transactions
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       contemplated hereby (including all exhibits and schedules hereto) contains or will contain
       any untrue or misleading statement of fact or omit to state or contain anything necessary to
       make such matter correct, complete and not misleading in all respects and to fairly present
       the information set forth in a manner that is not misleading.

                                        ARTICLE IV
                                     TITLE AND SURVEY

4.01 Title Report and Policy. Promptly after the Execution Date, Seller will use good faith
       efforts to deliver for Buyer’s review true, correct, and complete copies of all abstracts of
       title to the Land. If the abstracts are not available, Buyer shall promptly order, or shall
       order a title commitment from the Escrow Agent. An abstract for any parcel of Land
       purchased will become the property of Buyer when Buyer pays the Purchase Price in full.
       Seller will pay the cost of any additional abstracting title work due to any act or omission
       of Seller. Buyer may elect to obtain a title insurance policy in lieu of an attorney’s opinion
       at Buyer’s expense. Any objections to the title commitment Buyer identifies will be treated
       in the same manner as title objections in the attorney’s title opinion. Buyer shall have the
       right to object to anything material shown in the abstract (or title commitment) and survey,
       other than matters set forth in (3) through (6) below, by written notice (“Buyer Objection
       Letter”) to Seller with five (5) business days of receipt of both the abstract (or title) and
       survey (the “Unpermitted Exceptions”). Seller shall identify whether or not it is willing or
       capable of correcting within ten (10) business days of receipt of the objection letter. If
       Seller determines not to remove or correct such Unpermitted Exceptions, then Buyer may
       elect upon written notice to Seller made within three (3) Business Days after Buyer’s
       receipt of the Seller objection response: (i) to terminate this Agreement as to that specific
       Facility or Land by written notice to Seller, in which event the Deposit shall be refunded
       to Buyer and neither party shall have any further liability to any other party under
       Agreement, except as otherwise provided in this Agreement; or (ii) to take the Property
       subject to such Unpermitted Exceptions, without adjustment to the Purchase Price, in
       which case such Unpermitted Exceptions shall become Permitted Exceptions. Any
       objection by the Buyer to something material in an abstract or survey shall only apply as a
       right to terminate the Agreement as to the Land subject to such abstract or survey and Buyer
       shall not have the right to terminate the entire Transaction. As used herein, “Permitted
       Exceptions” means: (1) all restrictions, reservations, covenants and easements of record, if
       any, to which Buyer fails to object in its Buyer Objection Letter; (2) all matters disclosed
       on the Survey to which Buyer fails to object in its Buyer Objection Letter; (3) all current
       period Taxes not yet due and payable; (4) any covenants, conditions, or restrictions, or
       applicable Laws or other governmental regulations, governing or limiting the use of the
       property, in each case that are not violated by the existing improvements or the current use
       thereof; (5) any utility or other easements that would qualify under the foregoing clause
       and which further do not underlay any of the existing improvements on the Property; and
       (6) liens created by, through, or under Buyer.

4.02   Survey. Seller has delivered to or made available for Buyer’s review any surveys of Land
       in its possession. Prior to Closing, Buyer may at its expense obtain a survey of the Land,
       or update an existing survey at Buyer’s expense.

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                                         ARTICLE V
                                         CONDITIONS

5.01     Conditions to Buyer’s Obligations. Buyer’s obligations under this Agreement are
         conditioned upon the following (which Buyer may waive, in whole or in part, in writing):

   (a) Performance of Covenants. Seller has, in all material respects, timely performed all
       covenants and obligations, and timely complied with all conditions required of Seller by
       this Agreement.

   (b) Representations and Warranties. All of Seller’s representations and warranties are true,
       complete and correct, in all material respects, on the Execution Date and as of the Closing
       Date as if made at that time (other than the representations and warranties that by their
       terms address matters only as of another specified date, which shall be so true, complete
       and correct, in all material respects, only as of such other specified date), except where
       the failure of such representations and warranties to be true, complete and correct, in all
       material respects, had not had, and would not reasonably be expected to have,
       individually or in the aggregate, a Material Adverse Effect.

   (c)    Closing Documents. At the Closing, Seller will deliver or cause to be delivered each of
          the items required of it as specified in Section 8.02 of this Agreement.

   (d) Litigation. Following the Execution Date, no notice has been received as to litigation
       commenced or Claim made or threatened against any Person, by any other Person with
       regard to this Agreement, or the transactions provided for in this Agreement that, if
       successfully prosecuted, would have a Material Adverse Effect on Buyer.

   (e) Sale Approval Motion. Seller shall have filed a motion with the Bankruptcy Court
       seeking entry of the Sale Order, in form and substance satisfactory to Buyer (the “Sale
       Approval Motion”).

   (f)    Auction. Seller shall have conducted an auction sale (the "Auction") of the Acquired
          Assets in accordance with the Bidding Procedures approved by the Bankruptcy Court in
          the Bidding Procedures Order no later than the Auction (or such later date for which
          notice is provided in the Bidding Procedures Order or as Seller and Buyer may otherwise
          mutually agree), and Buyer's offer shall have been accepted by Seller as the highest or
          best offer for the Acquired Assets at the conclusion of the Auction.

   (g) Consent. All certifications, consents, waivers, approvals, authorizations, Government
       Authorizations and determinations from and by third parties necessary legally to
       consummate the transactions contemplated herein have been obtained.

   (h) Title Policy. If applicable, any title insurance policy described in Article IV of this
       Agreement has been issued.

   (i)    Condition of Acquired Assets. Following the Execution Date, there has been no material
          adverse damage to the Facilities.

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   (j)     Subsequent Events. Except as set forth on Schedule 3.01(t) and Schedule 3.01(e), no
           action, investigation, Claim or proceeding has been instituted or threatened, or other
           matters occurred, that involve the likelihood of a Material Adverse Effect on the Business
           or the Facilities, and no action, investigation or proceeding has been instituted or
           threatened before any court or Governmental Authority to restrain or prohibit, or to obtain
           substantial damages in respect of, this Agreement, or the consummation of the
           transactions herein contemplated.

   (k) Other Deliveries. Seller has delivered other items and deliveries relating to the Facilities
       as Buyer reasonably requests.

   (l)     Licenses. The Sale Order shall include approval of the Management Agreement to allow
           Buyer to operate the Facilities until it has obtained all of the licenses required to operate
           the Facilities from the DOH.

   (m) Compliance. No Facility shall be Out of Compliance, except as set forth on Schedule
       3.01(t).

   (n) Material Adverse Effect. There will have occurred following the date hereof no events
       nor will there exist circumstances which singly or in the aggregate have resulted in a
       Material Adverse Effect, provided, however, closure of one facility, including, without
       limitation, loss of license or provider agreement, shall be considered a Material Adverse
       Effect only with respect to that one respective facility and shall not be deemed a Material
       Adverse Effect to the entire Transaction. Such Material Adverse Effect involving a
       particular facility shall result in a corresponding Purchase Price adjustment in an amount
       equal to the corresponding amount on Schedule 5.01(o).

   (o) Sale Order. The Bankruptcy Court has entered the Sale Order and as of Closing, such
       Sale Order remains in full force and effect.

5.02     Conditions to Seller’s Obligations. Seller’s obligations under this Agreement are
         conditioned upon the following (which Seller may waive, in whole or in part, in writing):

       (a) Performance of Covenants. Buyer has timely performed all covenants and obligations,
           and timely complied with all conditions this Agreement require of Buyer in all material
           respects, including paying the Purchase Price to Seller.

       (b) Representations and Warranties. All of Buyer’s representations and warranties contained
           herein are true, complete and correct in all material respects on the Execution Date and
           as of the Closing Date, as if made at that time.

       (c) Conveyances. Buyer and Seller have received all third party certifications, covenants,
           waivers, approvals, authorizations, Government Authorizations and determinations
           necessary to legally consummate the transactions contemplated herein.

       (d) Payment of Purchase Price. Buyer has delivered the Purchase Price by wire transfer of
           immediately available funds.

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       (e) Other Deliveries. Buyer has delivered other items and deliveries relating to the Facility
           as Seller reasonably requests.

       (f) Sale Order. The Bankruptcy Court has entered the Sale Order and as of Closing, such
           Sale Order remains in full force and effect.

                                           ARTICLE VI
                                          TERMINATION

6.01     Termination. This Agreement may be terminated as follows:

                  (a)    At any time by the mutual written agreement of the Seller and the Buyer;

              (b)     Automatically, upon the consummation of any Acquisition Transaction
between the Seller and a party other than the Buyer;

                (c)     By the Buyer, at its sole election, in the event that the Closing shall not
have occurred prior to 120 days from entry of the Sale Order, subject to change of ownership
approval by the regulatory agencies (the "Outside Date"); provided that the Buyer shall not be
entitled to terminate this Agreement pursuant to this Section 6.01 if the failure of the Closing to
occur on or prior to such date results primarily from the Buyer itself materially breaching any
representation, warranty or covenant contained in this Agreement;

                (d)     By the Seller, at its sole election, in the event that the Closing shall not
have occurred on or before the Outside Date; provided that the Seller shall not be entitled to
terminate this Agreement pursuant to this Section 6.01(d) if the failure of the Closing to occur
on or prior to such date results primarily from the Seller materially breaching any representation,
warranty or covenant contained in this Agreement;

                (e)     By the Buyer, at its sole election, in the event of a material breach of this
Agreement by the Seller that has not been cured within ten (10) Business Days after written
notice to the Seller, or if any representation or warranty of the Seller shall have become untrue
in any material respect, in either case such that such breach or untruth is incapable of being cured,
by the Outside Date. Buyer shall not have a right to terminate under this section if Buyer is in
material breach or any of its representations and/or warranties are untrue such that satisfaction of
conditions to close under section 5.01 would be prevented;

                (f)    By the Seller, at its sole election, in the event of a material breach of this
Agreement by the Buyer that has not been cured within ten (10) Business Days after written
notice to the Buyer, or if any representation or warranty of the Buyer shall have become untrue
in any material respect, in either case such that such breach or untruth is incapable of being cured,
by the Outside Date. Seller shall not have a right to terminate under this section if Seller is in
material breach or any of its representations and/or warranties are untrue such that satisfaction of
conditions to close under section 5.02 would be prevented;

               (g)    By the Buyer, at its sole election, upon the granting of any motion for relief
from the automatic stay which would have a Material Adverse Effect, the conversion of the Case
to a case under Chapter 7 of the Bankruptcy Code, the dismissal of the Case, the filing of any
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plan of reorganization by any party in interest that does not incorporate this Agreement, the filing
of any motion by a party in interest in the Case to liquidate the Acquired Assets or any similar
commencement of liquidation proceedings relating to the Seller, other than as contemplated
herein, which is not dismissed within thirty (30) days, or upon the commencement of any similar
actions or proceedings in or by any foreign court with respect to the Seller, which are not
dismissed within thirty (30) days;

                (h)    By the Buyer, at its sole election, if any of the conditions set forth in
Section 5.01 shall not have been, or the facts and circumstances are such that any of such
conditions cannot be, fulfilled by the Outside Date, unless such failure shall be primarily due to
the failure of Buyer to perform or comply with any of the covenants, agreements or conditions
hereof to be performed or complied with by it prior to the Closing;

                (i)     By the Seller, at its sole election, if any of the conditions set forth in
Section 5.02 shall not have been, or the facts and circumstances are such that any of such
conditions cannot be, fulfilled by the Outside Date, unless such failure shall be primarily due to
the failure of Seller to perform or comply with any of the covenants, agreements or conditions
hereof to be performed or complied with by it prior to the Closing;

               (j)    By the Buyer, upon entry by the Bankruptcy Court of any Order, or any
other Governmental Authority of any Governmental Order, that is inconsistent in any material
respect with the proposed Sale Order or, upon entry, with the Sale Order;

               (k)    By the Buyer, if there shall be any Law that makes consummation of the
transactions contemplated by this Agreement or any other Transaction Document illegal or
otherwise prohibited;

               (l)    By the Seller, if there shall be any Law that makes consummation of the
transactions contemplated by this Agreement or any other Transaction Document illegal or
otherwise prohibited; or

               (m)    By the Buyer, if any Governmental Authority shall have issued a
Governmental Order restraining or enjoining the transactions contemplated by this Agreement
or any other Transaction Document, and such Governmental Order shall have become final and
non-appealable; or

               (n)    By the Seller, if any Governmental Authority shall have issued a
Governmental Order restraining or enjoining the transactions contemplated by this Agreement
or any other Transaction Document, and such Governmental Order shall have become final and
non-appealable.

6.02 Effect of Termination.

               (a)     In the event of the termination of this Agreement in accordance with
this Article VI, this Agreement shall immediately become void and there shall be no liability
on the part of any party hereto except (a) confidentiality obligations; (b) as set forth in this
Article VI, Section 6.02, Article XII, and Article XIII; (c) any obligations for material breach
of this Agreement occurring prior to such termination; and (d) that nothing herein shall
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relieve any party hereto from liability for any willful breach of any provision hereof (which,
for the avoidance of doubt, will be deemed to include any failure by Buyer to consummate
the Closing if and when it is obligated to do so hereunder with no outstanding breach or
unsatisfied closing condition by Seller).

               (b)     Breach by Buyer. In the event of termination of this Agreement pursuant to
Section 6.01(f) due to a breach by Buyer, Sellers shall be entitled to retain the Deposit as liquidated
damages.

               (c)     Deposit.

                       (i)    In the event of a valid termination of this Agreement pursuant to
               Section 6.01(f) due to a breach by Buyer, Sellers shall be entitled to receive the
               Deposit. In the event of such termination, the Parties shall direct the Escrow Agent
               to pay the Deposit to Sellers. The Sellers’ receipt of the Deposit pursuant to this
               Section 6.02(c) is the only remedy available and will be liquidated damages.

                      (b)     In the event of termination of this Agreement pursuant to Section
               6.01 (except pursuant to Section 6.01(f)), the Parties shall direct the Escrow Agent
               to promptly return the Deposit to Buyer.


6.03 Procedure Upon Termination. In the event of termination by Buyer or Seller, or both,
pursuant to Section 6.01, notice thereof shall forthwith be given to the other party. If this
Agreement is terminated as provided herein, each party shall redeliver all documents, work papers
and other material of any other party relating to the transactions contemplated by this Agreement,
whether so obtained before or after the execution hereof, to the party furnishing the same as soon
as reasonably practicable following termination.


                                  ARTICLE VII
                     BANKRUPTCY COURT APPROVAL OF THE BUYER

7.01   Motions and Notices Regarding Sale of Assets and Assumption and Assignment of
       Assumed Executory Contracts

   (a) Seller shall seek prompt entry of the Sale Order pursuant to the Sale Motion after
       sufficient notice has been given, which Sale Order shall include, among other things,
       findings of fact and conclusions of law that the Buyer is not a successor-in-interest to
       the Seller or any Affiliate of Seller and that the Buyer is a good faith purchaser pursuant
       to Bankruptcy Code section 363(m).

   (b) The Seller covenants that, to the extent that it has not done so prior to the date of this
       Agreement, they shall promptly serve the third parties who are parties to Assumed
       Executory Contracts (such third parties being "Cure Obligees") with written notice of
       proposed cures on the Assumed Executory Contracts (such notice being the “Cure
       Notice"), which Cure Notice shall be provided to the Buyer within the time periods
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       provided by the Bidding Procedures Order. The Cure Notice shall, as set forth in the
       Bidding Procedures Order, establish a deadline reasonably in advance of the Closing
       Date by which Cure Obligees must object to respective proposed cures or be deemed
       to have waived any such objection.

7.02   Requests for Information. From the date of the approval of the Bidding Procedures Order
       (a) if the Seller supplies any information regarding the Business to a potential bidder not
       heretofore given to the Buyer, the Seller shall further provide the Buyer with a copy of such
       information within 24 hours of providing that information to any other potential bidder; and
       (b) with respect to any bid, term sheet, or written expression of interest by any other party
       for any asset or assets of any Seller, or any other reorganization proposal, submitted prior
       to the bid deadline established in the Bidding Procedures Order, the Seller shall provide
       the Buyer with prompt notice of such proposal.

7.04   Defense of Orders. The Seller, at its sole cost and expense, shall diligently defend the
       Bidding Procedures Order and the Sale Order in the event that any motion for
       reconsideration or appeal of such Orders is filed.

                                        ARTICLE VIII
                                          CLOSING

8.01   Closing.

        (a) Subject to satisfaction of the terms and conditions of this Agreement, including those
        set forth in Article V, the consummation of the transactions this Agreement contemplate
        (the “Closing”) will occur on a date (the “Closing Date”) not later than the first day of
        the first month after not less than five (5) Business Days after the satisfaction or waiver
        of all conditions in Article V, or on such other date as Buyer and Seller mutually agree;
        provided, however, that the Closing Date shall not be required to occur prior to seventy-
        five (75) days after the entry of the Sale Order, but the Buyer may elect to the Closing at
        any point prior.

        (b) The Closing shall be held at a location and on a date and at a time mutually agreed
        upon by Seller and Buyer, but absent such agreement shall be held at a time and place in
        Des Moines, Iowa, designated by Buyer in writing to Seller, unless mutually agreed-upon
        that the closing shall occur by mail or electronic mail by delivery of the closing items.
        Notwithstanding the foregoing time and place of Closing, Seller and Buyer may deliver
        all of their respective closing documents required hereunder with respect to the Closing
        on or before the Closing Date (to hold in escrow in accordance with customary
        conveyancing practices subject to the consummation of the Closing) by mail, electronic
        mail, or overnight courier.

8.02    Seller’s Closing Documents. Seller will deliver to Buyer the following documents at
Closing in form and substance acceptable to Buyer:




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       (a) Warranty Deed. A general warranty deed conveying to Buyer title to the purchased
           Land and Improvements in fee simple, free and clear of all Liens and Encumbrances,
           except Permitted Encumbrances.

       (b) Bills of Sale. One or more Bills of Sale containing general warranty of title conveying
           to Buyer the purchased Equipment, the Intangible Personal Property, the Records, and
           all components of the Facilities that constitute personalty, free and clear of all Liens and
           Encumbrances.

       (c) Records. Originals of all Records in the possession of Seller; provided, however, that
           Seller shall retain copies of such records as may be necessary to administer Excluded
           Assets and otherwise administer the bankruptcy estate until such time as it can be closed.

       (d) Title Policy. If applicable, the title policy described in Section 4.01 of this Agreement.

       (e) Closing Certificate. A Seller’s closing certificate reaffirming Seller’s representations
           and warranties hereunder.

       (f) Other Documents. Other documents as Buyer reasonably requests to accomplish the
           transactions this Agreement contemplates, or to evidence Seller’s compliance with its
           covenants and agreements in this Agreement.

8.03    Closing Costs. Seller has or will pay (i) the cost of preparing the Warranty Deed, (ii) the
        cost of the title abstract or title insurance provided herein, and (iii) the fees of its counsel.
        Buyer will pay (x) the cost of the Survey, (ii) the cost of any environmental site assessment,
        (y) the per page recording costs associated with recording the warranty deed, and (z) the
        fees of its counsel. All security deposits referenced in any Assumed Lease shall be credited
        to Buyer at Closing. The rent payable under any Assumed Lease shall be prorated as of
        the Closing Date.

8.04    Prorations. The parties agree to the following prorations:

       (a) Accounts Receivable. Except as otherwise set forth in this Agreement, Accounts
           Receivable generated by transactions or business operations occurring prior to the
           Closing Date (or such earlier date as Buyer may assume responsibility for operations
           and costs under a transition services agreement or operations lease) shall remain Seller’s
           property. Buyer and Seller may arrange for Buyer to collect such Accounts Receivable
           pursuant to the terms of a mutually agreed-upon ancillary agreement

       (b) Accounts Payable. Except as otherwise set forth in this Agreement (including within
           the definition of Assumed Liabilities), Seller will be solely responsible for all accounts
           payable resulting from the ownership and/or operation of the Facilities prior to Closing
           (or such earlier date as Buyer may assume responsibility for operations and costs under
           the Management Agreement). Buyer will be solely responsible for all accounts payable
           resulting from the ownership and/or operation of the Facilities after Closing Date (or
           such earlier date under the Management Agreement) or the assumption of the Assumed
           Liabilities.

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8.05     Adjustments to the Purchase Price. The following adjustments will be made at Closing, as
         of 11:59 p.m. on the day preceding the Closing Date, and will be added to the Purchase
         Price or credited against the Buyer’s payment obligations at Closing, as the case may be.

       (a)   Taxes. Real property Taxes, real and personal ad valorem Taxes, and similar charges
             will be prorated as of the Closing Date in the manner customary for real estate
             transaction in Iowa. Because real property Taxes are paid in arrears, the portion of the
             Taxes allocable to Seller will be credited to Buyer on the closing statement.

       (b)   Special Assessments. Seller will pay in full all improvement lien assessments, if any,
             whether or not due and payable as of the Closing Date. Special assessments, whether
             pending or to become a lien prior to Closing, or payable in installments, or for which a
             change of assessment may be levied on Buyer after Closing, will be credited to Buyer
             in full at Closing.

       (c)   All expenses arising from the conduct of the business of the Facility in the ordinary
             course, including, without limitation trade payables, telephone expenses and utility
             charges attributable to the Facility, including any such items held in escrow (all such
             income and expenses to be referred to herein as the “Prorated Items”), shall be
             apportioned between Seller and Buyer as of the Closing Date, it being the agreement
             of the Parties that Seller shall be entitled to and responsible for all expenses and similar
             obligations arising from the operation of the Facilities prior to the Closing Date and
             Buyer shall be entitled to and responsible for all expenses and similar obligations
             arising from the operation of the Facilities from and after the Closing Date, except, in
             each case, as otherwise expressly set forth herein. All such prorations shall be made
             based on actual days elapsed in the relevant accounting, billing or revenue period.
             Utility charges which are not metered and read for the Closing shall be estimated based
             on prior charges. Based on reasonable estimates, the Parties shall make all prorations
             at the Closing, and all such prorations shall be effectuated through adjustment of the
             Purchase Price at Closing.

                                       ARTICLE IX
                                    CASUALTY; RISK OF LOSS


9.01     Casualty. In the event of a casualty causing substantial damage to the Facilities before
         the date of possession, Buyer may (at its option) rescind this Agreement, or may proceed
         to Closing and receive any insurance proceeds associated with such casualty.

9.02     Risk of Loss Generally. Except as otherwise specifically provided above or as otherwise
         agreed by Buyer and Seller in any Ancillary Agreement, risk of loss from the Facilities,
         including by operation of any law that would impose liability relating to ownership of the
         Facilities, will not pass to Buyer until acceptance of the deed.

                                          ARTICLE X
                                    ADDITIONAL COVENANTS

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10.01 Cost Reports. Seller will file or cause to be filed all cost reports required to be filed with
      CMS prior to the Closing Date (or such earlier date as Buyer may assume responsibility
      for operations and costs under a transition services agreement or operations lease). Buyer
      will file or cause to be filed all cost reports required to be filed on or after the Closing Date
      (or such earlier date as Buyer may assume responsibility for operations and costs under a
      transition services agreement or operations lease).

10.02 Conduct of Business. From the Execution Date through the Closing Date (or such earlier
      date as Buyer may assume responsibility for operations and costs under a transition services
      agreement or operations lease), Seller will, except as expressly provided herein or as
      otherwise agreed by Buyer and Seller in an Ancillary Agreement, or as the Bankruptcy
      Code prohibits, maintain and conduct its business in the ordinary course of business.

10.03 Employees. Buyer and Seller shall consult in good faith about the status of employment
      of Seller’s employees following the Execution Date and prior to the Closing Date. In the
      absence of any direction from Buyer, prior to or as of the Closing Date, Seller may
      terminate any of Seller’s employees. Seller assumes all obligations under the federal
      WARN Act and any analogous provision of applicable state law with regard to all
      terminated employees, to the extent the WARN Act or such state law applies. Buyer may
      offer employment to some or all of Seller’s employees, but has no obligation to offer
      employment to any employee of Seller. Buyer has no obligation whatsoever to any person
      whom Seller currently, or has previously, employed unless Buyer employs that person after
      the Closing Date.

10.04 COBRA Coverage. Seller will be responsible for offering and providing any COBRA
      Coverage with respect to any “qualified beneficiary” who is covered by an Employee Plan
      that is a “group health plan” and who experiences a “qualifying event” prior to the Closing
      Date. Buyer will be responsible for offering and providing any COBRA Coverage required
      with respect to any Seller employee (or other qualified beneficiary) hired by Buyer who
      becomes covered by a group health plan sponsored or contributed to by Buyer, and who
      experiences a qualifying event after the Closing Date. For purposes of this Section 8.03(b),
      “qualified beneficiary,” “group health plan,” and “qualifying event” each have the meaning
      set forth in Section 4980B of the Code.

10.05 Employee Information. To the extent not prohibited by applicable law, Seller will provide
      Buyer all information relating to any employee that Buyer may, for potential employment
      purposes, reasonably request, including personnel files, initial employment dates,
      employee health files, licenses, professional certifications, Form I-9, termination dates,
      reemployment dates, hours of service, and compensation and tax withholding history.

10.06 Employee Plans. Seller shall be responsible for providing all information, forms, and other
      administrative assistance and materials required of a plan administrator with respect to all
      Employee Plans for its employees that are terminated in connection with the sale of the
      Acquired Assets.

10.07 Taxes; Expenses. Buyer will pay all Taxes (other than income Taxes) or recording fees
      payable as a result of the sale of the Acquired Assets pursuant to this Agreement or any
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       other action contemplated hereby, including fees paid to the Iowa Attorney General, the
       U.S. Attorney General, and any other governmental agency. The parties will cooperate in
       preparing, executing, and filing all returns, questionnaires, applications, and other
       documents regarding Taxes and all transfer, recording, registration and other fees that
       become payable in connection with the transactions that this Agreement contemplates that
       are required or permitted to be filed at or prior to Closing.

10.08 Transfer of Resident Trust Funds and Deposits.

     (a)   Within five (5) Business Days of the Closing Date, Seller shall deliver to Buyer a true,
           correct and complete schedule of all trust funds held by Seller as of the most recent
           date available prior to the Closing Date for any current resident of the Facilities
           (collectively, the “Resident Trust Funds”) and deposits or prepayments paid by or for
           any resident of the Facilities (collectively, the “Resident Deposits”).

     (b)   At the Closing, Seller shall transfer the Resident Trust Funds and Resident Deposits to
           Buyer, and Buyer shall accept, the Resident Trust Funds and Resident Deposits in trust
           for the residents, in accordance with applicable statutory and regulatory requirements.
           Within ten (10) Business Days after the Closing Date, Seller and Buyer shall prepare a
           final schedule of the Resident Trust Funds and Resident Deposits and thereafter
           reconcile the Resident Trust Funds and Resident Deposits transferred from Seller to
           Buyer.

                                     ARTICLE XI
                           NO SURVIVAL; NO INDEMNIFICATION

The covenants, obligations, representations and warranties of Buyer and Seller contained in this
Agreement, any exhibit or schedule hereto, or any certificate or document delivered pursuant
hereto shall not survive beyond the Closing. Neither party shall have any liability to the other after
Closing for any breach thereof. Buyer agrees that it is purchasing the Acquired Assets as is, where
is. Notwithstanding this provision, the parties may agree to limited survival and related
indemnification rights for obligations that remain uncompleted as of the Closing Date in an
Ancillary Agreement.

                                      ARTICLE XII
                             REMEDIES FOR FAILURE TO CLOSE

12.01 Attorneys’ Fees. In the event either party brings a lawsuit or other proceeding against the
      other party to enforce any provisions of this Agreement or any instrument executed
      pursuant to this Agreement, the prevailing party will be paid all costs and reasonable
      attorney’s fees by the other party, such costs and reasonable attorney’s fees will be included
      in any such judgment. For purposes of this Section 10.02, “prevailing party” means, in the
      case of a Person asserting a claim, the Person is successful in obtaining substantially all of
      the relief sought, and in the case of a Person defending against or responding to a claim,
      the Person is successful in denying substantially all of the relief sought.



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12.02 Waiver. No delay in exercising any right or remedy will constitute a waiver thereof, and
      no waiver by Seller or Buyer of the breach of any covenant of this Agreement shall be
      construed as a waiver of any preceding or succeeding breach of the same or any other
      covenant or condition of this Agreement.

                                        ARTICLE XIII
                                       MISCELLANEOUS

13.01 Assignability. Buyer may assign this Agreement in whole or in part and/or designate a
      nominee to take title to all or any part the Facilities or the operations thereof at Closing
      without the consent of Seller, provided that such assignment and/or designation shall only
      be to an Affiliate of Buyer, and provided that Buyer shall remain fully bound by the terms
      and conditions of this Agreement. Any assignment of this Agreement shall be binding
      upon and inure to the benefit of the successor or assignee of Buyer. In the event Buyer
      finds it necessary or is required to provide to a third party a collateral assignment of the
      Buyer’s interest in this Agreement and/or any related documents, Seller shall cooperate
      with the Buyer and any third party requesting such assignment including but not limited to
      Seller signing a consent and acknowledgment of such assignment.

13.02 Entire Agreement. This Agreement constitutes the entire contract between the parties, and
      may not be modified except by an instrument in writing that both of them sign. All of the
      schedules and exhibits to this Agreement are incorporated by this reference.

13.03 Governing Law. This Agreement will be interpreted, construed, and enforced pursuant to
      the laws of the State of Iowa without giving effect to the choice of law rules thereof.

13.04 Notice. All notices and other communication allowed or required under this Agreement
      will be in writing, and delivered by either hand delivery, overnight courier, or Regular First
      Class U.S. Mail, postage prepaid, and addressed as follows:

        If to Seller:                                 If to Buyer:

        QHC Facilities LLC                            Cedar Healthgroup, LLC
        8350 Hickman Road, Suite 15                   150 Airport Road, Suite 900
        Clive, IA 50325                               Lakewood, NJ 08701
        Attn: Mark Hidlebaugh, Member

        With a copy to:                               With a copy to:

        Jeffrey D. Goetz, Esq.               Lorium Law
        Bradshaw Fowler Proctor & Fairgrave, 101 NE Third Avenue, Suite 1800
        P.C.                                 Fort Lauderdale, FL 33301
        801 Grand Avenue, Suite 3700         Attn: Chad P. Pugatch, Esq. and Michael
        Des Moines, IA 50309-8004            D. Karsch, Esq.

       All notices provided in accordance with this Section delivered by hand or by overnight
       courier will be deemed delivered and received on the delivery date. All notices delivered
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       by First Class Mail will be deemed delivered and received four (4) Business Days after
       being placed for delivery with the U.S Postal Service.

13.05 Section Headings; Drafting Party. The headings of this Agreement are for convenience of
      reference only, do not form a part of this Agreement, and do not in any way modify,
      interpret or construe the intentions of the parties. The provisions of this Agreement have
      been examined, negotiated, drafted and revised by counsel for each party, and no
      implication will be drawn against any party by virtue of the drafting of this Agreement.

13.06 Waivers. Any waiver by any party of any violation of, breach of or default under any
      provision of this Agreement or any exhibit, schedule or other document referred to in this
      Agreement by any other party will not be construed as or constitute a waiver of any
      subsequent violation, breach of, or default under that provision or any other provision of
      this Agreement, or any Exhibit, Schedule or other document referred to in this Agreement.

13.07 Further Assurances. Each of the parties will, at any time and from time to time after the
      Closing, execute and deliver, or cause to be executed and delivered, to the other party or
      their designee, such further consents, approvals, conveyances, assignments and other
      documents and instruments as any party shall reasonably request in order to carry out any
      and all of the terms and provisions of this Agreement.

13.08 Counterparts. This Agreement may be executed in several counterparts and by facsimile
      transmission or email scan, each of which when so executed and delivered will be deemed
      an original, but all of which together shall constitute one and the same instrument.

13.09 Binding Effect. This Agreement will be binding upon and inure to the benefit of the parties
      to this Agreement and their respective successors, heirs, assigns and legal representatives
      Waiver of Jury Trial. BUYER AND SELLER WAIVE TRIAL BY JURY IN ANY
      ACTION, PROCEEDING, CLAIM, OR COUNTERCLAIM, WHETHER IN
      CONTRACT OR TORT, AT LAW OR IN EQUITY, ARISING OUT OF OR IN ANY
      WAY RELATED TO THIS AGREEMENT, OR THE TRANSACTIONS THAT THIS
      AGREEMENT CONTEMPLATES

13.10 Jurisdiction; Venue; Service of Process. Any litigation arising out of or relating to this
      Agreement, or the transactions this Agreement contemplates, will be brought in the
      Bankruptcy Court or a court located in Polk County, Iowa. Seller and Buyer consent to the
      jurisdiction of any such court. The parties each waive personal service of process in any
      litigation arising out of or relating to this Agreement or any transaction this
      Agreement contemplates, and agree that all such service of process may be made in
      the manner set forth for notices in Section 11.04 of this Agreement, and that service
      so made will be deemed completed one (1) day after delivered in compliance with
      Section 11.04 of this Agreement. The parties expressly waive any other requirements
      of notice or personal service that any applicable Law may require.

13.11 Exhibits and Schedules. If any exhibits or schedules are not attached hereto, the parties
      agree to attach such exhibits and schedules as soon as reasonably practicable but in any
      event prior to ten (10) days before the Closing Date. The Parties agree that the Party
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       charged with providing an exhibit or schedule to this Agreement shall, to the extent
       necessary after delivery thereof, amend or supplement all exhibits and schedules in order
       for the same to be current, true and correct as of the Closing Date. The inclusion of any
       new schedule or exhibit, or supplement thereto, shall be subject to such party approving
       any new exhibits and schedules or supplements thereto within seven (7) days of submission
       thereof.

                                       ARTICLE XIV
                                   BANKRUPTCY MATTERS

14.01 Sale Order. The Sale Order will provide, inter alia, that pursuant to 11 U.S.C. Sections
      105, 363, and 365: (i) this Agreement and the transactions contemplated hereby are
      approved; (ii) Buyer will have and acquire at the Closing good, valid, marketable title to
      the Acquired Assets free and clear of all interests, Claims, Encumbrances, or Liens (except
      for Permitted Encumbrances and Assumed Liabilities) to the maximum extend provided
      under 11 U.S.C. Sections 105, 363, and 365; (iii) Seller will assume and assign to Buyer
      all of the Assumed Executory Contracts as of the Closing Date; (iv) the Assumed
      Executory Contracts will be in full force and effect from and after the Closing with non-
      debtor parties being barred and enjoined from asserting against Buyer, inter alia, defaults,
      breaches or claims of pecuniary losses existing as of the Closing or by reason of the
      Closing; (v) Buyer is acquiring the Acquired Assets free and clear of the Excluded
      Liabilities and providing for a full release of Buyer with respect to the Excluded Liabilities;
      (vi) the activities and results of the marketing and auction conducted in connection with
      the sale, if any, are approved; (vii) Buyer will be found to be a good faith purchaser within
      the meaning of 11 U.S.C. Section 363(m); and (viii) the Bankruptcy Court will waive any
      stay that would otherwise be applicable to the immediate effectiveness of the Sale Order
      pursuant to Fed. R. Bankr. P. 6004(h) and 6006(d).



                                  [signatures on following page]




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                                         EXHIBITS



Exhibit A:   Facilities

Exhibit B:   Land

Exhibit C:   Purchase Price Allocation
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                                  SCHEDULES

           Schedule 2.01(i)    Assumed Benefit Plans

           Schedule 2.08(a)    Assumed Executory Contracts

           Schedule 2.08(b)    Accrued PTO

           Schedule 3.01(e):   Litigation

           Schedule 3.01(o)    Certificates of Need

           Schedule 3.01(s)    Permits

           Schedule 3.01(t)    Compliance

           Schedule 3.01(u)    Licensed Beds and Current Rate

           Schedule 3.01(y)    Financial Information

           Schedule 3.01(z)    Real Property
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                              MANAGEMENT AGREEMENT

         THIS MANAGEMENT AGREEMENT (this “Agreement”) is made and entered into as
of this [____] day of [_________], 2022 (the “Effective Date”) by and between [__________], an
[_________] [___________] (“Operator”), and [__________], an [_________] [___________]
(“Manager”).

                                         RECITALS:

         A.     Operator currently owns and operates a [___] bed skilled care nursing home
facility located at [___________] and known as [__________] (the “Facility”).

       B.      Operator currently holds a license (“License”) from the Iowa Department of
Inspections and Appeals (“IDIA”) to operate the Facility as a skilled care nursing facility.

      C.      Operator is selling the Facility to [__________] (the “Purchaser”), an affiliate of
Manager pursuant to the terms of that certain Asset Purchase Agreement dated as of February 11,
2022 by and between Operator, other owner parties thereto, and Purchaser (the “APA”);

        D.     During the interim period between the execution of the APA and the Closing of
the APA (as defined in the APA), Operator desires to retain the services of Manager with respect
to the operations of the Facility as further described herein, and Manager desires to be so
retained.

        NOW, THEREFORE, in consideration of the foregoing recitals, which are incorporated
herein by this reference, the mutual covenants contained herein, and other good and valuable
consideration, the receipt, adequacy, and sufficiency of which are hereby acknowledged, the
parties hereto agree as follows:

1. Engagement of Manager. During the Term (as herein defined), Operator hereby engages
   and appoints Manager as its sole and exclusive manager with respect to the operation and the
   maintenance of the Facility in accordance with the standards of conduct set forth in Section 3
   hereof and the other terms and conditions hereinafter provided. Manager hereby accepts
   such engagement and appointment and agrees to faithfully perform the duties and obligations
   set forth in this Agreement and to comply with all of the terms and conditions set forth
   herein. Operator grants to Manager sole and exclusive authority to formulate and implement
   policies, programs, and operations with respect to the Facility, and shall refrain from
   interference with and from participation in any functions that are delegated to Manager under
   this Agreement.

2. Specific Duties of Manager. In addition to all functions expressly or impliedly granted to
   Manager in Section 1 of this Agreement, and without limiting the generality thereof,
   Manager shall, at all times from the date of this Agreement forward, have the right to
   exercise the following powers and shall have the obligation to perform the following
   functions:
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     a. To supervise the Facility staff in the purchase and management of food, beverages,
     operating supplies, equipment, and services reasonably necessary for the maintenance
     and operation of the Facility, and to contract for the same on behalf of Operator.

     b. To recruit, select, hire, employ, train, supervise, promote, direct, and terminate the
     employment of any and all professional and non-professional personnel necessary to the
     proper maintenance and operation of the Facility, including, without limitation, the
     Administrator. The Manager shall have control over the appropriate compensation for
     services of Facility personnel, including, without limitation, salary, bonuses, employee
     benefits, employee taxes, and all other expenses relating to their employment. Manager
     shall establish the compensation levels, job classifications, personnel policies, employee
     benefits, and employee performance standards for Facility personnel to ensure the
     efficient operation of all departments within and services offered by the Facility.

     c. To maintain and manage the accounts receivables, accounts payable, employee
     compensation, payroll tax requirements and benefit programs, cash and all other income,
     expenses, assets and liabilities in connection with the Facility accruing or arising during
     the Term; provided that Operator shall be solely responsible with respect to all items of
     such expenses and liabilities and entitled to any income and assets for any period prior to
     the Term, subject to the provisions of this paragraph. Operator shall use its best efforts to
     ensure that Manager has access to the deposit accounts for QHC Home Office (as defined
     below)as of the Commencement Date. If such access is not available, QHC Home Office
     shall cause any cash or deposits deposited into a different account which are attributable
     to the Facility to be transferred to the QHC Home Office deposit accounts within five (5)
     business days of receipt. Manager and Operator recognize and agree that all accounts
     receivable and accounts payable for the period prior to the Term (“Pre-Term Period”)
     will not have been collected or paid as of the Effective Date. Therefore, the parties agree
     that such amounts shall be reconciled pursuant to Section 5(d) hereof. Further, Manager
     is permitted to use all Pre-Term and Term accounts receivable collected during the Term,
     provided Manager pays Pre-Term accounts payable as they come due and applied to the
     oldest Pre-Term accounts payable first. To the extent Pre-Term accounts receivable
     exceed Pre-Term accounts payable, all Pre-Term accounts payable shall be paid prior to
     Termination of this Agreement.

     d. To cause to be paid on a timely basis, all expenses, costs, taxes, utilities and other
     charges incurred by or on behalf of Operator in connection with the maintenance or
     operation of the Facility (the “Expenses”) arising and related to periods after the
     Commencement Date and during the Term, and to the extent any Expenses arose from
     and relate to the Pre-Term Period and are due during the Term, Manager shall timely pay
     such Expenses from proceeds of accounts receivable attributed to the Pre-Term Period.
     To procure and provide for replacements, repairs, and additions to, and the personal
     property used in the operation of, the Facility.

     e. To maintain complete and separate books of account and other accounting records for
     the Facility and the operations thereof.




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     f. To perform, or engage others to perform, administrative services in connection with
     the operation of the Facility as Manager may deem necessary or desirable in furtherance
     of the maintenance or operation of the Facility.

     g. To provide the necessary and proper dietary services and consultations.

     h. To recommend to Operator to make repairs, replacements and/or capital
     improvements at the Facility that would cost in excess of Fifty Thousand and No/100
     Dollars ($50,000.00).

     i. To the extent the Facility receives notice from the IDIA or other governmental
     authority with respect to a condition at the Facility that requires correction, Manager shall
     submit a plan of correction on behalf of Operator and shall further have authority to
     challenge, negotiate and settle any fines issued by such governmental authority on behalf
     of Operator.

     j. To render advice and consulting services to Operator to enable Operator to coordinate
     actions to maintain all licenses, permits and certificates required for the operation of the
     Facility and ensure that appropriate certifications and accreditations are obtained and
     maintained, including, without limitation, obtaining dual certification for beds at the
     Facility.

     k. To perform such other acts and provide such other services as shall be, in Manager’s
     discretion, necessary or proper in order to maintain and operate the Facility.

     l. To negotiate and enter into agreements or contracts, which Purchaser agrees to
     assume and pay any cure costs associated with such new agreements or contracts, in
     connection with any of the foregoing.

     m. Prior to the Effective Date of this Agreement, the Operator received administrative
     services from and for the benefit of group vendor payments made by QHC Facilities,
     LLC and/or QHC Management, LLC (collectively, the “QHC Home Office”) in
     connection with the operation of the Facility. To the extent Manager utilizes the services
     or benefits from payments of Expenses paid by the QHC Home Office, which is a
     separate entity not a party to this Agreement, during the Term, Manager shall timely pay
     QHC Home Office for such services and payments. Services may include, but are not
     limited to, entering/paying accounts payable, billing/collecting accounts receivable, cash
     activities/banking, use of debit cards, administrative costs of providing such services, etc.
     Group vendor payments may include, but are not limited to insurance, food, supplies,
     staffing agencies, etc.


  The Manager shall not be required to obtain the prior approval of the Operator prior to
  performing any of the functions set forth in this Agreement, unless in the Manager’s sole
  discretion a function is outside the ordinary course of business; provided, however, if any
  particular act is required to either avoid a loss or potential loss of the IDIA license and or
  required to cure an immediate jeopardy violation at the Facility, such limitation shall not



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   apply. Furthermore, Manager shall not close a Facility without Operator’s consent, which
   consent will not be unreasonably withheld.

3. Standard of Conduct. Manager covenants to perform all of its obligations and conduct all
   of its activities hereunder, in accordance with the standards heretofore established in the
   maintenance and operation of the Facility; shall exercise reasonable care and diligence in
   carrying out its responsibilities; shall at all times seek to comply with all applicable laws,
   regulations, and professional ethics and standards applicable to the maintenance and
   operation of the Facility; and shall otherwise perform its obligations hereunder with the
   standard of diligence and care normally employed by duly-qualified individuals in the
   performance of comparable work and in accordance with practices appropriate to the
   activities undertaken. Manager will operate all Facilities in a professional and commercially
   reasonable manner.

4. Term. The term of this Agreement (the “Term”) shall commence and be effective as of
   12:01 a.m. on [__________ __], 2022 (the “Commencement Date”), pursuant to and in
   conformity with the APA, and shall terminate pursuant the Closing provisions specified in
   the APA, or as otherwise provided herein.

5. Compensation and Reimbursement.

       a. During the Term, Manager shall retain the Net Income (as herein defined) generated
       at the Facility from and after the Commencement Date, as Manager’s management fee
       and sole compensation for the services provided under this Agreement (the “Management
       Fee”). The term “Net Income” as used in this Agreement shall mean (a) the gross
       revenues generated through the operations of the Facility during the Term, (b) minus all
       expenses incurred as a result of such operations during the Term, including without
       limitation, expenses pertaining to payroll, supplies, inventory, taxes (including payroll
       taxes, real estate taxes and state bed taxes levied by the IDIA), insurance and utilities.
       For purposes of determining the Net Income, the parties hereto agree to utilize the accrual
       method of accounting in accordance with generally accepted accounting principles
       consistently applied. In the event that the Net Income for any period during the Term
       shall be a loss, Manager shall bear such loss. In the avoidance of doubt, the Manager
       shall continue performing the services provided within this Agreement even if a loss
       occurs and such loss is not a cause for termination of this Agreement.

       b. In determining Net Income, the parties hereto agree to prorate all items of revenues
       and expenses as of the Commencement Date. Accordingly:

           i. Any revenue generated as a result of the operations of the Facility during the
           Term shall be counted towards Net Income in computing the Management Fee, and
           Manager shall be entitled to such revenue once collected;

           ii. Any expenses and capital expenditures incurred as a result of and in connection
           with the operations of the Facility during the Term shall be counted against Net
           Income in computing the Management Fee, and Manager shall bear any such
           expenses;


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          iii. Any revenue generated as a result of the operations of the Facility prior to the
          Term shall not be counted towards Net Income in computing the Management Fee.

          iv. Any expenses incurred as a result of the operations of the Facility prior to the
          Term shall not be counted against Net Income in computing the Management Fee;
          and

       c. For the avoidance of doubt, any amounts paid pursuant to the APA for accrued PTO
       or accrued bed taxes shall not be deemed to be revenue for the purposes of this
       Agreement.

       d. Within thirty (30) days of the Termination of this Agreement pursuant to the
       provisions of Sections 4 or 25 hereof, Manager shall prepare and deliver to Operator a
       final accounting statement with respect to the Facility, along with a statement of any
       sums due from one party to the other pursuant hereto, dated as of the date of Termination.
       Such statement is subject to audit and approval by Operator and shall properly denote
       whether accounts receivable collected and accounts payable paid during the Term were
       related to the Pre-Term Period. Within thirty (30) days after the receipt by Operator of
       such final accounting statement, the parties will reconcile any amounts in controversy
       and mutually agree to any cash adjustments that are necessary pursuant to such final
       statement. The cost of preparing such final accounting statement and any mediation of
       amounts in controversy shall be borne by the parties who incur them, unless the
       Termination occurs as a result of a Default (as defined in the APA) under the APA and
       subsequent termination by either party, in which case the defaulting party shall pay such
       costs. Manager and Operator acknowledge that there may be certain adjustments for
       which the information is not available at the time of the final accounting, and the parties
       agree to readjust such amounts and make the necessary cash adjustments when such
       information becomes available; provided, however, that (except for ongoing disputes of
       which each party has received notice, or legal claims for which the statute of limitations
       has not expired) all accounts shall be deemed final six (6) months after Termination


6. Insurance. During the Term, Manager agrees to carry and maintain all insurance policies
   which existed at the Commencement Date and Manager shall be listed as an additional
   insured, with respect to all professional and other liability policies, and Manager shall be
   listed as an alternate employer, under the worker’s compensation policy; provided that the
   premiums payable with respect to such insurance policies shall be counted against Net
   Income in computing the Management Fee. To the extent premiums accrued prior to the
   Term or otherwise become due for the period during the Term, Manager shall accept
   financial responsibility for payment of such premiums or reimbursement to the Operator.

7. Licenses. Manager shall have the right as of the Commencement Date to operate the Facility
   on behalf of Operator under all licenses issued by the State of Iowa or other authorities
   having jurisdiction over the Facility, including the rights to use the Medicare and Medicaid
   provider numbers issued to Operator to the extent permitted by law. To the extent permitted
   by law, the governing body of Manager is hereby designated as the governing body of the
   Facility. Notwithstanding anything in this Agreement to the contrary, Operator will maintain


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   the long-term care license, issued by IDIA, in its name and any actions taken by Manager
   will be taken in the name, and on behalf, of Operator. Manager shall be responsible for the
   Facility maintaining compliance with all applicable rules and regulations.

8. Relationship of Parties. Manager shall perform its obligations under this Agreement solely
   as an independent contractor. The parties hereto acknowledge and agree that Manager may
   be providing similar management services for other businesses or may be otherwise
   employed during the Term. Except as expressly provided in this Agreement, nothing shall
   deprive or otherwise affect the right of Manager to provide services to others,
   notwithstanding the fact that Manager’s other clients may be engaged in businesses which
   are either directly or indirectly in competition with the Facility.

9. Access to Records. During the Term, Manager agrees to provide Operator with copies of all
   reports or other filings with, and communications from, any governmental authority or
   agency having jurisdiction over the Facility within twenty-four hours of receipt. During the
   Term, upon request by Operator, Manager agrees to give Operator and its representatives
   access at reasonable times to all patient, financing, and other operational records of the
   Facility, and agrees that copies of all such records pertaining to the Facility shall be kept at
   the Facility.

10. Patient Trust Funds. During the Term, Manager shall assume custody of the Facility
    Patient Trust Fund and deal with them in the fiduciary capacity required by law.

11. Notices. All notices given hereunder shall be in writing and shall be deemed to have been
    given when delivered personally, by overnight courier service or deposited in the United
    States mail, postage prepaid, certified or registered, return receipt requested, addressed as
    follows:

         If to Manager:                                If to Operator:

     [___________]                                   [__________]
                                                     8350 Hickman Road, Suite 15
                                                     Clive, IA 50325
         With a copy to:                             Attn: Mark Hidlebaugh, Member

                                                        With a copy to:

                                                     Bradshaw Fowler Proctor & Fairgrave,
                                                     P.C.
                                                     801 Grand Avenue, Suite 3700
                                                     Des Moines, IA 50309-8004
                                                     Attn: Jeffrey D. Goetz, Esq.
                                                     Attn: Krystal R. Mikkilineni, Esq.
                                                     Facsimile: (515) 246-5808
                                                     goetz.jeffrey@bradshawlaw.com
                                                     mikkilineni.krystal@bradshawlaw.com



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or such other address that any party designates to the other by written notice given in the manner
stated above. Any notice sent by facsimile machine shall be deemed delivered upon
transmission, so long as said transmission is evidenced by proof of said transmittal.

12. Jurisdiction; Venue; Service of Process. Any litigation arising out of or relating to this
    Agreement, or the transactions this Agreement contemplates, will be brought in the U.S.
    Bankruptcy Court for the Southern District of Iowa. Seller and Buyer consent to the
    jurisdiction of any such court. The parties each waive personal service of process in any
    litigation arising out of or relating to this Agreement or any transaction this Agreement
    contemplates, and agree that all such service of process may be made in the manner set
    forth for notices in Section 14 of this Agreement, and that service so made will be
    deemed completed one (1) day after delivered in compliance with Section 14 of this
    Agreement. The parties expressly waive any other requirements of notice or personal
    service that any applicable Law may require.

13. Binding Effect. Each of the respective provisions of this Agreement shall be binding upon
    and shall inure to the benefit of each of the parties and their respective successors and
    permitted assigns.

14. Attorneys’ Fees. If an action shall be brought to recover any compensation or
    reimbursement due under this Agreement, for or on account of any breach of this Agreement,
    or to enforce or interpret any of the terms, covenants, or conditions of this Agreement, the
    prevailing party shall be entitled to receive reasonable attorneys’ fees from the other party.

15. Waiver. The waiver by Operator or Manager of any breach of any term, covenant, or
    condition of this Agreement shall not be deemed to be a waiver of any prior or subsequent
    breach of such term, covenant, or condition, or of any breach of any other term, covenant, or
    condition of this Agreement.

16. Severability. In the event that any court, administrative agency, or other governmental
    entity with jurisdiction and authority to interpret this Agreement or any portion hereof, or to
    otherwise control any performance hereunder, determines that any term or combination of
    terms is invalid or unenforceable, such term or terms shall be construed in such a way as to
    accomplish the apparent purpose of such term or terms and this Agreement to the greatest
    extent possible. If, notwithstanding the intentions and directions of the parties hereto which
    are set forth herein, any such court, administrative agency, or other governmental entity finds
    any term or combination of terms to be invalid or unenforceable under applicable law, such
    determination shall not affect, impair, or render invalid or unenforceable the remainder of
    this Agreement, nor any other clause, phrase, provision, or portion hereof.

17. Governing Law. This Agreement shall be governed by and construed and enforced in
    accordance with the laws of the State of Iowa.

18. Entire Agreement. This Agreement constitutes the entire agreement between the parties
    and may not be amended or modified, except by an instrument in writing signed by all of the
    parties to this Agreement.


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19. Counterparts/Facsimile Signatures. This Agreement may be executed in counterparts.
    Facsimile signatures shall be treated as original signatures for purposes of being the parties
    hereto.

20. Pronouns and Headings. As used herein, all pronouns shall include the masculine,
    feminine, neuter, singular, and plural thereof, wherever the context and facts require such
    construction. The headings, titles, and subtitles herein are inserted for convenience of
    reference only and are not to be construed as part of this Agreement, or as in anyway
    defining, limiting, or amplifying its provisions.

21. Contract Modification. If any laws or regulations, now existing or promulgated hereafter,
    are interpreted by judicial decision, a regulatory agency or outside independent legal counsel
    in such a manner as to indicate that the structure of the transactions contemplated under this
    Agreement is or may be in violation of such laws or regulations, this Agreement shall be
    automatically amended to the fullest extent necessary to remedy the applicable legal concerns
    while preserving the underlying economic and financial arrangements to the extent possible.

22. Further Actions. The parties hereto agree to take such additional actions, and execute, file,
    or record any and all such additional documents or instruments, as may be necessary in order
    to carry out the intents and purposes of this Agreement.

23. Termination. This Agreement may be terminated by mutual agreement of Manager and
    Operator, or otherwise upon the written notice of the party terminating this Agreement to the
    other party, after the occurrence of any of the events described in Section 25(a), or in the
    event Manager endangers Facility licensure.

              (a)    Termination of APA. If the APA is terminated, then this Agreement shall
       be concurrently terminated.

              (b)     Effect of Termination: In the event of the termination of this Agreement
       in accordance with this Section 25, this Agreement shall become void within thirty
       (30) days, upon a reasonable transition of the operations of the Facility back to
       Operator, and there shall be no liability on the part of any party hereto except for any
       provision of this Agreement which is expressly described as surviving any expiration or
       termination of this Agreement.




                               [SIGNATURE PAGE FOLLOWS]




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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first above written.

MANAGER:                                      OPERATOR:

[__________]                                  [__________]
an [_________] [__________]                   an [_________] [__________]


By:                                           By:
Name: [__________]                            Name: [__________]
Its:  Manager                                 Its:  Manager


                                              SOLELY FOR THE PURPOSE OF
                                              CONSENTING TO SECTION 2(c)

                                              QHC Facilities, LLC
                                              an [_________] [__________]


                                              By:
                                              Name: [__________]
                                              Its:  Manager


                                              QHC Management, LLC
                                              an [_________] [__________]


                                              By:
                                              Name: [__________]
                                              Its:  Manager




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                                      EXHIBIT B

                             ASSET PURCHASE AGREEMENT

THIS ASSET PURCHASE AGREEMENT (the “Agreement”) is made and entered into as of
February 29, 2022 (the “Execution Date”), by and between QHC Facilities, LLC, QHC
Management, LLC, QHC Mitchellville, LLC, QHC Winterset North, LLC, QHC Madison Square,
LLC, QHC Fort Dodge Villa, LLC, QHC Humboldt North, LLC, QHC Humboldt South, LLC,
and QHC Villa Cottages, LLC, each an Iowa limited liability company, and Crestridge, Inc. and
Crestview Acres, Inc., each an Iowa corporation, (“Seller”), and Blue Diamond Equities LLC, a
New Jersey limited liability company (“Buyer”).

                                          ARTICLE I
                                         DEFINITIONS

1.01   Definitions.   The following terms have the meanings assigned below:

       “Acquired Assets” has the meaning described in Section 2.01 of this Agreement.

       “Acquisition Transaction” shall mean any sale, transfer or other disposition (not involving
       the Buyer or its Affiliates), in one transaction or a series of transactions, of all or any
       substantial portion of the Acquired Assets or the Business, whether proposed to be effected
       pursuant to a merger, consolidation, tender offer, exchange offer, share exchange,
       amalgamation, stock acquisition, asset acquisition, business combination, restructuring,
       recapitalization, liquidation, dissolution, joint venture or similar transaction, whether or
       not proposed or advanced by the Seller.

       “Action” means any claim, action, cause of action, demand, lawsuit, arbitration, inquiry,
       audit, notice of violation, proceeding, litigation, citation, grievance, summons, pleading,
       motion, objection, subpoena or investigation of any nature, whether civil, criminal,
       administrative regulatory or otherwise and whether at Law or in equity.

       “Affiliate” means any Person that directly, or indirectly, controls, is controlled by, or is
       under common control with, such a specified Person.

        “Ancillary Agreements” means any bill of sale, warranty deed, or similar transaction
       agreements in form and substance acceptable to Seller and Buyer.

       “Ancillary Businesses” means the ancillary healthcare and medical business, including
       physician services, that Seller conducts.

       “Assumed Executory Contracts” means the executory contracts, including Leases, of
       Seller listed on Schedule 2.08(a), designated and agreed by Buyer, that have been assumed
       and assigned by the Seller to the Buyer.

       “Assumed Lease” means any Lease that is an Assumed Executory Contract.

       “Assumed Liabilities” has the meaning set forth in Section 2.08 of this Agreement.
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     “Assisted Living Facilities” means the facilities consisting of (1) Madison Square Assisted
     Living, located at 209 W Jefferson St., Winterset, IA 50273 and (2) Fort Dodge Villa
     Cottages, located at 925 Martin Luther King Drive, Fort Dodge, IA 50501.

     “Bankruptcy Code” means Title 11 of the U.S. Code, as amended from time to time.

     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
     of Iowa.

     “Bill of Sale” means a bill of sale in form and substance acceptable to Buyer and Seller.

     “Bidding Procedures Order” means that certain Order (A) Approving Bidding Procedures
     in Connection with the Auction and Sale of Assets and Scheduling an Auction and Sale
     Hearing; (B) Approving Assumption and Assignment Procedures; (C) Approving the
     Break-Up Fee; and (D) Granting Other Related Relief, entered on _________, Docket No.
     _____ in the Bankruptcy Case.

     “Break-Up Fee” means a break-up fee in an amount equal to 3% of the Purchase Price,
     payable in accordance with Section 7.03 hereof.

     “Business” means Seller’s business as operators of 8 Skilled Nursing Facilities and 2
     Assisted Living Facilities across Iowa, and all Ancillary Businesses of Seller.

     “Business Day” means any day other than a Saturday, a Sunday, or a day on which
     commercial banks are allowed or required to close in Iowa.

     “Chapter 11 Case” means the following proceedings pending before the Bankruptcy Court
     in which Seller are the Debtors: In re QHC Facilities, LLC, Case No. 21-01643-als11, In
     re QHC Management, LLC (Case No. 21-01644-als11), In re QHC Mitchellville, LLC
     (Case No. 21-01645-als11), In re QHC Winterset North, LLC (Case No. 21-01646-als11),
     In re QHC Madison Square, LLC (Case No. 21-01647-als11), In re QHC Fort Dodge Villa,
     LLC (Case No. 21-01648-als11), In re Crestridge, Inc. (Case No. 21-01649-als11), In re
     Crestview Acres, Inc. (Case No. 21-01650-als11), In re QHC Humboldt North, LLC (Case
     No. 21-01651-als11), In re QHC Humboldt South, LLC (Case No. 21-01652-als11), and In
     re QHC Villa Cottages, LLC (Case No. 21-01653-als11). ,.

     “Claim” means any action, assessment, loss or experience rating, cause of action, claim,
     damage, demand, proceeding, fine, injury (including death), investigation, judgment,
     lawsuit, liability, loss, penalty, settlement or expense of any nature, whether civil, criminal,
     administrative or otherwise, and includes any and all “claims” as defined in 11 U.S.C.
     Section 101(5), and all “interests” as used in 11 U.S.C. Section 363(f).

     “Closing” has the meaning set forth in Section 6.01 of this Agreement.

     “Closing Date” has the meaning set forth in Section 6.01 of this Agreement. .

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     “Code” means Title 26 of the U.S. Code, as amended from time to time.

     “Contracts” means all contracts and other agreements incident to the Facilities and/or
     Business to which Seller is a party.

     “Cure Costs” means the amount necessary to cure all defaults under the Assumed
     Executory Contracts (as of the Closing Date) to permit Seller to assume and assign the
     Assumed Executory Contracts pursuant to Bankruptcy Code section 365 and any order of
     the Bankruptcy Court.

     “Disclosure Schedules” means the disclosure schedules delivered by Seller concurrently
     with the execution and delivery of this Agreement. If any schedules are not completed or
     attached hereto as of the date of this Agreement, the parties hereto agree to attach such
     schedules as soon as reasonably practicable, but in any event, this Agreement is subject to
     Buyer approving (which approval will not unreasonably be withheld, delayed or
     conditioned) all schedules or subsequent updates thereto within seven (7) days of
     submission thereof to Buyer. The parties hereto agree that the party charged with providing
     an exhibit or schedule to this Agreement shall, to the extent necessary after delivery
     thereof, amend or supplement all exhibits and schedules in order for the same to be current,
     true and correct in all material respects as of the Closing Date.

     “DOH” means Iowa Department of Public Health and the Iowa Department of Inspections
     and Appeals and Iowa Department of Human Services, collectively.

     “Employee Plans” means any pension, retirement, savings, disability, medical, dental,
     health, life, death benefit, group insurance, profit-sharing, deferred compensation, stock
     option, stock purchase, bonus, incentive, executive compensation, vacation pay, holiday
     pay, severance benefit plan, trust, arrangement, agreement, policy or commitment, whether
     or not any of the foregoing is funded or insured and whether written or oral, that is intended
     to provide or does provide benefits to any of Seller’s employees, and (i) to which seller is
     a party or by which Seller (or any of Seller’s rights, properties or assets) is bound; (ii) with
     respect to which Seller has made any payments, contributions, or commitments, or may
     otherwise have any liability (whether or not Seller still maintains such plan, trust,
     arrangement, contract, agreement, policy, or commitment); or (iii) under which any
     director, employee or agent of Seller is a beneficiary as a result of his or her employment
     or affiliation with Seller.

     “Encumbrances” means and includes interests, contractual rights, security interests,
     mortgages, liens, licenses, pledges, guarantees, charges, easements, reservations,
     restrictions, clouds, equities, rights of way, options, rights of first refusal and all other
     encumbrances, whether or not relating to the extension of credit or the borrowing of money.

     “Equipment” means all furniture, fixtures, equipment, machinery, vehicles, and other
     personalty now or hereafter attached to or appurtenant to the Land or used in connection
     with the Facilities or the Business.
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     “ERISA” means the United States Employee Retirement Income Security Act of 1974, as
     amended from time to time, and the rules and regulations promulgated thereunder.

     “Escrow Agent” means Landmark Abstract Agency, 207 Rockaway Turnpike, Lawrence,
     NY 11559, attn: Jacob Rekant, Jrekant@laatitle.com.

     “Excluded Agreements” means all contracts, leases, and agreements (other than those
     between Seller and Buyer) that are not Assumed Executory Contracts: (i) as to which Seller
     is a party; (ii) to which Seller or its property is subject; or (iii) by which Seller is otherwise
     bound, whether oral or written.

     “Excluded Assets” means those items specifically described in Section 2.02.

     “Excluded Liabilities” means any liabilities of, and Claims against, Seller or the Acquired
     Assets, together with all other liabilities and obligations of, and Claims against, Seller that
     are not Assumed Liabilities.

      “Facilities” means Seller’s interest in the 8 Skilled Nursing Facilities and 2 Assisted
     Living Facilities, Land, Improvements, Equipment, Intellectual Property, Contract Rights,
     Leases, Intangible Personal Property, Government Authorizations, Records and the other
     intangible and tangible assets, whether real or personal or mixed, that are located in, or
     associated with, the nursing and assisted living facilities, and/or on the Land. The Facilities
     are listed on Exhibit A.

     “FMLA” means the United States Family and Medical Leave Act, as amended from time
     to time, and the rules and regulations promulgated thereunder.

     “GAAP” means generally accepted accounting principles in the United States, consistently
     applied.

     “Governmental Authority” means the government of the United States or any foreign
     country or any state or political subdivision thereof and any entity, body or authority
     exercising executive, legislative, judicial, regulatory or administrative functions of or
     pertaining to government, and other quasi-governmental entities established to perform
     such functions.

     “Government Authorizations” means all licenses, permits, approvals, certificates of need
     and occupancy, facility certifications, consents and other authorizations from any
     Governmental Authority as are necessary to lawfully own and/or operate the Facilities or
     conduct the Business.

     “Hazardous Materials” means any substance, material, or waste that is or becomes
     regulated by any Governmental Authority including: (i) petroleum, (ii) asbestos, (iii)
     polychlorinated biphenyls, (iv) those substances, materials or wastes designated as a
     “hazardous substance” pursuant to Section 311 of the Clean Water Act or listed pursuant
     to Section 307 of the Clean Water Act or any amendments or replacements to these statutes,
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     (v) those substances, materials or wastes defined as a “hazardous waste” pursuant to
     Section 1004 of the Resource Conservation and Recovery Act or any amendments or
     replacements to that statute, or (vi) those substances, materials or wastes defined as a
     “hazardous substance” pursuant to Section 101 of the Comprehensive Environmental
     Response, Compensation and Liability Act, or any amendments or replacements to that
     statute.

     “IDHS” means the Iowa Department of Human Services.

     “IDIA” means the Iowa Department of Inspections and Appeals.

     “IDPH” means the Iowa Department of Public Health.

      “Improvements” means the buildings and all other improvements, including site
     improvements, landscaping, fixtures, mechanical equipment, apparatus and appliances,
     now owned or leased or hereafter placed in the Facilities, and/or on the Land.

     “Intangible Personal Property” means all engineering and architectural plans and
     specifications, drawings, studies and as-built surveys relating to the Facilities that are in
     Seller’s possession, and any other intangible personal property Seller owns and uses in
     connection with the Facilities.

     “Intellectual Property” means any or all of the following rights: (i) all U.S., international,
     and foreign patents and applications therefor and all reissues, divisions, renewals,
     extensions, provisionals, continuations and continuations-in-part thereof; (ii) all inventions
     (whether or not patentable), invention disclosures, improvements, trade secrets, proprietary
     information, know-how, technology, technical data and customer lists, and all
     documentation relating to any of the foregoing throughout the world; (iv) all industrial
     designs and any registrations and applications therefor throughout the world; (v) all internet
     uniform resource locators, domain names, trade names, logos, slogans, designs, common
     law trademarks and service marks, trademark and service mark registrations and
     applications therefor throughout the world; (vi) all databases and data collections and all
     rights therein throughout the world; (vii) all moral and economic rights of authors and
     inventors, however denominated, throughout the work; and (viii) any similar or equivalent
     rights to any of the foregoing anywhere in the world.

     “Inventory” has the meaning set forth in Section 2.01(a) of this Agreement.

     “Knowledge” with respect to Seller means all facts that a responsible officer of Seller
     employed as of the Execution Date would know or would have reason to know following
     due inquiry and diligence with respect to the matters at hand.

     “Labor Laws and Employment Laws” means all Laws and all contracts or collective
     bargaining agreements governing or concerning labor relations, collective bargaining,
     conditions of employment, employment discrimination or harassment, wages, hours, or

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     occupations safety and health. The term includes ERISA, the Immigration Reform and
     Control Act of 1986, the National Labor Relations Act, the Civil Rights Acts of 1866 and
     1964, the Equal Pay Act, the Age Discrimination in Employment Act, the Americans With
     Disabilities Act, FMLA, WARN Act, OSHA, the Davis Bacon Act, the Walsh-Healy Act,
     the Service Contract Act, the Fair Labor Standards Act, the Rehabilitation Act of 1973, the
     Sarbanes-Oxley Act, any worker’s compensation Law, and all rules and regulations
     promulgated under any of the foregoing Laws.

     “Laws” means all statutes, rules, codes, regulations, restrictions, ordinances, orders,
     decrees, approvals, directives, decisions, judgments, injunctions, writs, executive orders,
     awards, and decrees of, or issued by, any Government Authority.

     “Land” means the real estate described on Exhibit B, together with all easements,
     hereditaments, rights of way, privileges and rights benefiting the same and all strips and
     gores of land lying adjacent to such land that Seller owns.

     “Leases” means all lease or rental agreements involving or pertaining to the Business, to
     which Seller is a party, if any.

     “Licenses” means all notifications, licenses, permits (including environmental,
     construction, and operation permits), franchises, certificates, certificates of need,
     accreditations, approvals, exemptions, waivers, classifications, registrations and other
     similar documents and authorizations any Governmental Authorities have issued, as well
     as all applications for any of the foregoing; provided, however, that Licenses shall not
     include any notifications, licenses, permits (including environmental, construction, and
     operation permits), franchises, certificates, certificates of need, accreditations, approvals,
     exemptions, waivers, classifications, registrations and other similar documents and
     authorizations any Governmental Authorities have issued, as well as all applications for
     any of the foregoing, related to any Excluded Asset.

     “Lien” means any lien (statutory or otherwise), encumbrance, Claim, indebtedness,
     obligation, right, demand, charge, right of setoff, mortgage, deed of trust, security interest,
     pledge, preference, option, lease, license, Tax, right of first refusal or similar interest, title
     defect, easements, rights of way, restrictive covenant, encroachment, judgment,
     conditional sale, title retention agreement or restriction on transfer, or any other interest,
     whether it is secured or unsecured, known or unknown, recorded or unrecorded, contingent
     or liquidated.

     “Material Adverse Effect” means any adverse effect in the business, financial or physical
     condition, or results of operations of the Facilities, the Business, or Seller with respect to
     the Facilities, that is material when taken as a whole, provided, however, that a Material
     Adverse Effect shall not be deemed to include events, changes, effects, conditions, state of
     facts or occurrences arising out of, relating to, or resulting from: (i) changes in the United
     States or foreign economies or financial markets in general; (ii) general changes or
     developments in business, regulatory, or macroeconomic conditions or trends that affect
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     the industries and markets in which the Sellers operate; (iii) any global or national health
     concern, epidemic, disease outbreak, pandemic (whether or not declared as such by any
     Governmental Authority and including “coronavirus” or “COVID-19”) or any Law issued
     by a Governmental Authority requiring business closures, quarantine, “sheltering-in-place”
     or similar restrictions that arise out of such health concern, epidemic, disease outbreak or
     pandemic or any change in such Law following the date of this Agreement; (iv) changes
     after the date of this Agreement in any Laws; (v) the announcement or anticipated
     consummation of the transactions this Agreement contemplates; (vi) the commencement
     or pendency of the Chapter 11 Case; (vii) any objections in the Bankruptcy Court to (A)
     this Agreement or any of the transactions contemplated hereby or thereby, (B) the Bidding
     Procedures Order, or (C) the assumption or rejection of any Contract or Lease pursuant to
     and in compliance with this Agreement

     “Medicare Advance Payments” means unpaid or unreturned accelerated or advance
     Medicare payments received by the Facilities under the Coronavirus Aid Relief, and
     Economic Security Act amending the Accelerated Payments program, and any other
     unpaid or unreturned advance payments or stimulus funds received by the Facilities
     through any federal or state governmental agency providing reimbursement.

     “Operations Transfer Agreement” has the meaning set forth in Section 2.12.

     “OSHA” means the United States Occupational Safety and Health Administration.

     “Out of Compliance” means any of the following (A) a finding by a Governmental
     Authority of one or more deficiencies at any Facility at a “level G” or above that has not
     been corrected and cleared by the applicable Governmental Authority; (B) a denial of any
     Facility’s right to admit patients or to receive Medicare or Medicaid payments or
     reimbursements for existing patients or for new admissions at any Facility (C) any Facility
     loses its operating license or any material Permit; (D) any Facility has any Provider
     Agreement revoked or terminated; and (E) any Facility has its number of beds reduced;
     provided that the Facilities shall not be Out of Compliance if any of the conditions set forth
     in this definition exist at any Facility but are thereafter cured or rectified by the Seller
     within a reasonable period.

     “Person” means any individual, corporation, partnership, joint venture, association, limited
     liability company, trust, unincorporated organization or Governmental Authority.

     “Permitted Encumbrances” means any Encumbrances that remain attached to any
     Acquired Assets, from and after the Closing Date, with Buyer’s consent.

     “Petition Date” means December 29, 2021.

     “Purchase Price” has the meaning set forth in Section 2.03.

     “Qualified Bid” shall have the meaning set forth in the Bidding Procedures.

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       “Records” means all books and records Seller (or its Affiliates) maintain in connection
       with the Facilities or the Business, but excluding any records relating solely to Seller
       corporate entity as distinct from the Facilities or Business.

       “Sale Order” means an Order of the Bankruptcy Court approving the sale to Buyer.

       “Skilled Nursing Facilities” means the facilities consisting of (1) Crestridge, located at
       1015 Wesley Drive, Maquoketa, IA 52060, (2) Winterset Care Center North, located at
       411 East Lane St., Winterset, IA 50273, (3) Crestview Acres, located at 1485 Grand
       Avenue, Marion, IA 52303, (4) Humboldt Care Center North, located at 1111 11th Ave,
       North, Humboldt, IA 50548, (5) Humboldt Care Center South, located at 800 13th St.,
       South, Humboldt, IA 50548, (6) Sunnycrest Nursing Center, located at 401 Crisman St.,
       Dysart, IA 52224, (7) Mitchell Village Care Center, located at 114 Carter St. SW,
       Mitchellville, IA 50169, and (8) Fort Dodge Villa Care Center, located 2721 10th Ave
       North, Fort Dodge, IA 50501.

       “Stalking Horse Bidder” means the bidder identified in accordance with the Bidding
       Procedures Order.

       “Tax Return” means any report, return, declaration or other information required to be
       supplied to any Governmental Authority in connection with Taxes, including estimated
       returns and reports of every kind with respect to Taxes.

       “Taxes” means all taxes, charges, fees, levies, duties, penalties, additions or assessments
       imposed by any Governmental Authority, including income, excise, property, sales,
       transfer, use, ad valorem, profits, occupancy, environmental, sewer, tap, severance,
       franchise, value added or other taxes, including any interest, penalties or additions
       attributable thereto.

       “Third Party” means any Person other than Seller, Buyer or an Affiliate of either.

       “Transaction Documents” means this Agreement and any other agreement, document or
       instrument executed and delivered pursuant to the terms of, or otherwise in connection
       with, this Agreement, including, for the avoidance of doubt, the Bidding Procedures, the
       Bidding Procedures Order and the Sale Order.

       “Treasury Regulations” means the Income Tax Regulations, including Temporary
       Regulations, promulgated under the Code.

       “WARN Act” means the United States Worker Adjustment and Retraining Notification
       Act, as amended from time to time, and the rules and regulations promulgated thereunder.

1.02   General Construction. Whenever the context requires in this Agreement, the singular
       includes the plural and masculine includes the feminine or the neuter. The word
       “including” means “including without limitation.” Words such as “herein,” “hereof,”

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       “hereby” and “hereunder” and words of similar import refer to this Agreement as a whole
       and not to any particular Article, Section or Subsection of this Agreement.

1.03   Schedules and Exhibits. The schedules and exhibits referenced in this Agreement are
       incorporated herein. All items disclosed hereunder shall be deemed disclosed in connection
       with the specific representation to which they are explicitly referenced. If no disclosure
       schedule is attached with reference to a specific Section of this Agreement, then such
       missing schedule shall be deemed to state “None.”

                                    ARTICLE II
                            AGREEMENT AND CONSIDERATION

2.01   Agreement to Sell and Purchase. In consideration of the mutual covenants and promises
       contained in this Agreement, Seller agrees to sell, assign, transfer and convey unto Buyer
       all of Seller’s right, title and interest in and to the assets described in this Section 2.01 (but
       not any Excluded Assets) (collectively the “Acquired Assets”), and Buyer agrees to
       purchase all of Seller’s right, title and interest in and to the Acquired Assets (but not any
       Excluded Assets), all upon the terms and conditions set forth herein. Except for any
       Excluded Assets, the Acquired Assets consist of the following assets, properties and rights
       of Seller as of the close of business on the Closing Date:

        (a)    All inventory, including finished goods, raw materials, work in progress,
        packaging, supplies, parts and other inventories, but excluding the Excluded Assets
        (collectively, the "Inventory");

        (b) All Contracts set forth in Section 2.08(a) of the Disclosure Schedules (the
        "Assumed Executory Contracts");

        (c)    All Intellectual Property;

        (d) All furniture, equipment, machinery, tools, vehicles, office equipment, supplies,
        computers, telephones and other tangible personal property;

        (e)    All Land;

        (f)    All Permits which are held by Seller and required for the conduct of the Business
        as currently conducted or for the ownership and use of the Acquired Assets;

        (g) All rights to any Actions of any nature available to or being pursued by Seller to
        the extent related to the Business, the Acquired Assets or the Assumed Liabilities, whether
        arising by way of counterclaim or otherwise, provided, however, that the rights to any
        Avoidance Action against any party to a Contract of Seller not listed on Section 2.08(a)
        of the Disclosure Schedules as of the Closing or any Action against any director, officer,
        equity-holder, or lender of any Seller are not a Purchased Asset;


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       (h) All of Seller's rights under warranties, indemnities and all similar rights against
       third parties to the extent related to any of the Acquired Assets or Assumed Liabilities;

       (i)   All employee benefit plans set forth in Section 2.01(i) of the Disclosure
       Schedules, solely to the extent designated and agreed by Buyer, including all related
       insurance policies, contracts, trusts and any other assets attributable thereto (the
       "Assumed Benefit Plans");

       (j)   All insurance benefits, including rights and proceeds, arising from or relating to the
       Business, the Acquired Assets or the Assumed Liabilities

       (k) Originals, or where not available, correct and complete copies, of all books and
       records, including books of account, ledgers and general, financial and accounting
       records, customer lists, customer purchasing histories, price lists, distribution lists,
       supplier lists, production data, quality control records and procedures, customer
       complaints and inquiry files, research and development files, records and data (including
       all correspondence with any Governmental Authority), sales material and records
       (including pricing history, total sales, terms and conditions of sale, sales and pricing
       policies and practices), strategic plans, internal financial statements, marketing and
       promotional surveys, material and research and files relating to the Intellectual Property
       Assets ("Books and Records"); and

       (l)   All goodwill and the going concern value of the Business.

2.02   Excluded Assets. The following assets are expressly excluded from the purchase (the
       “Excluded Assets”):

       (a)  All Contracts that are not Assumed Executory Contracts (the "Excluded
       Contracts");

       (b)   Cash and cash equivalents;

       (c)   Accounts receivable;

       (d) The corporate seals, organizational documents, minute books, stock books, Tax
       Returns, books of account or other records having to do with the corporate organization
       of Seller;

       (e)    All rights to any Avoidance Actions against any creditor of Seller not listed in
       Section 2.08(a) of the Disclosure Schedules as of the Closing or any party to a Contract
       of Seller not listed on Section 2.08(a) of the Disclosure Schedules as of the Closing, or
       any Action against any director, officer, equity-holder, or lender of any Seller;

       (a)   Prepaid expenses, credits, advance payments, claims, security, refunds, rights of
       recovery, rights of set-off, rights of recoupment, deposits, charges, sums and fees

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       (including any such item relating to the payment of Taxes) related to prior to the Closing
       Date; and

       (f)    The rights specifically accruing to Seller under the Transaction Documents.

2.03   Consideration. Buyer agrees to pay to Seller the total of Eleven Million Six Hundred
       Thousand and 00/100 Dollars ($11,600,000) (the “Purchase Price”) in consideration for the
       sale of the Acquired Assets, subject to the adjustments and credits described herein.

2.04   Good Faith Deposit. Within two (2) business days of the Execution Date, Buyer shall
       provide a good faith deposit of $580,000 in cash to Escrow Agent to be held pending
       Closing. In the event Buyer is not the Prevailing Bidder at auction, Seller shall return the
       good faith deposit to Buyer within three business days of entry of the order approving the
       sale.

2.05   Method of Payment. Buyer will pay the Purchase Price at Closing, less the Medicare
       Advance Payments, in immediately available funds. The Good Faith Deposit shall be
       applied to the Purchase Price.

2.06   Allocation of the Purchase Price. The Purchase Price will be allocated in the manner set
       forth on Exhibit C, said allocation being mutually agreed upon by the parties.

2.07   Excluded Assets. Notwithstanding anything herein to the contrary, Buyer will not acquire
       any interest in the Excluded Assets as a result of this transaction.

2.08   Assumed Liabilities. Buyer will not assume or in any way be responsible for any of the
       debts, liabilities, or obligations of any kind or nature of Seller, other than as specifically
       set forth herein related to Assumed Executory Contracts (collectively, the “Assumed
       Liabilities”).

       (a)    Except as set forth herein, Buyer shall assume and be responsible for all Liabilities
       of Seller under the Assumed Executory Contracts, including any costs to cure any ongoing
       default under any Assumed Executory Contract (the "Cure Costs") in accordance with the
       Bidding Procedures. Section 2.08(a) of the Disclosure Schedules sets forth a correct and
       complete list of all Assumed Executory Contracts as of the date hereof, including any
       Cure Costs associated therewith. Therefore, Buyer shall only be obligated to pay
       Liabilities under contracts which Buyer has explicitly assumed pursuant to section 2.08(a)
       of this Agreement, which will be designated by Buyer, and detailed in section 2.08(a) of
       the Disclosure Schedules. If the Buyer indicates in the Disclosure Schedules that Buyer
       does not wish to assume a Cure Cost, it shall be deemed that Buyer does not assume the
       corresponding contract. Notwithstanding the foregoing, Buyer shall not assume any Cure
       Costs related to any provider agreement (i.e., Medicare, Medicaid or any HMOs), which
       amount shall either be satisfied by Seller simultaneously with the Closing or credited at
       Closing against the Purchase Price.


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2.09   Without limiting the generality of the foregoing, Buyer will have no liability for any
       Excluded Liabilities or Excluded Assets. Other than the Assumed Liabilities, Buyer shall
       not assume from Seller any Liabilities whatsoever, all of which shall be retained by the
       Seller and considered Excluded Liabilities including without limitation:

       (a)     malpractice, professional liability or other tort claims, statutory or regulatory
claims, claims of local, state or federal agencies whether civil or criminal, fraud-based claims or
claims for breach of contract to the extent any such claims are based on acts or omissions of Seller
or events occurring at the Facilities before the Closing Date;

       (b)     any accounts payable, taxes, or other obligation or Liabilities of Seller to pay money
incurred by Seller for periods prior to the Closing Date;

       (c)    any collective bargaining agreements or other agreements or understandings with
any labor union or collective bargaining unit or any employment or consulting agreements of any
kind and any Liabilities arising from any pension fund or benefits programs;

       (d)     any administrative expense Claims accruing in the Chapter 11 Case;

       (e)     Liabilities of Seller arising under or in connection with any Excluded Contract;

        (f)    Liabilities of Seller arising under all employment and change of control contracts,
severance obligations, equity option contracts and equity purchase contracts to which Seller is a
party other than any Liability arising pursuant to any Assumed Contract;

       (g)     Liabilities or obligations in connection with any indebtedness of Seller, except
pursuant to any Assumed Contract or other Assumed Liability;

       (h)     other than Cure Amounts related to the Assumed Contracts, all pre-petition and
post-petition Claims as of the Closing Date, including, without limitation, all trade payables and
general unsecured Claims;

       (i)     any Liability arising out of, under or in connection with the Excluded Assets;

       (j)    all Liabilities relating to (including amounts or notice due to) employees, former
employees, consultants, former consultants or retirees of Seller based on the termination of such
employment or engagement by the Seller, including any amounts due to such Persons prior to
Closing;

       (k)     any Liability that is not an Assumed Liability; and

       (l)      other than Cure Amounts related to the Assumed Contracts, any other Liabilities
arising in whole or in part from Seller’s acts or omissions or in any way related to the operations
of the Facility prior to the Effective Time.


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2.10   Inspection / Due Diligence Period. Buyer agrees that it has conducted sufficient due
       diligence to close the sale and purchase the Acquired Assets as is, where is, other than as
       otherwise agreed by Seller and Buyer.

2.11   Revisions to List of Assumed Executory Contracts. Subject to the terms of any controlling
       Bankruptcy Court order and the requirements of the Bankruptcy Code, Buyer may revise
       Schedule 2.08(a) at any time prior to the Bankruptcy Court’s entry of the Sale Order, by
       giving notice to Seller; provided, however, that such revision shall not result in additional
       cost (including Cure Cost) to Seller., following entry by the Bankruptcy Court of the Sale
       Order. Immediately upon Buyer’s delivery of such written notice to Seller, Schedule
       2.08(a), so revised, will define the scope of the Assumed Executory Contracts in all
       respects pursuant to this Agreement, including the scope of Assumed Liabilities, Assumed
       Executory Contracts, Excluded Liabilities, and Excluded Agreements, and Cure Costs.

2.12   Provider Agreements;

        (a)     Operations Transfer Agreement: The Buyer and Seller shall enter into an ancillary
agreement providing for the orderly transition of the operations of each Facility from the Seller
to the Buyer (the “Operations Transfer Agreement”). The Operations Transfer Agreement shall
specify the terms and conditions of the transition of operations of, and financial responsibility for,
the Facilities from Seller to Buyer for the time period between the entry of the Sale Order and the
Closing Date.

         (b)     Management Agreement. The Buyer and Sellers shall enter into an ancillary
agreement within five (5) Business Days of entry of the Sale Order to transfer management and
operation of the Facilities, subject to Applicable Law (the “Management Agreement”). Pursuant
to the Management Agreement, all economic risk and reward in relation to the operation of the
Facilities transfers to the Buyer on the effective date of the Management Agreement.                 The
effective date of the Management Agreement shall be no later than two (2) weeks following the
earlier of (i) the Auction, or (ii) if no other qualified bids are received and the Auction is cancelled,
the Preliminary Bid Deadline; provided, however, that the parties shall use good faith efforts to
cause the Management Agreement to become effective as soon as feasible after the earlier of (i)
or (ii).

       (c)      Interim Billing. (a) As of the Closing Date and to the extent permitted by Applicable
Law, Seller shall transfer and assign to Buyer all of Seller’s rights and interests in and to Seller’s
Medicare and Medicaid provider numbers and Medicare and Medicaid provider reimbursement
agreements. The Parties acknowledge and agree that Buyer is not expected to have received its
“tie in” notice from Centers for Medicare and Medicaid Services (“CMS”) with respect to Seller’s
Medicare or Medicaid provider agreements or any new Medicare or Medicaid provider
agreements (collectively, the “Provider Agreements”) as of the Closing Date. Prior to Buyer’s
receipt of its tie in notice and Provider Agreements, so long as Buyer is accepting assignment of
the Provider Agreements and is utilizing commercially reasonable efforts to become the certified
Medicare and/or Medicaid provider, as applicable, at the Facility, Seller agrees that Buyer may
bill for services performed following the Closing under Seller’s Medicare and/or Medicaid
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provider number, as applicable, to the extent permitted by Applicable Law. (b) The Parties
acknowledge and agree that Seller’s managed care provider plans and agreements with other
third-party payors are not expected to have been updated with Buyer’s provider information as of
the Closing Date. From and after the Closing Date until such managed care provider plans and
agreements with other third-party payors are updated with Buyer’s provider information, Seller
agrees that Buyer may bill for services provided following the Closing under Seller’s managed
care provider plans and agreements with other third-party payors using Seller’s provider
information to the extent permitted by Applicable Law and the terms and conditions of the plans
and agreements with the third party payors. (c) Any reimbursements from Medicare or Medicaid
billed by Buyer for dates of service after the Closing Date which are paid into Seller’s accounts
shall be forwarded by Seller to Buyer.

                                     ARTICLE III
                           REPRESENTATIONS AND WARRANTIES

3.01     Seller’s Representations and Warranties. Seller represents and warrants to Buyer as
         follows and agrees that each of the following will be true and correct on the Execution Date
         and the Closing Date. This Section 3.01 contains the full and complete list of Seller’s
         representations and warranties to Buyer. Seller covenants as follows:

   (a)    Organization of Seller. Each Seller as listed in the preamble above is either a limited
          liability company or corporation duly organized and validly existing and in good standing
          under the laws of the State of Iowa.

   (b)    Authority. The execution and delivery of this Agreement and the Ancillary Agreements
          to which it is a party, and the consummation of the transactions herein contemplated have
          been duly and validly authorized by all necessary action on the part of Seller. Subject to
          the Bankruptcy Court’s entry of the Sale Order, this Agreement has been, and any
          Ancillary Agreements will be as of the Closing Date, duly executed and delivered by
          Seller, and do or will (as the case may be) constitute Seller’s valid, legal, and binding
          obligation according to their terms.

   (c)    Consents and Authority. Except for the Bankruptcy Court’s entry of the Sale Order,
          Seller has obtained all corporate approvals and membership consents necessary to
          consummate the transactions contemplated therein.

   (d)    Title. Seller has delivered to or made available for Buyer’s review true, correct, and
          complete copies of the title abstracts for all real estate in which Seller has an interest.

   (e)    Litigation and Compliance with Laws. To Seller’s Knowledge, Schedule 3.01(e) sets
          forth a complete and accurate description of any litigation, proceeding, claim or
          investigation threatened or pending before any court, arbitrator or administrative agency
          affecting or relating to Seller or Seller’s operation of the Facilities.



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  (f)   Utilities. To Seller’s Knowledge, all water, gas, electricity, telephone, cable, drainage
        facilities, sewer and other utilities required for the operation of the Facilities either enter
        the Land through adjoining public streets or, if they pass through adjoining private land,
        they do so in accordance with recorded easements.

  (g)   Tax Returns; Taxes. Except as precluded by the Bankruptcy Code, Seller has filed all
        Tax Returns due as of the Execution Date of this Agreement and has or will pay all Taxes
        against the Facilities and/or Seller that relate to Seller’s ownership and/or operation of
        the Facilities, or that could constitute an Encumbrance against the Facilities, if and when
        they are due and payable.

  (h)   Non-Foreign Status. Seller is not a foreign entity (as the term is defined in the Internal
        Revenue Code and Income Tax Regulations) and Seller agrees to execute a Certificate of
        Non-Foreign Status pursuant to Section 1445 of the Internal Revenue Code at Closing.

  (i)   Broker’s Fee. Seller is solely responsible for satisfying any Claim relating to any broker
        or advisor with respect to the transactions this Agreement contemplates for a brokerage
        commission, consulting fee, finder’s fee or similar payment.

  (j)   Bulk Sales Law. Seller has complied, or will comply, with any applicable bulk sales law
        requirements applicable to the sale of the Facilities, at its sole expense.

  (k)   Environmental Matters. To Seller’s Knowledge, except as set forth on Schedule 3.01(t),
        the Facilities are in compliance with all federal, state and local environmental, health and
        safety laws, statutes ordinances and regulations, including all laws relating to Hazardous
        Materials, and wetlands.

  (l)   Employee Plans. Except as otherwise may be prohibited by law, Seller has delivered to
        or made available for Buyer’s review true, correct, and complete copies of Seller’s
        Employee Plans.

  (m) Fraud and Abuse. Except as set forth on Schedule 3.01(t), to Seller’s Knowledge, Seller
      has not engaged in any activities that are prohibited under 42 U.S.C. §1320a-7b or 42
      U.S.C. 1395, or the regulations promulgated thereunder, or any applicable related Law,
      or that are prohibited by rules of professional conduct, including the following: (a)
      knowingly and willfully making or causing to be made a false statement or representation
      of a material fact in any application for any benefit or payment; (b) knowingly and
      willfully making or causing to be made any false statement or representation of a material
      fact for use in determining rights to any benefit or payment; (c) any failure by a claimant
      to disclose knowledge of the occurrence of any event affecting the initial or continued
      right to any benefit or payment on its own behalf or on behalf of another, with the intent
      to fraudulently secure such benefit or payment; and (d) knowingly and willfully soliciting
      or receiving any remuneration (including any kickback, bribe or rebate) directly or
      indirectly, overtly or covertly, in cash or in kind, or offering to pay or receive such
      remuneration (i) in return for referring an individual to a person for the furnishing or
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        arranging for the furnishing of any item or service for which payment may be made in
        whole or in part by Medicare or Medicaid, or (ii) in return for purchasing, leasing or
        ordering or arranging for, or recommending, purchasing, leasing or ordering any good,
        facility, service or item for which payment may be made in whole or in part by Medicare
        or Medicaid. Seller is not and at no time has been suspended or excluded from
        participation in any federally funded health care program, including Medicare or
        Medicaid.

  (n)   Insurance Policies. Seller has delivered to or made available for Buyer’s review true,
        correct, and complete copies of Seller’s policies of insurance applicable to Seller, and the
        Facilities, including medical malpractice insurance covering all physicians and other
        professional personnel Seller has engaged or employed, general liability insurance,
        property insurance, employer’s liability and workers’ compensation insurance.

  (o)   Certificates of Need. Seller has delivered to or made available for Buyer’s review true,
        correct, and complete copies of Seller’s certificates of need; (ii) letters of non-
        reviewability; or (iii) other exemptions from certificate of need review, that Seller holds
        or uses in the operation of the Business. Schedule 3.01(o) sets forth a true, correct, and
        complete list of all such documents.

  (p)   Medical Staff. Seller has delivered to or made available for Buyer’s review true, correct,
        and complete copies of Seller’s (i) medical staff privilege and membership application
        forms; (ii) delineation of privilege forms; current medical staff bylaws, rules and
        regulations, and amendments thereto; (iii) credentials and appeals procedures not
        incorporated in any of the foregoing; and (iv) contracts with physicians, physician
        groups, or other members of the medical staff of the Facilities.

  (q)   Hill-Burton and Other Liens. Seller has not received any loans, grants, or loan guaranties
        pursuant to the United States Hill-Burton Act (42 U.S.C. § 291a, et seq.) program, the
        Health Professions Educational Assistance Act, the Nurse Training Act, the National
        Health Pharmacy and Resources Development Act, or the Community Mental Health
        Centers Act. To Seller’s Knowledge, none of the Acquired Assets are subject to any
        liability in respect of amounts received by Seller or others for the purchase of the
        Acquired Assets (or any part thereof) under restricted or conditioned grants or donations,
        including monies received under the Public Health Services Act (42 U.S.C. § 291, et
        seq.).

  (r)   Experimental Procedures. Neither Seller, nor any officers, employees or agents of Seller,
        have performed or permitted to be performed, nor do they have Knowledge of the
        performance of, any experimental procedures involving patients/residents in the
        Facilities.

  (s)   Permits. Except as set forth on Schedule 3.01(s), the Facilities are duly licensed in
        accordance with the Laws of the State of Iowa, DOH and all other ancillary departments
        or services located at or operated for the benefit of, the Facilities that are required to be
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        separately licensed are duly licensed by the appropriate Governmental Authority. To the
        Knowledge of Seller, Seller has all Permits which are needed or required by Law to
        operate its business related to or affecting the Facilities or any ancillary services related
        thereto as currently conducted. Schedule 3.01(s) is a true, complete and accurate list all
        material Permits owned or held by or issued to Seller relating to the ownership or
        operation of the Facilities or the Acquired Assets and such Permits constitute all material
        Permits necessary for the conduct of the Business and operation of the Facilities as
        currently conducted and for the ownership of the Facilities by Seller and operation and
        use of the Acquired Assets by Seller, all of which are in full force and effect.

  (t)   Compliance. Except as set forth on Schedule 3.01(t), or to the extent such failure would
        not constitute a Material Adverse Effect, to the Knowledge of Seller, Seller is complying
        in all material respects with all applicable statutes, rules, regulations, and requirements
        of each Governmental Authority having jurisdiction over the Seller, the operations of the
        Facilities and the Acquired Assets.

  (u)   Licensed Beds and Current Rate Schedule. Schedule 3.01(u) sets forth a true, correct
        and complete statement, as of three (3) Business Days prior to the Execution Date, of: (i)
        the number and type of licensed beds at the Facilities, and (ii) the number of beds then
        occupied in, and the occupancy percentages at, the Facilities.

  (v)   Prohibited Practices. Except as set forth on Schedule 3.01(t), during the eighteen (18)
        month period prior to the Execution Date, no officers or directors of Seller have, during
        their period of engagement with Seller, been charged with, convicted of or pleaded guilty
        to crimes of theft or dishonesty, financial misconduct, or offenses related to the delivery
        of health care services, nor, to Seller’s Knowledge, have any of Seller’s current officers
        or directors been excluded from participation in Medicare, Medicaid or any other state
        or federal government reimbursement program. To Seller’s Knowledge, during the
        eighteen (18) month period prior to the Execution Date, none of Seller’s officers,
        directors or employees has engaged in any conduct that may result in sanctions to Seller
        under any federal or state laws.

  (w) Government Investigations. Except as set forth on Schedule 3.01(t), other than for
      routine state and federal inspections or surveys performed by DOH, during the eighteen
      (18) month period prior to the Closing Date, Seller has received no written notice of the
      commencement of any investigation proceedings or any governmental investigation or
      action (including any civil investigative demand or subpoena) under Laws.

  (x)   Cost Reports. Seller has filed all cost reports required to be filed for the Facilities as of
        the Closing Date under Law. Seller has furnished Buyer with copies of all cost reports
        filed by Seller with the appropriate State agency, the appropriate Medicare and Medicaid
        agencies and/or fiscal intermediaries in respect of the operation of the Facilities for the
        years ended December 31 2020 and 2019, and to Seller’s Knowledge, such cost reports
        did not contain any material disallowable costs or expenses or any untrue statement of a
        material fact or omit to state a material fact necessary in order to make the statements
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         contained therein not misleading, and, to Seller’s Knowledge, such cost reports have been
         prepared in all material respects in accordance and compliance with all applicable
         government rules and regulations.

   (y)   Financial Information.

                      (i)     Schedule 3.01(y) hereto contains the following financial statements
and financial information (collectively, the “Historical Financial Information”):

unaudited financial statements consisting of the balance sheet of the Business as of December 31,
2021, and the related statements of income and net surplus/deficit, and cash flow for the 12-month
period ended on December 31, 2020 (the “Unaudited Financial Information”).

                       (ii)     The Unaudited Financial Information included in the Historical
Financial Information has been prepared consistent with past practice and may not include required
footnote disclosures or reflect normal year-end adjustments. Seller has not changed in any material
respects any accounting policy or methodology in calculating reserves, including reserves for
uncollected accounts receivable, throughout all periods presented in the Historical Financial
Information.

         (z)   Real Property.

                        (a)     Schedule 3.01(z) contains an accurate and complete legal
               description, street address and tax parcel identification number for the Land. Seller
               holds good and indefeasible fee simple title to all the Land and shall convey the
               Land in accordance with the Sale Order free and clear of all Liens (other than the
               Permitted Liens). Seller is not a lessee of any portion of the Land. Seller agrees
               that title to the Land shall not be altered between the Execution Date and Closing.
               Except as set forth on Schedule 3.01(z), other than the right of Buyer pursuant to
               this Agreement, there are no outstanding agreements, options, rights of first offer,
               rights of first refusal, or any other grant to third party to sell, purchase, lease,
               sublease, use, occupy, or enjoy the Land or any portion thereof or interest therein.

                       (b)     Except as set forth on Schedule 3.01(t), Seller has not received
               written notice from any Governmental Authority of (and otherwise has no
               Knowledge of): (i) any pending or threatened condemnation proceedings affecting
               the Land, or any part thereof; (ii) any written notice asserting or alleging any
               material violations or potential violations of any Laws (including zoning and land
               use ordinances, building codes and similar requirements) with respect to the Land,
               or any part thereof, which have not heretofore been cured; or (iii) any pending or
               threatened proceedings, nor any claims or actions against Seller or the Land,
               relating to the ownership, lease, use or occupancy of such Land or any portion
               thereof which is reasonably likely to result in a material change in the condition of
               the Land or the ownership or operation of the Land. Seller has not received any

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                written notice of any pending zoning or other land use change affecting the real
                property.

                        (c)    Neither Seller nor, to Seller’s Knowledge, any other person is in
                violation of a condition or agreement contained in any easement, restrictive
                covenant or any similar instrument or agreement affecting any of the Land in any
                material respect.

                        (d)   To Seller’s Knowledge, except as set forth on Schedule 3.01(z), the
                Land is zoned for its current use and there are no waivers or variances granted by
                any Governmental Authority which, as a result of the transactions contemplated in
                this Agreement, will be withdrawn or abrogated, including but not limited to life
                safety code waivers.

3.02    Buyer’s Representations and Warranties. Buyer makes the following representations and
        warranties to Seller, which will be true and correct as of the date made and the Closing
        Date:

       (a) Organization of Buyer. Buyer is a limited liability company duly organized, validly
           existing, and in good standing under the laws of the State of Delaware and licensed to do
           business in the State of Iowa.

       (b) Authority. The execution and delivery of this Agreement and the consummation of the
           transactions herein contemplated have been duly and validly authorized by all necessary
           corporate action on the part of Buyer, and this Agreement constitutes, and the documents
           contemplated hereby will be, Buyer’s valid and legally binding obligations, enforceable
           according to their terms.

       (c) Conflict or Default. Neither the execution nor delivery of this Agreement, nor the
           consummation of the transactions herein contemplated will conflict with, violate, result
           in a breach by, constitute a default under or accelerate the performance provided by the
           terms of any Law or agreement to which Buyer may be subject.

3.03    Full Disclosure. To their Knowledge, no representation or warranty by Seller or Buyer,
        and no statement, document, financial statement, certificate or other instrument, schedule
        or exhibit furnished or to be furnished hereunder or in connection with the transactions
        contemplated hereby (including all exhibits and schedules hereto) contains or will contain
        any untrue or misleading statement of fact or omit to state or contain anything necessary to
        make such matter correct, complete and not misleading in all respects and to fairly present
        the information set forth in a manner that is not misleading.




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                                        ARTICLE IV
                                     TITLE AND SURVEY

4.01   Title Report and Policy. Promptly after the Execution Date, Seller will use good faith
       efforts to deliver for Buyer’s review true, correct, and complete copies of all abstracts of
       title to the Land. If the abstracts are not available, Buyer shall promptly order, or shall
       order a title commitment from the Escrow Agent. An abstract for any parcel of Land
       purchased will become the property of Buyer when Buyer pays the Purchase Price in full.
       Seller will pay the cost of any additional abstracting title work due to any act or omission
       of Seller. Buyer may elect to obtain a title insurance policy in lieu of an attorney’s opinion
       at Buyer’s expense. Any objections to the title commitment Buyer identifies will be treated
       in the same manner as title objections in the attorney’s title opinion. Buyer shall have the
       right to object to anything material shown in the abstract (or title commitment) and survey,
       other than matters set forth in (3) through (6) below, by written notice (“Buyer Objection
       Letter”) to Seller with five (5) business days of receipt of both the abstract (or title) and
       survey (the “Unpermitted Exceptions”). Seller shall identify whether or not it is willing or
       capable of correcting within ten (10) business days of receipt of the objection letter. If
       Seller determines not to remove or correct such Unpermitted Exceptions, then Buyer may
       elect upon written notice to Seller made within three (3) Business Days after Buyer’s
       receipt of the Seller objection response: (i) to terminate this Agreement as to that specific
       Facility or Land by written notice to Seller, in which event the Deposit shall be refunded
       to Buyer and neither party shall have any further liability to any other party under
       Agreement, except as otherwise provided in this Agreement; or (ii) to take the Property
       subject to such Unpermitted Exceptions, without adjustment to the Purchase Price, in
       which case such Unpermitted Exceptions shall become Permitted Exceptions. Any
       objection by the Buyer to something material in an abstract or survey shall only apply as a
       right to terminate the Agreement as to the Land subject to such abstract or survey and Buyer
       shall not have the right to terminate the entire Transaction. As used herein, “Permitted
       Exceptions” means: (1) all restrictions, reservations, covenants and easements of record, if
       any, to which Buyer fails to object in its Buyer Objection Letter; (2) all matters disclosed
       on the Survey to which Buyer fails to object in its Buyer Objection Letter; (3) all current
       period Taxes not yet due and payable; (4) any covenants, conditions, or restrictions, or
       applicable Laws or other governmental regulations, governing or limiting the use of the
       property, in each case that are not violated by the existing improvements or the current use
       thereof; (5) any utility or other easements that would qualify under the foregoing clause
       and which further do not underlay any of the existing improvements on the Property; and
       (6) liens created by, through, or under Buyer. Notwithstanding anything to the contrary, all
       monetary liens (other than those set forth in subsections ((3) and (6)) shall be Unpermitted
       Exceptions and shall be removed by Seller, at its sole cost and expense, prior to the Closing.

4.02   Survey. Seller has delivered to or made available for Buyer’s review any surveys of Land
       in its possession. Prior to Closing, Buyer may at its expense obtain a survey of the Land,
       or update an existing survey at Buyer’s expense.


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                                          ARTICLE V
                                          CONDITIONS

5.01     Conditions to Buyer’s Obligations. Buyer’s obligations under this Agreement are
         conditioned upon the following (which Buyer may waive, in whole or in part, in writing):

   (a)    Performance of Covenants. Seller has, in all material respects, timely performed all
          covenants and obligations, and timely complied with all conditions required of Seller by
          this Agreement.

   (b)    Representations and Warranties. All of Seller’s representations and warranties are true,
          complete and correct, in all material respects, on the Execution Date and as of the Closing
          Date as if made at that time (other than the representations and warranties that by their
          terms address matters only as of another specified date, which shall be so true, complete
          and correct, in all material respects, only as of such other specified date), except where
          the failure of such representations and warranties to be true, complete and correct, in all
          material respects, had not had, and would not reasonably be expected to have,
          individually or in the aggregate, a Material Adverse Effect.

   (c)    Closing Documents. At the Closing, Seller will deliver or cause to be delivered each of
          the items required of it as specified in Section 8.02 of this Agreement.

   (d)    Litigation. Following the Execution Date, no notice has been received as to litigation
          commenced or Claim made or threatened against any Person, by any other Person with
          regard to this Agreement, or the transactions provided for in this Agreement that, if
          successfully prosecuted, would have a Material Adverse Effect on Buyer.

   (e)    Sale Approval Motion. Seller shall have filed a motion with the Bankruptcy Court
          seeking entry of the Sale Order, in form and substance satisfactory to Buyer (the “Sale
          Approval Motion”).

   (f)    Bidding Procedures Order. There shall have been entered prior to any Auction, an Order
          of the Bankruptcy Court in the Bankruptcy Case (the "Bidding Procedures Order")
          approving, among other things: (i) in the event of an accepted overbid from a third party
          for the Acquired Assets and the closing of a transaction with respect thereto with such
          third party (a "Third Party Closing"), the payment of the Break-Up Fee to Buyer; (ii) an
          initial minimum overbid for any Auction in the amount of $100,000 plus the Break-Up
          Fee and a $100,000 minimum for additional overbids thereafter; (iii) that the Break-Up
          Fee shall be paid to Buyer from (and at the time of) the proceeds of the Third Party
          Closing, and the claim of Buyer for the Break-Up Fee shall have administrative expense
          priority under section 503(b)(1)(a) of the Bankruptcy Code, in each case, in accordance
          with the terms and conditions of the Bidding Procedures Order; and (iv) that, during any


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        Auction, the Buyer shall receive a credit in connection with each bid in an amount equal
        to the sum of the Break-Up Fee.

  (g)   Auction. If there have been any Qualified Bids (as defined in the Bidding Procedures
        Order), Seller shall have conducted an auction sale (the "Auction") of the Acquired
        Assets in accordance with the Bidding Procedures approved by the Bankruptcy Court in
        the Bidding Procedures Order no later than the Auction (or such later date for which
        notice is provided in the Bidding Procedures Order or as Seller and Buyer may otherwise
        mutually agree), and Buyer's offer shall have been accepted by Seller as the highest or
        best offer for the Acquired Assets at the conclusion of the Auction.

  (h)   Consent. All certifications, consents, waivers, approvals, authorizations, Government
        Authorizations and determinations from and by third parties necessary legally to
        consummate the transactions contemplated herein have been obtained.

  (i)   Title Policy. If applicable, any title insurance policy described in Article IV of this
        Agreement has been issued.

  (j)   Condition of Acquired Assets. Following the Execution Date, there has been no material
        adverse damage to the Facilities.

  (k)   Subsequent Events. Except as set forth on Schedule 3.01(t) and Schedule 3.01(e), no
        action, investigation, Claim or proceeding has been instituted or threatened, or other
        matters occurred, that involve the likelihood of a Material Adverse Effect on the Business
        or the Facilities, and no action, investigation or proceeding has been instituted or
        threatened before any court or Governmental Authority to restrain or prohibit, or to obtain
        substantial damages in respect of, this Agreement, or the consummation of the
        transactions herein contemplated.

  (l)   Other Deliveries. Seller has delivered other items and deliveries relating to the Facilities
        as Buyer reasonably requests.

  (m) Licenses. The Sale Order shall include approval of the Operations Transfer Agreement
      to allow Buyer to operate the Facilities until it has obtained all of the licenses required to
      operate the Facilities from the DOH.

  (n)   Compliance. No Facility shall be Out of Compliance, except as set forth on Schedule
        3.01(t).

  (o)   Material Adverse Effect. There will have occurred following the date hereof no events
        nor will there exist circumstances which singly or in the aggregate have resulted in a
        Material Adverse Effect, provided, however, closure of one facility, including, without
        limitation, loss of license or provider agreement, shall be considered a Material Adverse
        Effect only with respect to that one respective facility and shall not be deemed a Material
        Adverse Effect to the entire Transaction. Such Material Adverse Effect involving a

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           particular facility shall result in a corresponding Purchase Price adjustment in an amount
           equal to the corresponding amount on Schedule 5.01(o).

   (p)     Sale Order. The Bankruptcy Court has entered the Sale Order and as of Closing, such
           Sale Order remains in full force and effect.

5.02     Conditions to Seller’s Obligations. Seller’s obligations under this Agreement are
         conditioned upon the following (which Seller may waive, in whole or in part, in writing):

       (a) Performance of Covenants. Buyer has timely performed all covenants and obligations,
           and timely complied with all conditions this Agreement require of Buyer in all material
           respects, including paying the Purchase Price to Seller.

       (b) Representations and Warranties. All of Buyer’s representations and warranties contained
           herein are true, complete and correct in all material respects on the Execution Date and
           as of the Closing Date, as if made at that time.

       (c) Conveyances. Buyer and Seller have received all third party certifications, covenants,
           waivers, approvals, authorizations, Government Authorizations and determinations
           necessary to legally consummate the transactions contemplated herein.

       (d) Payment of Purchase Price. Buyer has delivered the Purchase Price by wire transfer of
           immediately available funds.

       (e) Other Deliveries. Buyer has delivered other items and deliveries relating to the Facility
           as Seller reasonably requests.

       (f) Sale Order. The Bankruptcy Court has entered the Sale Order and as of Closing, such
           Sale Order remains in full force and effect.

                                           ARTICLE VI
                                          TERMINATION

6.01     Termination. This Agreement may be terminated as follows:

                  (a)    At any time by the mutual written agreement of the Seller and the Buyer;

              (b)     Automatically, upon the consummation of any Acquisition Transaction
between the Seller and a party other than the Buyer;

                (c)     By the Buyer, at its sole election, in the event that the Closing shall not
have occurred prior to 120 days from entry of the Sale Order, subject to change of ownership
approval by the regulatory agencies (the "Outside Date"); provided that the Buyer shall not be
entitled to terminate this Agreement pursuant to this Section 6.01 if the failure of the Closing to
occur on or prior to such date results primarily from the Buyer itself materially breaching any
representation, warranty or covenant contained in this Agreement;
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                (d)     By the Seller, at its sole election, in the event that the Closing shall not
have occurred on or before the Outside Date; provided that the Seller shall not be entitled to
terminate this Agreement pursuant to this Section 6.01(d) if the failure of the Closing to occur
on or prior to such date results primarily from the Seller materially breaching any representation,
warranty or covenant contained in this Agreement;

                (e)     By the Buyer, at its sole election, in the event of a material breach of this
Agreement by the Seller that has not been cured within ten (10) Business Days after written
notice to the Seller, or if any representation or warranty of the Seller shall have become untrue
in any material respect, in either case such that such breach or untruth is incapable of being cured,
by the Outside Date. Buyer shall not have a right to terminate under this section if Buyer is in
material breach or any of its representations and/or warranties are untrue such that satisfaction of
conditions to close under section 5.01 would be prevented;

                (f)    By the Seller, at its sole election, in the event of a material breach of this
Agreement by the Buyer that has not been cured within ten (10) Business Days after written
notice to the Buyer, or if any representation or warranty of the Buyer shall have become untrue
in any material respect, in either case such that such breach or untruth is incapable of being cured,
by the Outside Date. Seller shall not have a right to terminate under this section if Seller is in
material breach or any of its representations and/or warranties are untrue such that satisfaction of
conditions to close under section 5.02 would be prevented;

               (g)     By the Buyer, at its sole election, upon the granting of any motion for relief
from the automatic stay which would have a Material Adverse Effect, the conversion of the Case
to a case under Chapter 7 of the Bankruptcy Code, the dismissal of the Case, the filing of any
plan of reorganization by any party in interest that does not incorporate this Agreement, the filing
of any motion by a party in interest in the Case to liquidate the Acquired Assets or any similar
commencement of liquidation proceedings relating to the Seller, other than as contemplated
herein, which is not dismissed within thirty (30) days, or upon the commencement of any similar
actions or proceedings in or by any foreign court with respect to the Seller, which are not
dismissed within thirty (30) days;

                (h)    By the Buyer, at its sole election, if any of the conditions set forth in
Section 5.01 shall not have been, or the facts and circumstances are such that any of such
conditions cannot be, fulfilled by the Outside Date, unless such failure shall be primarily due to
the failure of Buyer to perform or comply with any of the covenants, agreements or conditions
hereof to be performed or complied with by it prior to the Closing;

                (i)     By the Seller, at its sole election, if any of the conditions set forth in
Section 5.02 shall not have been, or the facts and circumstances are such that any of such
conditions cannot be, fulfilled by the Outside Date, unless such failure shall be primarily due to
the failure of Seller to perform or comply with any of the covenants, agreements or conditions
hereof to be performed or complied with by it prior to the Closing;



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               (j)    By the Buyer, upon entry by the Bankruptcy Court of any Order, or any
other Governmental Authority of any Governmental Order, that is inconsistent in any material
respect with the proposed Sale Order or, upon entry, with the Sale Order;

               (k)    By the Buyer, if there shall be any Law that makes consummation of the
transactions contemplated by this Agreement or any other Transaction Document illegal or
otherwise prohibited;

               (l)    By the Seller, if there shall be any Law that makes consummation of the
transactions contemplated by this Agreement or any other Transaction Document illegal or
otherwise prohibited; or

               (m)    By the Buyer, if any Governmental Authority shall have issued a
Governmental Order restraining or enjoining the transactions contemplated by this Agreement
or any other Transaction Document, and such Governmental Order shall have become final and
non-appealable; or

               (n)    By the Seller, if any Governmental Authority shall have issued a
Governmental Order restraining or enjoining the transactions contemplated by this Agreement
or any other Transaction Document, and such Governmental Order shall have become final and
non-appealable.

6.02 Effect of Termination.

               (a)     In the event of the termination of this Agreement in accordance with
this Article VI, this Agreement shall immediately become void and there shall be no liability
on the part of any party hereto except (a) confidentiality obligations; (b) as set forth in this
Article VI, Section 6.02, Article XII, and Article XIII; (c) any obligations for material breach
of this Agreement occurring prior to such termination; and (d) that nothing herein shall
relieve any party hereto from liability for any willful breach of any provision hereof (which,
for the avoidance of doubt, will be deemed to include any failure by Buyer to consummate
the Closing if and when it is obligated to do so hereunder with no outstanding breach or
unsatisfied closing condition by Seller).

               (b)    Breach by Buyer. In the event of termination of this Agreement pursuant to
Section 6.01(f) due to a breach by Buyer, Sellers shall be entitled to to retain the Deposit as
liquidated damages.

              (c)     Deposit.

                      (i)    In the event of a valid termination of this Agreement pursuant to
              Section 6.01(f) due to a breach by Buyer, Sellers shall be entitled to receive the
              Deposit. In the event of such termination, the Parties shall direct the Escrow Agent
              to pay the Deposit to Sellers. The Sellers’ receipt of the Deposit pursuant to this
              Section 6.02(c) is the only remedy available and will be liquidated damages.

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                      (b)     In the event of termination of this Agreement pursuant to Section
               6.01 (except pursuant to Section 6.01(f)), the Parties shall direct the Escrow Agent
               to promptly return the Deposit to Buyer.


6.03 Procedure Upon Termination. In the event of termination by Buyer or Seller, or both,
pursuant to Section 6.01, notice thereof shall forthwith be given to the other party. If this
Agreement is terminated as provided herein, each party shall redeliver all documents, work papers
and other material of any other party relating to the transactions contemplated by this Agreement,
whether so obtained before or after the execution hereof, to the party furnishing the same as soon
as reasonably practicable following termination.


                            ARTICLE VII
       BANKRUPTCY COURT APPROVAL OF THE “STALKING HORSE” BIDDER

7.01   Motions and Notices Regarding Sale of Assets and Assumption and Assignment of
       Assumed Executory Contracts

   (a) Seller shall seek prompt entry of the Sale Order pursuant to the Sale Motion after
       sufficient notice has been given, which Sale Order shall include, among other things,
       findings of fact and conclusions of law that the Buyer is not a successor-in-interest to
       the Seller or any Affiliate of Seller and that the Buyer is a good faith purchaser pursuant
       to Bankruptcy Code section 363(m).

   (b) The Seller covenants that, to the extent that it has not done so prior to the date of this
       Agreement, they shall promptly serve the third parties who are parties to Assumed
       Executory Contracts (such third parties being "Cure Obligees") with written notice of
       proposed cures on the Assumed Executory Contracts (such notice being the “Cure
       Notice"), which Cure Notice shall be provided to the Buyer within the time periods
       provided by the Bidding Procedures Order. The Cure Notice shall, as set forth in the
       Bidding Procedures Order, establish a deadline reasonably in advance of the Closing
       Date by which Cure Obligees must object to respective proposed cures or be deemed
       to have waived any such objection.

7.02   Requests for Information. From the date of the approval of the Bidding Procedures Order
       (a) if the Seller supplies any information regarding the Business to a potential bidder not
       heretofore given to the Buyer, the Seller shall further provide the Buyer with a copy of such
       information within 24 hours of providing that information to any other potential bidder; and
       (b) with respect to any bid, term sheet, or written expression of interest by any other party
       for any asset or assets of any Seller, or any other reorganization proposal, submitted prior
       to the bid deadline established in the Bidding Procedures Order, the Seller shall provide
       the Buyer with prompt notice of such proposal.

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7.03   Break-Up Fee. If this Agreement is terminated for any reason except pursuant to Section
       6.01(a) or Section 6.01(f), then in consideration of the real and substantial benefits
       conferred by the Buyer upon the Seller's bankruptcy estate by providing a minimum floor
       bid upon which the Seller, its creditors and the other bidders were able to rely and in
       consideration of the time, expense and risks associated with serving as the "Stalking
       Horse" Bidder, including legal fees and expenses, overhead costs, due diligence expenses
       and other similar expenses related to the negotiation and preparation of this Agreement
       and of all related transactional documentation, due diligence and representation, the Seller
       shall pay to the Buyer, at the time of the closing of the sale of the Acquired Assets to the
       successful bidder for the Acquired Assets, solely from the sale proceeds received by the
       Seller from the closing of the Acquisition Transaction, provided that the Buyer is not then
       in material default of its obligations under this Agreement, the Break-Up Fee. The Seller
       and Buyer agree and stipulate that the Buyer has provided a mutual benefit to the Seller's
       estate by increasing the likelihood that the best possible price for the Acquired Assets
       shall be received and that the Break-Up Fee is reasonable and appropriate in light of the
       size and nature of the proposed sale transactions and comparable transactions, the
       commitments that have been made and the efforts that have and shall be expended by the
       Buyer and were necessary to induce the Buyer to pursue the transactions contemplated
       hereby under the terms of this Agreement. The Break-Up Fee also shall serve as liquidated
       damages with respect to any claims the Buyer may have against the Seller in connection
       with the Seller's failure to close the sale of the Acquired Assets to the Buyer as
       contemplated by this Agreement and Buyer shall provide a release to the Seller of any and
       all such claims upon payment of the Break-Up Fee.

7.04   Defense of Orders. The Seller, at its sole cost and expense, shall diligently defend the
       Bidding Procedures Order and the Sale Order in the event that any motion for
       reconsideration or appeal of such Orders is filed.

                                        ARTICLE VIII
                                          CLOSING

8.01   Closing.

        (a) Subject to satisfaction of the terms and conditions of this Agreement, including those
        set forth in Article V, the consummation of the transactions this Agreement contemplate
        (the “Closing”) will occur on a date (the “Closing Date”) not later than the first day of
        the first month after not less than five (5) Business Days after the satisfaction or waiver
        of all conditions in Article V, or on such other date as Buyer and Seller mutually agree;
        provided, however, that the Closing Date shall not be required to occur prior to seventy-
        five (75) days after the entry of the Sale Order, but the Buyer may elect to the Closing at
        any point prior.

        (b) The Closing shall be held at a location and on a date and at a time mutually agreed
        upon by Seller and Buyer, but absent such agreement shall be held at a time and place in
        Des Moines, Iowa, designated by Buyer in writing to Seller, unless mutually agreed-upon
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          that the closing shall occur by mail or electronic mail by delivery of the closing items.
          Notwithstanding the foregoing time and place of Closing, Seller and Buyer may deliver
          all of their respective closing documents required hereunder with respect to the Closing
          on or before the Closing Date (to hold in escrow in accordance with customary
          conveyancing practices subject to the consummation of the Closing) by mail, electronic
          mail, or overnight courier.

8.02    Seller’s Closing Documents. Seller will deliver to Buyer the following documents at
Closing in form and substance acceptable to Buyer:

       (a) Warranty Deed. A general warranty deed conveying to Buyer title to the purchased
           Land and Improvements in fee simple, free and clear of all Liens and Encumbrances,
           except Permitted Encumbrances.

       (b) Bills of Sale. One or more Bills of Sale containing general warranty of title conveying
           to Buyer the purchased Equipment, the Intangible Personal Property, the Records, and
           all components of the Facilities that constitute personalty, free and clear of all Liens and
           Encumbrances.

       (c) Records. Originals of all Records in the possession of Seller; provided, however, that
           Seller shall retain copies of such records as may be necessary to administer Excluded
           Assets and otherwise administer the bankruptcy estate until such time as it can be closed.

       (d) Title Policy. If applicable, the title policy described in Section 4.01 of this Agreement.

       (e) Closing Certificate. A Seller’s closing certificate reaffirming Seller’s representations
           and warranties hereunder.

       (f) Other Documents. Other documents as Buyer reasonably requests to accomplish the
           transactions this Agreement contemplates, or to evidence Seller’s compliance with its
           covenants and agreements in this Agreement.

8.03    Closing Costs. Seller has or will pay (i) the cost of preparing the Warranty Deed, (ii) the
        cost of the title abstract or title insurance provided herein, and (iii) the fees of its counsel.
        Buyer will pay (x) the cost of the Survey, (ii) the cost of any environmental site assessment,
        (y) the per page recording costs associated with recording the warranty deed, and (z) the
        fees of its counsel. All security deposits referenced in any Assumed Lease shall be credited
        to Buyer at Closing. The rent payable under any Assumed Lease shall be prorated as of
        the Closing Date.

8.04    Prorations. The parties agree to the following prorations:

       (a) Accounts Receivable. Except as otherwise set forth in this Agreement, Accounts
           Receivable generated by transactions or business operations occurring prior to the
           Closing Date (or such earlier date as Buyer may assume responsibility for operations
           and costs under a transition services agreement or operations lease) shall remain Seller’s
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             property. Buyer and Seller may arrange for Buyer to collect such Accounts Receivable
             pursuant to the terms of a mutually agreed-upon ancillary agreement

       (b) Accounts Payable. Except as otherwise set forth in this Agreement (including within
           the definition of Assumed Liabilities), Seller will be solely responsible for all accounts
           payable resulting from the ownership and/or operation of the Facilities prior to Closing
           (or such earlier date as Buyer may assume responsibility for operations and costs under
           the Operations Transfer Agreement). Buyer will be solely responsible for all accounts
           payable resulting from the ownership and/or operation of the Facilities after Closing
           Date (or such earlier date under the Operations Transfer Agreement) or the assumption
           of the Assumed Liabilities.

8.05     Adjustments to the Purchase Price. The following adjustments will be made at Closing, as
         of 11:59 p.m. on the day preceding the Closing Date, and will be added to the Purchase
         Price or credited against the Buyer’s payment obligations at Closing, as the case may be.

       (a)   Taxes. Real property Taxes, real and personal ad valorem Taxes, and similar charges
             will be prorated as of the Closing Date in the manner customary for real estate
             transaction in Iowa. Because real property Taxes are paid in arrears, the portion of the
             Taxes allocable to Seller will be credited to Buyer on the closing statement.

       (b)   Special Assessments. Seller will pay in full all improvement lien assessments, if any,
             whether or not due and payable as of the Closing Date. Special assessments, whether
             pending or to become a lien prior to Closing, or payable in installments, or for which a
             change of assessment may be levied on Buyer after Closing, will be credited to Buyer
             in full at Closing.

       (c)   All expenses arising from the conduct of the business of the Facility in the ordinary
             course, including, without limitation trade payables, telephone expenses and utility
             charges attributable to the Facility, including any such items held in escrow (all such
             income and expenses to be referred to herein as the “Prorated Items”), shall be
             apportioned between Seller and Buyer as of the Closing Date, it being the agreement
             of the Parties that Seller shall be entitled to and responsible for all expenses and similar
             obligations arising from the operation of the Facilities prior to the Closing Date and
             Buyer shall be entitled to and responsible for all expenses and similar obligations
             arising from the operation of the Facilities from and after the Closing Date, except, in
             each case, as otherwise expressly set forth herein. All such prorations shall be made
             based on actual days elapsed in the relevant accounting, billing or revenue period.
             Utility charges which are not metered and read for the Closing shall be estimated based
             on prior charges. Based on reasonable estimates, the Parties shall make all prorations
             at the Closing, and all such prorations shall be effectuated through adjustment of the
             Purchase Price at Closing.

       (d)   Seller shall provide Buyer, at least twenty (20) days prior to the Closing Date, a
             schedule setting forth, for each employee, the amount of accrued but unused paid time
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           off (including any accrued sick time) for each employee as of the Closing Date
           (collectively, “Accrued PTO”) and the aggregate value of the Accrued PTO. Seller
           shall provide Buyer on the Closing Date with an updated version of such schedule
           reflecting Accrued PTO amounts (and the value of those amounts) as of the Closing
           Date and provide Buyer with a credit to the Purchase Price in an equal to the Accrued
           PTO. On the Closing Date, Buyer shall assume the Accrued PTO balances with respect
           to the Transferred Employees and Buyer will, thereafter, be responsible for paying the
           Accrued PTO to the Transferred Employees in accordance with the Buyer’s applicable
           policies and procedures.

                                      ARTICLE IX
                                   CASUALTY; RISK OF LOSS


9.01   Casualty. In the event of a casualty causing substantial damage to the Facilities before
       the date of possession, Buyer may (at its option) rescind this Agreement, or may proceed
       to Closing and receive any insurance proceeds associated with such casualty.

9.02   Risk of Loss Generally. Except as otherwise specifically provided above or as otherwise
       agreed by Buyer and Seller in any Ancillary Agreement, risk of loss from the Facilities,
       including by operation of any law that would impose liability relating to ownership of the
       Facilities, will not pass to Buyer until acceptance of the deed.

                                        ARTICLE X
                                  ADDITIONAL COVENANTS

10.01 Cost Reports. Seller will file or cause to be filed all cost reports required to be filed with
      CMS prior to the Closing Date (or such earlier date as Buyer may assume responsibility
      for operations and costs under a transition services agreement or operations lease). Buyer
      will file or cause to be filed all cost reports required to be filed on or after the Closing Date
      (or such earlier date as Buyer may assume responsibility for operations and costs under a
      transition services agreement or operations lease).

10.02 Conduct of Business. From the Execution Date through the Closing Date (or such earlier
      date as Buyer may assume responsibility for operations and costs under a transition services
      agreement or operations lease), Seller will, except as expressly provided herein or as
      otherwise agreed by Buyer and Seller in an Ancillary Agreement, or as the Bankruptcy
      Code prohibits, maintain and conduct its business in the ordinary course of business.

10.03 Employees. Buyer and Seller shall consult in good faith about the status of employment
      of Seller’s employees following the Execution Date and prior to the Closing Date. In the
      absence of any direction from Buyer, prior to or as of the Closing Date, Seller may
      terminate any of Seller’s employees. Seller assumes all obligations under the federal
      WARN Act and any analogous provision of applicable state law with regard to all
      terminated employees, to the extent the WARN Act or such state law applies. Buyer may
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       offer employment to some or all of Seller’s employees, but has no obligation to offer
       employment to any employee of Seller. Buyer has no obligation whatsoever to any person
       whom Seller currently, or has previously, employed unless Buyer employs that person after
       the Closing Date.

10.04 COBRA Coverage. Seller will be responsible for offering and providing any COBRA
      Coverage with respect to any “qualified beneficiary” who is covered by an Employee Plan
      that is a “group health plan” and who experiences a “qualifying event” prior to the Closing
      Date. Buyer will be responsible for offering and providing any COBRA Coverage required
      with respect to any Seller employee (or other qualified beneficiary) hired by Buyer who
      becomes covered by a group health plan sponsored or contributed to by Buyer, and who
      experiences a qualifying event after the Closing Date. For purposes of this Section 8.03(b),
      “qualified beneficiary,” “group health plan,” and “qualifying event” each have the meaning
      set forth in Section 4980B of the Code.

10.05 Employee Information. To the extent not prohibited by applicable law, Seller will provide
      Buyer all information relating to any employee that Buyer may, for potential employment
      purposes, reasonably request, including personnel files, initial employment dates,
      employee health files, licenses, professional certifications, Form I-9, termination dates,
      reemployment dates, hours of service, and compensation and tax withholding history.

10.06 Employee Plans. Seller shall be responsible for providing all information, forms, and other
      administrative assistance and materials required of a plan administrator with respect to all
      Employee Plans for its employees that are terminated in connection with the sale of the
      Acquired Assets.

10.07 Taxes; Expenses. Buyer will pay all Taxes (other than income Taxes) or recording fees
      payable as a result of the sale of the Acquired Assets pursuant to this Agreement or any
      other action contemplated hereby, including fees paid to the Iowa Attorney General, the
      U.S. Attorney General, and any other governmental agency. The parties will cooperate in
      preparing, executing, and filing all returns, questionnaires, applications, and other
      documents regarding Taxes and all transfer, recording, registration and other fees that
      become payable in connection with the transactions that this Agreement contemplates that
      are required or permitted to be filed at or prior to Closing.

10.08 Transfer of Resident Trust Funds and Deposits.

     (a)   Within five (5) Business Days of the Closing Date, Seller shall deliver to Buyer a true,
           correct and complete schedule of all trust funds held by Seller as of the most recent
           date available prior to the Closing Date for any current resident of the Facilities
           (collectively, the “Resident Trust Funds”) and deposits or prepayments paid by or for
           any resident of the Facilities (collectively, the “Resident Deposits”).

     (b)   At the Closing, Seller shall transfer the Resident Trust Funds and Resident Deposits to
           Buyer, and Buyer shall accept, the Resident Trust Funds and Resident Deposits in trust
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           for the residents, in accordance with applicable statutory and regulatory requirements.
           Within ten (10) Business Days after the Closing Date, Seller and Buyer shall prepare a
           final schedule of the Resident Trust Funds and Resident Deposits and thereafter
           reconcile the Resident Trust Funds and Resident Deposits transferred from Seller to
           Buyer.

                                     ARTICLE XI
                           NO SURVIVAL; NO INDEMNIFICATION

The covenants, obligations, representations and warranties of Buyer and Seller contained in this
Agreement, any exhibit or schedule hereto, or any certificate or document delivered pursuant
hereto shall not survive beyond the Closing. Neither party shall have any liability to the other after
Closing for any breach thereof. Buyer agrees that it is purchasing the Acquired Assets as is, where
is. Notwithstanding this provision, the parties may agree to limited survival and related
indemnification rights for obligations that remain uncompleted as of the Closing Date in an
Ancillary Agreement.

                                      ARTICLE XII
                             REMEDIES FOR FAILURE TO CLOSE

12.01 Attorneys’ Fees. In the event either party brings a lawsuit or other proceeding against the
      other party to enforce any provisions of this Agreement or any instrument executed
      pursuant to this Agreement, the prevailing party will be paid all costs and reasonable
      attorney’s fees by the other party, such costs and reasonable attorney’s fees will be included
      in any such judgment. For purposes of this Section 10.02, “prevailing party” means, in the
      case of a Person asserting a claim, the Person is successful in obtaining substantially all of
      the relief sought, and in the case of a Person defending against or responding to a claim,
      the Person is successful in denying substantially all of the relief sought.

12.02 Waiver. No delay in exercising any right or remedy will constitute a waiver thereof, and
      no waiver by Seller or Buyer of the breach of any covenant of this Agreement shall be
      construed as a waiver of any preceding or succeeding breach of the same or any other
      covenant or condition of this Agreement.

                                         ARTICLE XIII
                                        MISCELLANEOUS

13.01 Assignability. Buyer may assign this Agreement in whole or in part and/or designate a
      nominee to take title to all or any part the Facilities or the operations thereof at Closing
      without the consent of Seller, provided that such assignment and/or designation shall only
      be to an Affiliate of Buyer, and provided that Buyer shall remain fully bound by the terms
      and conditions of this Agreement. Any assignment of this Agreement shall be binding
      upon and inure to the benefit of the successor or assignee of Buyer. In the event Buyer
      finds it necessary or is required to provide to a third party a collateral assignment of the
      Buyer’s interest in this Agreement and/or any related documents, Seller shall cooperate
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       with the Buyer and any third party requesting such assignment including but not limited to
       Seller signing a consent and acknowledgment of such assignment.

13.02 Entire Agreement. This Agreement constitutes the entire contract between the parties, and
      may not be modified except by an instrument in writing that both of them sign. All of the
      schedules and exhibits to this Agreement are incorporated by this reference.

13.03 Governing Law. This Agreement will be interpreted, construed, and enforced pursuant to
      the laws of the State of Iowa without giving effect to the choice of law rules thereof.

13.04 Notice. All notices and other communication allowed or required under this Agreement
      will be in writing, and delivered by either hand delivery, overnight courier, or Regular First
      Class U.S. Mail, postage prepaid, and addressed as follows:

        If to Seller:                                 If to Buyer:

        QHC Facilities LLC                            Blue Diamond Equities LLC
        8350 Hickman Road, Suite 15                   PO Box 156
        Clive, IA 50325                               Lakewood, NJ 08701
        Attn: Mark Hidlebaugh, Member                 Attention: Sam Haikins

        With a copy to:
                                                      With a copy to:
        Jeffrey D. Goetz, Esq.
        Bradshaw Fowler Proctor & Fairgrave, Law Office of Jacob Unger
        P.C.                                 5404 Whitsett Ave., Suite 182
        801 Grand Avenue, Suite 3700         Valley Village, CA 91607
        Des Moines, IA 50309-8004            Attn: Jacob Unger

       All notices provided in accordance with this Section delivered by hand or by overnight
       courier will be deemed delivered and received on the delivery date. All notices delivered
       by First Class Mail will be deemed delivered and received four (4) Business Days after
       being placed for delivery with the U.S Postal Service.

13.05 Section Headings; Drafting Party. The headings of this Agreement are for convenience of
      reference only, do not form a part of this Agreement, and do not in any way modify,
      interpret or construe the intentions of the parties. The provisions of this Agreement have
      been examined, negotiated, drafted and revised by counsel for each party, and no
      implication will be drawn against any party by virtue of the drafting of this Agreement.

13.06 Waivers. Any waiver by any party of any violation of, breach of or default under any
      provision of this Agreement or any exhibit, schedule or other document referred to in this
      Agreement by any other party will not be construed as or constitute a waiver of any
      subsequent violation, breach of, or default under that provision or any other provision of
      this Agreement, or any Exhibit, Schedule or other document referred to in this Agreement.
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13.07 Further Assurances. Each of the parties will, at any time and from time to time after the
      Closing, execute and deliver, or cause to be executed and delivered, to the other party or
      their designee, such further consents, approvals, conveyances, assignments and other
      documents and instruments as any party shall reasonably request in order to carry out any
      and all of the terms and provisions of this Agreement.

13.08 Counterparts. This Agreement may be executed in several counterparts and by facsimile
      transmission or email scan, each of which when so executed and delivered will be deemed
      an original, but all of which together shall constitute one and the same instrument.

13.09 Binding Effect. This Agreement will be binding upon and inure to the benefit of the parties
      to this Agreement and their respective successors, heirs, assigns and legal representatives
      Waiver of Jury Trial. BUYER AND SELLER WAIVE TRIAL BY JURY IN ANY
      ACTION, PROCEEDING, CLAIM, OR COUNTERCLAIM, WHETHER IN
      CONTRACT OR TORT, AT LAW OR IN EQUITY, ARISING OUT OF OR IN ANY
      WAY RELATED TO THIS AGREEMENT, OR THE TRANSACTIONS THAT THIS
      AGREEMENT CONTEMPLATES

13.10 Jurisdiction; Venue; Service of Process. Any litigation arising out of or relating to this
      Agreement, or the transactions this Agreement contemplates, will be brought in the
      Bankruptcy Court or a court located in Polk County, Iowa. Seller and Buyer consent to the
      jurisdiction of any such court. The parties each waive personal service of process in any
      litigation arising out of or relating to this Agreement or any transaction this
      Agreement contemplates, and agree that all such service of process may be made in
      the manner set forth for notices in Section 11.04 of this Agreement, and that service
      so made will be deemed completed one (1) day after delivered in compliance with
      Section 11.04 of this Agreement. The parties expressly waive any other requirements
      of notice or personal service that any applicable Law may require.

13.11 Exhibits and Schedules. If any exhibits or schedules are not attached hereto, the parties
      agree to attach such exhibits and schedules as soon as reasonably practicable but in any
      event prior to ten (10) days before the Closing Date. The Parties agree that the Party
      charged with providing an exhibit or schedule to this Agreement shall, to the extent
      necessary after delivery thereof, amend or supplement all exhibits and schedules in order
      for the same to be current, true and correct as of the Closing Date. The inclusion of any
      new schedule or exhibit, or supplement thereto, shall be subject to such party approving
      any new exhibits and schedules or supplements thereto within seven (7) days of submission
      thereof.

                                     ARTICLE XIV
                                 BANKRUPTCY MATTERS

14.01 Sale Order. The Sale Order will provide, inter alia, that pursuant to 11 U.S.C. Sections
      105, 363, and 365: (i) this Agreement and the transactions contemplated hereby are
      approved; (ii) Buyer will have and acquire at the Closing good, valid, marketable title to
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     the Acquired Assets free and clear of all interests, Claims, Encumbrances, or Liens (except
     for Permitted Encumbrances and Assumed Liabilities) to the maximum extend provided
     under 11 U.S.C. Sections 105, 363, and 365; (iii) Seller will assume and assign to Buyer
     all of the Assumed Executory Contracts as of the Closing Date; (iv) the Assumed
     Executory Contracts will be in full force and effect from and after the Closing with non-
     debtor parties being barred and enjoined from asserting against Buyer, inter alia, defaults,
     breaches or claims of pecuniary losses existing as of the Closing or by reason of the
     Closing; (v) Buyer is acquiring the Acquired Assets free and clear of the Excluded
     Liabilities and providing for a full release of Buyer with respect to the Excluded Liabilities;
     (vi) the activities and results of the marketing and auction conducted in connection with
     the sale, if any, are approved; (vii) Buyer will be found to be a good faith purchaser within
     the meaning of 11 U.S.C. Section 363(m); and (viii) the Bankruptcy Court will waive any
     stay that would otherwise be applicable to the immediate effectiveness of the Sale Order
     pursuant to Fed. R. Bankr. P. 6004(h) and 6006(d).



                                [signatures on following page]




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       IN WITNESS WHEREOF, the parties have executed this Agreement effective as of the
date and year first written.

BLUE DIAMOND EQUITIES LLC,
A NEW JERSEY LIMITED LIABILITY COMPANY

__________________________________



By: Sam Haikins



Its: Manager



QHC FACILITIES, LLC



__________________________________



By: ______________________________



Its: ______________________________



QHC MANAGEMENT, LLC



__________________________________



By: ______________________________



Its: ______________________________
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QHC MITCHELLVILLE, LLC



__________________________________



By: ______________________________



Its: ______________________________



QHC WINTERSET NORTH, LLC



__________________________________



By: ______________________________



Its: ______________________________



QHC MADISON SQUARE, LLC



__________________________________



By: ______________________________



Its: ______________________________

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QHC FORT DODGE VILLA, LLC



__________________________________



By: ______________________________



Its: ______________________________



QHC HUMBOLDT NORTH, LLC



__________________________________



By: ______________________________



Its: ______________________________



QHC HUMBOLDT SOUTH, LLC



__________________________________



By: ______________________________



Its: ______________________________

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QHC VILLA COTTAGES, LLC



__________________________________



By: ______________________________



Its: ______________________________



CRESTRIDGE, INC.



__________________________________



By: ______________________________



Its: ______________________________



CRESTVIEW ACRES, INC.



__________________________________



By: ______________________________



Its: ______________________________

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                                         EXHIBITS



Exhibit A:   Facilities

Exhibit B:   Land

Exhibit C:   Purchase Price Allocation
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                                  SCHEDULES

           Schedule 2.01(i)    Assumed Benefit Plans

           Schedule 2.08(a)    Assumed Executory Contracts

           Schedule 2.08(b)    Accrued PTO

           Schedule 3.01(e):   Litigation

           Schedule 3.01(o)    Certificates of Need

           Schedule 3.01(s)    Permits

           Schedule 3.01(t)    Compliance

           Schedule 3.01(u)    Licensed Beds and Current Rate

           Schedule 3.01(y)    Financial Information

           Schedule 3.01(z)    Real Property
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                               EXHIBITS TO APA

                                      EXHIBIT A
FACILITIES

Skilled Nursing:

Crestridge, Inc.
1015 Wesley Dr.
Maquoketa, IA 52060-2637

Crestview Acres, Inc.
1485 Grand Ave
Marion, Iowa 52302-5219

Sunnycrest Nursing Center
401 Crisman St.,
Dysart, IA 52224-9520

Fort Dodge Villa Care Center
2721 10th Ave. North,
Fort Dodge, IA 50501-2834

Humboldt Care Center North
1111 11th Ave N
Humboldt, IA 50548-1225

Humboldt Care Center South
800 13th St S
Humboldt, IA 50548

Mitchell Village Care Center
114 Carter St. SW
Mitchellville, IA 50169-5000

Winterset Care Center North
411 East Lane St.
Winterset, IA 50273-1217

Assisted Living:

Villa Cottages
925 Martin Luther King Dr.
Fort Dodge, IA 50501-2866
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Madison Square Assisted Living
209 W Jefferson St.
Winterset, IA 50273-1676
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                                        EXHIBIT B
                                          LAND
Crestridge, Inc

Property Address: 1015 Wesley Drive, Maquoketa, IA 52060

Legally described as follows:

       The South fourth of the East fourth of the Northwest quarter (NW 1/4) of the
       Southwest quarter (SW 1/4) of Section Twenty-Four (24), Township Eighty-Four
       (84) North, Range Two (2) East of the 5th P.M., Jackson County, Iowa;
       EXCEPTING THEREFROM the West twenty (20) feet thereof;

       AND

       Commencing twenty (20) rods West of the Southeast corner of the West half
       (W1/2) of the Northeast quarter (NE1/4) of the Southwest quarter (SW 1/4) of
       Section twenty-four (24), Township eighty-four (84) North, Range two (2) East of
       the 5th P.M., Jackson County, Iowa; thence West twenty (20) rods to the
       Southwest corner of the Northeast quarter (NE 1/4) of said Southwest quarter
       (SW 1/4) of said Section twenty-four (24); thence North twenty (20) rods; thence
       East twenty (20) rods more or less to West line of land heretofore conveyed to
       Leonard Seaver to Williams P. Thomas; thence South twenty (20) rods to the
       place of beginning; EXCEPTING THEREFROM Lots one (1), two (2), three (3),
       and four (4) according to survey by J. G. Thorne dated July 23, 1966, and
       recorded in Plat Book 1 Page 143, Office of the Recorder of Jackson County,
       Iowa, together with any interest in the street along the East side thereof;

       AND

       Beginning on the West line of Western Avenue in the City of Maquoketa, Jackson
       County, Iowa, nine hundred ninety (990) feet South of the point of intersection of
       the centerline of West Platt Street and the West line of said Western Avenue;
       thence West one hundred twenty (120) feet to the point of commencement; thence
       West four hundred ninety (490) feet; thence North ten (10) feet; thence East four
       hundred ninety (490) feet; thence South ten (10) feet to the point of
       commencement, all in the North half (N1/2) of the Southwest quarter (SW 1/4) of
       Section twenty-four (24), Township eighty-four (84) north, Range two (2) East of
       the 5th P.M. in the City of Maquoketa, Jackson County, Iowa
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Crestview Acres, Inc.

Property Address: 1485 Grand Ave, Marion Iowa 52302-5219

Legally described as follows:

       South 417 feet of North 457 feet of West 417 feet of East 447 feet of Lot 1,
       “auditor’s Plat No. 202, Linn County, Iowa.

Crestview Acres, Inc. dba Sunnycrest Nursing Center

Property Address: 401 Crisman St., Dysart, IA 52224-9520

Legally described as follows:

       Lots Ten (10), Eleven (11) and Twelve (12), Block Seventeen (17) Dysart, Iowa.

QHC Fort Dodge Villa LLC dba Fort Dodge Villa Care Center

Property Address: 2721 10th Ave. North, Fort Dodge, IA 50501-2834

Legally described as follows:

       A tract of land located in the NE ¼ of the NW ¼ of Section 21-89-28 West of the
       5th P.M., City of Fort Dodge, Webster County, Iowa, more particularly described
       as follows: Commencing at the Northeast corner of the said NW ¼; thence
       N89°33’00”W 198 feet along the North line of the said NW ¼; thence
       S00°00’00”W 33.00 feet to the South right of way line of 10th Avenue North, to
       the point of beginning; thence continuing S00°00’00”W 481.01 feet; thence
       N89°33’00”W 423.51 feet to a point on the East right of way line of North 27th
       Street; thence N00°02’00”E 481.00 feet along the said East right of way line to a
       point on the South right of way line of 10th Avenue North; thence S89°33’00”E
       423.24 feet along the said South right of way line to the point of beginning,
       containing 4.67 acres.

QHC Villa Cottages, LLC dba Villa Cottages

Property Address: 925 Martin Luther King Dr., Fort Dodge, IA 50501-2866

Legally described as follows:

       A tract of land located in the NE 1/4 of the NW 1/4 of Section 21-89-28 West of
       the 5th P.M., City of Fort Dodge, Webster County, Iowa, more particularly
       described as follows: Commencing at the Northeast corner of the said NW 1/4;
       thence N89°33'00"W 198.00 feet along the North line of the said NW 1/4;
       thence S00°00'00"W 514.01 feet to the point of beginning; thence continuing
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       S00°00'00"W 46.85 feet to a point 116.00 feet normally distant northwesterly
       from the centerline of the Chicago & Northwestern Railway right of way;
       thence S50°27'00"W 549.54 feet along a line parallel with the said Railroad
       centerline to a point on the East right of way line of North 27th Street; thence
       N00°02'00"E 400.10 feet along the said East right of way line; thence
       S89°33'00"E 423.51 feet to the point of beginning, containing 2.17 acres,

       AND

       Part of the vacated North 24th Street located in the NE1/4 of the NW 1/4 of
       Section 21-89-28 West of the 5th P.M., City of Fort Dodge, Webster County,
       Iowa, more particularly described as follows: Commencing at the North Quarter
       corner of the said Section 21 (said North Quarter corner also being the Northeast
       corner of said NE 1/4 of the NW 1/4); thence S00°00'00"W 33.00 feet along the
       East line of the said NE 1/4 of the NW 1/4 to the South right of way line of 10th
       Avenue North; thence N89°33'00"W 198.00 feet along the South right of way
       line; thence S00°00'00"W 527.86 feet to a point on the Northerly right of way line
       of vacated 24th Avenue North being the point of beginning; thence
       S50°26'20"W 549.54 feet along the said northerly right of way line to a point on
       the East right of way line of North 27th Street; thence S00°02'00"W 85.66 feet
       along the said East right of way line of North 27th Street to a point on the
       northerly railroad right of way line; thence N50°26'20"E 549.61 feet along the
       said Northerly railroad right of way line; thence N00°00'00"E 85.61 feet to the
       point of beginning

QHC Humboldt North, LLC dba Humboldt Care Center North

Property Address: 1111 11th Avenue North, Humboldt, IA 50548-1225

Legally described as follows:

       Parcel One:

       All of Lot One (1) and the East Seventeen and one-half (17 ½) feet of Lot Two (2)
       of Block Thirty-Seven (37), Second College Addition, City of Humboldt,
       Humboldt County, Iowa.

       Parcel Two:

       All of Block Thirty-Six (36) and all of Tilleston Street (vacated) (now Twelfth
       Street North) between Blocks 36 and 37, all being in Second College Addition to
       the Town, now City, of Humboldt, Humboldt County, Iowa. (Sec. 36-92-29)

QHC Humboldt South, LLC dba Humboldt Care Center South

Property Address: 800 13th Street South, Humboldt, Iowa 50548-2439
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Legally described as follows:

       A tract of land in the Southeast one-quarter (SE ¼) of the Northeast One-Quarter
       (NE ¼) of Section Eleven (11), Township Ninety-One (91) North, Range Twenty-
       Nine (29), and more particularly described as follows: Beginning at the Northeast
       Corner of said Southeast One-Quarter (SE ¼) of the Northeast One-Quarter (NE
       ¼), said point being1300.17 feet South of the Northeast Corner of Section Eleven
       (11), thence South 417.4 feet along East line of Section Eleven (11), thence South
       88 degrees 40’ 30” West 467.4 feet, thence North 417.4 feet to Point on the North
       Line of said Southeast One-Quarter (SE ¼) of the Northeast One-Quarter (NE ¼);
       thence North 88 degrees 40’ 30” East 467.4 feet along said North line to Point of
       Beginning, except the North Thirty-Three (33) feet of North Edge and except that
       part conveyed to the State of Iowa by Warranty Deed recorded in Book 260, Page
       276, and more particularly described as follows: Commencing at the E ¼ corner
       of said Sec. 11; thence N00°07’29”E, 883.35 ft. along the East line of the NE ¼
       said Sec. 11 to the SE corner of said tract; thence continuing along said line
       N00°07’29”E, 384.34 ft.; thence S88°48’50”W, 65.02 ft.; thence S00°07’29”W,
       204.40 ft; thence S07°14’59”W, 120.93 ft.; thence S00°07’29”W, 60.30 ft. to a
       point on the South line of said tract; thence N88°48’09”E, 80.02 ft. along said line
       to the Point of Beginning; containing 0.61 acre, more or less, including 0.44 acre,
       more or less, in existing right of way.

QHC Madison Square, LLC dba Madison Square

Property Address: 209 W. Jefferson St., Winterset, IA 50273-1676

Legally described as follows:

       Units #101, #102, #103, #104, #106, #107, #108, #201, #202, #203, #204, #205,
       #206, #208, #301, #302, #303, #304, #305, #306, #307, and #308 of Jefferson
       Place in the City of Winterset, Madison County, Iowa, and an undivided interest
       in the common elements and areas of Jefferson Place, as shown in the Declaration
       of Condominium of Jefferson Place filed for record on April 14, 1995 in Town
       Lot Deed Record 60 at page 159 in the Madison County Recorder’s Office (and
       any supplements and amendments thereto).

       AND

       Unit #207 of Jefferson Place in the City of Winterset, Madison County, Iowa, and
       an undivided interest in the common elements and areas of Jefferson Place as
       shown in the Declaration of Condominium of Jefferson Place filed for record on
       April 14, 1995 in Town Lot Deed Record 60 at page 159 in the Madison County
       Recorder’s Office (and any supplements and amendments thereto).
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QHC Mitchellville, LLC dba Mitchell Village Care Center

Property Address: 114 Carter St. SW, Mitchellville, IA 50169-5000

Legally described as follows:

       All of Block 6, (except the East 165 feet and except the South 140 feet and except
       the West 126.33 feet) in Sage’s Addition to Mitchellville, Polk County, Iowa.

QHC Winterset North, LLC dba Winterset Care Center North

Property Address: 411 East Lane St., Winterset, IA 50273-1217

Legally described as follows:

A tract of land located in the Northwest Fractional Quarter (1/4) of the Northwest
Fractional Quarter (1/4) of Section Thirty-one (31) in Township Seventy-s9x (76) North,
Range Twenty-seven (27) West of the 5th P.M., City of Winterset, Madison County,
Iowa, more particularly described as follows, to-wit: Commencing at the Southwest
corner of the Northwest Fractional Quarter (1/4) of the Northwest Fractional Quarter
(1/4) of said Section Thirty-one (31), thence South 88°37’ East, 935.1 feet along the
South line of said Northwest Fractional Quarter (1/4) of the Northwest Fractional Quarter
(1/4) to the point of beginning, thence continuing South 88°37’ East, 347.2 feet, thence
North 506.5 feet, thence North 88° 37’ West, 347.2 feet, thence South 506.5 feet to the
point of beginning, containing 4.0359 acres.
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                                    EXHIBIT C
                           PURCHASE PRICE ALLOCATION




Asset                             Beds            PPB            Allocated Price
Crestridge Care Center                 75      $16,511.67             $1,238,375.40
Crestview Acres                       100      $8,806.23                $880,622.51
Fort Dodge Villa Care Center          107      $15,410.89             $1,648,965.65
Humboldt Care Center North             90      $17,612.45             $1,585,120.52
Humboldt Care Center South             40      $11,007.78               $440,311.26
Madison Square                         42      $44,031.13             $1,849,307.27
Mitchell Village Care Center           65      $15,410.89             $1,001,708.10
Sunnycrest Nursing Center              50      $16,511.67               $825,583.61
Winterset Care Center North            75      $18,713.23             $1,403,492.12
Villa Cottages                         20      $36,325.68               $726,513.56
Total                                 664                            $11,600,000.00
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                                     Section 2.01(i)

                              Employment Benefit Plans


  1. QHC Salaried and Hourly Employees’ Nationwide 401(k) Plan.

  2. QHC Salaried and Hourly Employees Medical Plan, provided by Wellmark (Group
     #52500).

  3. QHC Salaried and Hourly Employees Dental Plan, provided by Guardian Life Insurance
     CO. (Group #00379980).

  4. QHC Salaried and Hourly Employees Vision Plan, provided by Guardian Life Insurance
     Co (Group #00379980).
  5. QHC Salaried and Hourly Employees Basic Life and Accidental Death &
     Dismemberment Plan, provided by Guardian Life Insurance Co (Group #00379980).
  6. QHC Salaried and Hourly Employees Short-Term and Long-Term Disability Plan,
     provided by Aflac, (only for employees who wish to purchase)
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                                                        Schedule 2.08(a)

                                                    Executory Contracts

                                                    QHC Facilities, LLC

                                                Contract                                                               Cure Costs1
1.     Bancleo Equipment Finance Lease Agreement for Q Copiers                                                 $0


2.     Subscription Services Agreement with Wescom Solution Inc. dba                                           $221.50
       Pointclickcare Technologies

3.     QHC Facilities, LLC 401K Plan                                                                           $0


4.     QHC Salaried and Hourly Employees Medical Plan, provided                                                $0
       by Wellmark (Group #52500).

5.     Contract with Aureon Technology                                                                         $18,574.32

6.     Software Solutions Contract ABILITY NETWORK INC.                                                        $3,644.67

7.     Contract with Chrysler Capital                                                                          $1,196.01


8.     Services Contract with WEBSPEC
                                                                                                               $360.00



                                                QHC Management, LLC

                                                Contract                                                              Cure Costs2




1
 Amount reflects the value of each Cure Cost as of the Agreement Date. Such amounts are subject to change prior to Closing in accordance
with Section 1.03(b) of the Agreement as a result of Buyer’s ongoing negotiations with creditors of Seller. All Medicare Provider Agreement
Cure Amounts are being negotiated with the government and the Debtors will be seeking waiver of penalties.
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1.    Contract with Aureon Technology for 5-Dell Latitude          $529.40
      5411 Laptop, 8-Dell OptiPlex 3080 Micro Form Factor
      Desktop, 8 VESA Mount with Adaptor Box

2.    Agreement for Computer Equipment with Great America          $1,110.84
      Financial Services

3.    Lease Agreement for office space located at 8350             $281.32
      Hickman Rd, Clive, IA with Schoenauer Property
4.    Management                                                   $729.99
      Rental Agreement for storage units A-42, 148, A-67 and
      168 with TKG Iowa Storage
5.    Salaried and Hourly Employees Dental Plan, provided by
      Guardian Life Insurance CO. (Group #00379980).               $0

6.    QHC Salaried and Hourly Employees Vision Plan, provided by
      Guardian Life Insurance Co (Group #00379980).                $0
7.    QHC Salaried and Hourly Employees Basic Life and
      Accidental Death & Dismemberment Plan, provided by           $0
      Guardian Life Insurance Co (Group #00379980).
8.    Technology Services Contract with Marco, Inc. (Marco
      Technologies)                                                $136.01

9.    Services Contract with Verizon Wireless
                                                                   $80.32

10.   Services Contract with QUADIENT FINANCE USA
      INC                                                          $0

11.   Services Contract with Mediacom
                                                                   $0

12.   Software Services Contract with Sage Group PLC
                                                                   $541.84

13.   All Resident Admission Agreements
                                                                   $0

14.   Utilities Contract with Midamerican Energy
                                                                   $282.55

                                Crestridge, Inc.
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                              Contract                                 Cure Costs
1.    Staffing Agreement for Nursing Facility Hospice and         $0
      Respite Care Services with Amenity Healthcare

2.    Agreement for Fire Protection Services and Products with    $3,859.73
      Johnson Controls Fire Protection LP

3.    Nursing Facility Hospice and Respite Care Services          $1,055.57
      Agreement with Mercy Medical Center-Clinton

4.    Lease Agreement for Sharp MX-3070V System and Sharp         $3,075.64
      MX-B355W System with Midwest Business Products

5.    Staffing Agreement with PRN Staffing, Inc.                  $0

6.    Agreement with RHA Service, Inc. for Manitowoc CNF-
      2501A-161 Countertop Nugget Machine                         $487.82
7.    Consulting Dietitian Agreement with Saundra Meanor, RD,
      LD                                                          $0

8.    Subscription Service Agreement with Wescom Solutions, dba
      Pointclickcare Technologies, Inc.                           $2,947.74

9.    Rehabilitation Services Agreement with Millennium Rehab &
      Consulting, Inc.
                                                                  $136,785.98

10.   Lease Agreement with GREAT AMERICA FINANCIAL
      SERVICES                                                    $624.71

11.   Staffing Agreement with Helping Hand Nursing
      Solutions Inc.                                              $0

12.   CENTURYLINK COMMUNICATIONS, LLC
                                                                  $754.33

13.   Services Agreement with Mediacom                            $0


14.   Contract with National Access Long Distance
                                                                  $0
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15.   Services Agreement with Windstream
                                                                 $75.33

16.   Mobile Imaging Services Agreement with BTX Iowa

                                                                 $386.48
17.   Contract with AUREON TECHNOLOGIY
                                                                 $544.50
18.   Equipment Rental Agreement #21-00147 with the Dexter
      Company dba Century Laundry Distributing                   $998.70
19.   Equipment Rental Agreement #21-00139 with the Dexter
      Company dba Century Laundry Distributing
20.   All Resident Admission Agreements
                                                                 $0

21.   All Secure Standard Fire Alarm Inspection and Service
      Agreement                                                  $0

22.   Shred-it Contract
                                                                 $0

23.   Osterhaus Pharmacy Agreement
                                                                 $0

24.   Contract with RNL Services LLC for Sprinkler Systems
                                                                 $0

25.   Telligen Health Management Agreement
                                                                 $0

26.   Hospice Agreement with Hospice of Jackson County
                                                                 $0

27.   Hospice Agreement with Genesis Health System dba Genesis
      Hospice                                                    $0

28.   Hospice Agreement with Above and Beyond Hospice Care

                                                                 $0
29.   Under Arrangement Agreement with University of Iowa
      Hospitals and Clinics                                      $0
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30.   Presto X Pest Management Agreement
                                                               $0

31.   Dental Services Agreement with Senior Dental Care
                                                               $0

32.   Dialysis Provider Agreement with FMC Maquoketa
                                                               $0

33.   Dietitian Agreement with Keri Schwenker, RD
                                                               $0

34.   Wound Care Concepts Inc, Business Associate Agreement
                                                               $0

35.   Utilities Contract with Black Hills Energy
                                                               $0

36.   Utilities Contract with the City of Maquoketa
                                                               $0

37.   Utilities Contract with Maquoketa Municipal Electric
                                                               $0

38.   Martin Bros Distributing Contract
                                                               $22,647.18

39.   Presto-X-Company Pest Management Agreement
                                                               $1,878.88

40.   Staffing Agreement with Medical Staffing Network
                                                               $14,660.89

41.   Medicaid Provider Agreement, #0806406
                                                               $32,182.17


                                FORT DODGE VILLA

                              Contract                              Cure Costs
1.    Staffing Agreement for Nursing Facility Hospice and      $0
      Respite Care Services with Amenity Healthcare
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2.    Staffing Agreement with Adventure Staffing & Prof Svcs.   $11,621.09


3.    Mobile Imaging Services Agreement with BTX Iowa           $392.58


4.    Staffing Agreement with CBS Staffing LLC                  $2,024.96


5.    Staffing Agreement with Favorite Healthcare Staffing      $0

6.    Staffing Agreement with Healthcare Resolutions            $0

7.    Staffing Agreement with Helping Hands Nursing Solutions   $16,769.89


8.    Staffing Agreement with Nursepro Staffing Agency, Inc,    $215,697.26
      (Aerofund Financial)


10.   Staffing Agreement with Solidcare Staffing
                                                                $0


11.   Staffing Agreement with TNN Iowa Inc,                     $0


12.   Staffing Agreement with Tri-State Nursing
                                                                $214,816.12

13.   Subscription Services Agreement with Wescom               $4,205.46
      Solutions, Inc, dba Pointclickcare Technologies, Inc.

14.   Rehabilitation Services Agreement with Millennium
      Rehab & Consulting, Inc.                                  $207,391.55

15.   Lease Agreement with GREAT AMERICA
      FINANCIAL SERVICES                                        $564.32

16.   Nutritional Consulting Services Contract with Kristi
      Zwiefel, RD, LD                                           $0
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17.   Serenity Aviary Service Agreement with Adams
      Specialty Products, LLC
                                                             $926.62
18.   Services Agreement with Mediacom
                                                             $1,521.67

19.   Equipment Lease Agreement with Access Systems
                                                             $1640.33

20.   Contract Agreement with Aureon Technology              $896.20


21.   Equipment Rental Agreement #21-00153 with The          $959.90
      Dexter Company dba Century Laundry Distributing
22.   Equipment Rental Agreement #21-00181 with The
      Dexter Company dba Century Laundry Distributing
23.   All Resident Admission Agreements
                                                             $0

24.   Medical Director Agreement with Iowa Physicians
      Clinic, dba Unity Point                                $0

25.   Growmark FS Agreement for Propane

                                                             $0
26.   Pharmerica Consultant Agreement
                                                             $11,360.87

27.   Shred-it
                                                             $0

28.   Staffing Agreement with AbiraCare LLC
                                                             $0

29.   Physicians Agreement with Dr. Randall Minion, MD
                                                             $0

30.   Renal Center of Fort Dodge Transfer Agreement
                                                             $0

31.   Staffing Agreement with Signature Healthcare LLC
                                                             $527.00
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32.   Agreement with Iowa Hospice, LLC dba Kindred
      Hospice                                                 $0

33.   Ancillary Services Agreement with Mayo Clinic
                                                              $0

34.   Service Contract with Fort Dodge Water Dept.
                                                              $0

35.   Utilities Contract with Midamerican Energy
                                                              $5,463.18

36.   Ecolab Pest Elimination Division Pest Control
      Agreement                                               $1,279.26

37.   Martin Bros Distributing Contract
                                                              $36,144.66

38.   Staffing Agreement with Progress Healthcare Staffing
                                                              $0

39.   Medicare Provider Agreement #165265
                                                              $689,916.00



                                HUMBOLDT NORTH

                              Contract                             Cure Costs
1.    Staffing Agreement with Abiracare LLC                   $38,853.10


2.    Firewall Management Service Agreement with Aureon       $1,156.10
      Communications, LLC

3.    Staffing Agreement with Aventure Staffing               $434.54


4.    Equipment Rental Agreement #21-00148 with The Dexter    $688.47
      Company dba Century Laundry Distributing
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5.    Nursing Home Medical Director Agreement with Dr.               $0
      Sharmini Surlar

6.    Staffing Agreement with TNN Iowa Inc,
                                                                     $0

7.    Staffing Agreement with Accessible Medical
                                                                     $0

8.    Staffing Agreement with Healthcare Resolutions
                                                                     $0

9.    Staffing Agreement with Helping Hands Nursing Solutions
                                                                     $92,465.54
10.   Nursing Home Medical Director Agreement with Iowa
      Physicians Clinic Medical Foundation dba Unity Point Clinic    $0

11.   Nursing Facility Hospice and Respite Care Services with Iowa
      Hospice dba Kindred Hospice                                    $0


12.   Lease Agreement with Marco Technologies for a Konica
      Bizhub                                                         $0

13.   Rehabilitation Services Agreement with Millennium Rehab &
      Consulting, Inc.                                               $196,236.56

14.   Pharmerica Consultant Agreement
                                                                     $22,554.09

15.   Nursing Facility Hospice and Respite Care Services with St.
      Croix Hospice LLC                                              $0

16.   Staffing Agreement with Tristate Nursing
                                                                     $2,360.08

17.   Subscription Service Agreement with Wescom Solutions Inc.
      dba Pointclickcare Technologies                                $3,537.32

18.   Consulting Dietitian Agreement with Saundra Meanor, RD, LD
                                                                     $0
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19.   DE LAGE LANDEN FINANCIAL SERVICES Agreement
                                                                 $1,670.50

20.   Lease Agreement with GREAT AMERICA FINANCIAL
      SERVICES                                                   $352.84

21.   Staffing Agreement with Nursepro Staffing Agency, Inc
      (Aerofund Financial)                                       $83,162.16

22.   Service Agreement with CENTURYLINK
      COMMUNICATIONS, LLC                                        $531.45

23.   Internet Services Agreement with GOLDFIELD ACCESS
      NETWORK                                                    $0

24.   Contract Agreement with Aureon Technology
                                                                 $1,156.10

25.   Aviary Contract Agreement with Living Design
                                                                 $376.30

26.   Staffing Agreement with Signature Healthcare LLC
                                                                 $0

27.   Storage Agreement with Carlson Storage
                                                                 $0

28.   All Resident Admission Agreements
                                                                 $0

29.   Postage Meter Agreement with Copy Systems, Inc.
                                                                 $0

30.   Pharmerica Consultant Agreement
                                                                 $0

31.   Shred-it Contract
                                                                 $0

32.   Hospice Care Agreement with Iowa Hospice dba Gentiva
                                                                 $0
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33.   Transportation Services with Midas Counsel of Governments
                                                                   $0

34.   Hospice Agreement with Unity Point At Home dba Unity Point
      Hospice                                                      $0

35.   Telligen Health Management Agreement
                                                                   $0

36.   Dental Services Agreement with Senior Dental Care
                                                                   $0

37.   Dietitian Agreement with Sandra Meanor
                                                                   $0

38.   Goldfield Communications Services Agreement for CTV
      Services                                                     $0

39.   Rehabilitation Services Agreement Humboldt County
      Memorial Hospital                                            $0

40.   Martin Bros Distributing Contract
                                                                   $15,942.94

41.   Contract with Pepsi Beverages Company
                                                                   $0

42.   Contract with RNL Services LLC for Sprinkler Systems
                                                                   $0

43.   Telligen Health Management Agreement
                                                                   $0

44.   Work Agreement with West Fork Services Inc
                                                                   $0

45.   Utilities Contract with Midamerican Energy
                                                                   $6,218.83

46.   Utilities Contract with the City of Humboldt
                                                                   $0
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47.   Ecolab Pest Elimination Division Pest Control Agreement
                                                                     $1,928.61

48.   Transfer Agreement with Trinity Regional Medical Center
                                                                     $0

49.   Medicare Provider Agreement #165533
                                                                     $17,500.00



                                HUMBOLDT SOUTH

                             Contract                                     Cure Costs
1.    Staffing Agreement with Abiracare LLC                          $0


2.    Firewall Management Service Agreement with Aureon
      Communications, LLC                                            $563.20

3.    Staffing Agreement with Aventure Staffing
                                                                     $10,125.36

4.    Staffing Agreement with Nursepro Staffing (Aerofund
      Financial)                                                     $83,162.16

5.    Staffing Agreement with Putman Inc dba A-1 Careers             $0

6.    Staffing Agreement with Healthcare Resolutions                 $0

7.    Staffing Agreement with Helping Hands Nursing Solutions
                                                                     $22,663.16

8.    Nursing Home Medical Director Agreement with Iowa Physicians
      Clinic Medical Foundation dba Unity Point Clinic             $0
9.    Nursing Facility Hospice and Respite Care Services with Iowa
      Hospice dba Kindred Hospice                                    $0

10.   Lease Agreement with Marco Technologies for a Konica
      Bizhub                                                         $1,468.68
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11.   Rehabilitation Services Agreement with Millennium Rehab &
      Consulting, Inc.                                            $130,837.15

12.   Staffing Agreement with Progress Healthcare Staffing
                                                                  $0

13.   Nursing Facility Hospice and Respite Care Services with
      St. Croix Hospice LLC                                       $0

14.   Staffing Agreement with Tristate Nursing                    $0


15.   Subscription Service Agreement with Wescom Solutions
      Inc. dba Pointclickcare Technologies                        $1,572.12

16.   Nursing Facility Hospice and Respite Care Services with
      Unity Point Hospice                                         $5,548.60

17.   Consulting Dietitian Agreement with Saundra Meanor,
      RD, LD                                                      $0

18.   Lease Agreement with GREAT AMERICA
      FINANCIAL SERVICES                                          $238.69

19.   Services Agreement with CENTURYLINK
      COMMUNICATIONS, LLC                                         $534.30

20.   Services Agreement with Mediacom
                                                                  $737.03

21.   Services Agreement with NATIONAL ACCESS LONG
      DISTANCE                                                    $11.61

22.   Aviary Contract Agreement with Living Design
                                                                  $358.68

23.   Pharmerica Consultant Agreement
                                                                  $1,283.19

24.   Storage Agreement with Carlson Storage
                                                                  $0
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25.   Equipment Rental Agreement #21-00133 with The
      Dexter Company dba Century Laundry Distributing            $399.83

26.   All Resident Admission Agreements
                                                                 $0

27.   Pharmerica Consultant Agreement                            $0


28.   Shred-it Contract
                                                                 $0

29.   Transportation Services with Midas Counsel of
      Governments                                                $0

30.   Senior Dental Care of Iowa LLC Contract
                                                                 $0

31.   Nursing Home Medical Director Agreement with Dr.
      Sharmini Surlar                                            $0

32.   Telligen Health Management
                                                                 $0

33.   Hospice Contract with Heartland Healthcare, Inc dba
      Gateway Hospice                                            $0

34.   Staffing Agreement with SolidCare Staffing
                                                                 $0

35.   In Patient Care and Hospice Services Agreement with
      Iowa Hospice, LLC dba Kindred Hospice                      $0

36.   Transfer Agreement with Trinity Regional Medical
      Center                                                     $0

37.   Transportation Services with Midas Counsel of
      Governments                                                $0

38.   Hospice Services Agreement with Iowa Hospice, LLC
      dba Gentiva                                                $0
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39.   Martin Bros Distributing Contract
                                                                    $9,969.00

40.   RNL Services Automatic Fire Systems Agreement
                                                                    $0

41.   Telligen Health Management Agreement
                                                                    $0

42.   Utilities Contract with Midamerican Energy
                                                                    $3,300.46

43.   Utilities Contract with the City of Humboldt
                                                                    $0

45.   Ecolab Pest Elimination Division Pest Control
      Agreement                                                     $426.87

46.   Medicare Provider Agreement #165534
                                                                    $47,225.61



                                CRESTVIEW ACRES

                              Contract                                   Cure Costs
1.    Staffing Agreement for SunnyCrest Nursing Center with
      AbiraCare LLC                                                 $0

2.    Staffing Agreement for Nursing Facility Hospice and Respite
      Care Services with Amenity Healthcare                         $0

3.    Consulting Dietitian Agreement for Crestview Acres, Inc.
      and SunnyCrest Nursing Center with Sharon Broome              $2,444.00

4.    Pharmacy Services Agreement with Carepro Home Infusion
                                                                    $567.60

5.    Comprehensive Care program, 3-Dexter C Series,
      Washer/Extractor and 4-Dexter Micro Dryer with                $392.24
      Century Contract Services, Inc,
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6.    1 Dexter C Series Washer/Extractor and 1 for T600 for
      Sunnycrest with Century Contract Services, Inc.           $0


7.    Nursing Facility Hospice and Respite Care Services with
      Essene of Life Hospice                                    $0

8.    Crestview Acres Rehabilitation Services Agreement with
      Millennium Rehab & Consulting, Inc.                       $241.52

9.    Staffing Agreement for SunnyCrest Nursing Center with
      Healthcare Resolutions                                    $15,846.00

10.   Lease Agreement with GREAT AMERICA FINANCIAL
      SERVICES                                                  $1,526.62

11.   Medical Director Agreement with MercyOne
                                                                $7,300.00


12.   Staffing Agreement with Putnam Inc, dba A-1 Careers
                                                                $0

13.   Unity Point Hospice Services Agreement
                                                                $0

14.   Wound Care Concepts Inc, Business Associate
      Agreement                                                 $0

15.   Stericycle Biohazard Service Agreement
                                                                $0

16.   RCR Enterprises LLC, dba Right At Home Services
      Agreement                                                 $0

17.   Consulting Dietitian Agreement with Donna Pietz
                                                                $0

18.   Consulting Dietitian Agreement with Brian Scheil
                                                                $0

19.   All Heart Inc, Staffing Agreement
                                                                $0
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20.   CBS Staffing, LLC, Staffing Agreement
                                                              $0

21.   BTX X-Ray Services Agreement
                                                              $0

22.   Senior Dental Care of Iowa LLC Contract
                                                              $0

23.   Consulting Dietitian Agreement with Joyce Sankey
                                                              $0

24.   Above and Beyond Hospice Care Services Agreement
                                                              $0

25.   Consulting Dietitian Agreement with Deborah Mckay
                                                              $0

26.   Hawkeye State Scale Services Agreement
                                                              $0

27.   Pharmacy Consultation Services with William Burke
      Limited, dba Main Health Care Extended Care Pharmacy    $0

28.   Mediacom Services Agreement
                                                              $0

29.   PRN Staffing Inc. Staffing Agreement
                                                              $0

30.   RNL Services, LLC Contract
                                                              $0

31.   University of Iowa Hospitals and Clinics Out-Patient
      Services Agreement                                      $0

32.   Contract with Aureon Technology
                                                              $1,182.20

33.   Subscription Services Agreement with Wescom
      Solutions, Inc, Pointclickcare Technologies             $5,895.52
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34.    Services Contract with Mediacom
                                                                      $3,329.63

35.    Services Agreement with Linco Water Services
                                                                      $267.50

36.    Services Agreement with Centurylink Communications,
       LLC                                                            $1,247.79

37.    Mobile Imaging Services Agreement with BTX Iowa
                                                                      $363.86

38.    Equipment Rental Agreement #21-00142 with Century
       Contract Services, Inc.                                        $830.82
39.    Equipment Rental Agreement #61-00058 with Century
       Contract Services, Inc.

40.    All Resident Admission Agreements
                                                                      $0

41. Staffing Agreement with Hospice of the Midwest for Respite Care
                                                                      $0

42. Staffing Agreement with Hospice of the Midwest for Hospice
    Nursing Facility Services                                         $0

44. Agreement with Iowa Hospice
                                                                      $0

45. Medical Waste Disposal Agreement with GRP and Associates
                                                                      $0

46. Sunnycrest Registered Dietitian Agreement with Amy Mooney-Geels
                                                                      $0

47. Telligen Health Management Agreement with Sunnycrest
                                                                      $0

48. Sunnycrest Hospice Agreement with Care Initiatives
                                                                      $0

49. Sunnycrest Dental Services Contract with Senior Dental Care of
    Iowa                                                              $0
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50. Sunnycrest Three Rivers Provider Network Agreement
                                                                      $0

51. Sunnycrest Unity Point Respite Care Agreement
                                                                      $0

52. Clinical Lab Services Agreement with Virginia Gay Hospital
                                                                      $0

53. Wheaton Franciscan Healthcare Contract for Ancillary Services
                                                                      $0

54. Pharmacy Services Agreement with Pharmacy Matters
                                                                      $0

55. Pharmerica Consultant Agreement
                                                                      $0

56. Shred-it Contract
                                                                      $0

57. Utilities Contract with Alliant Energy
                                                                      $3,171.20

58. Utilities Contract with the City of Dysart
                                                                      $12,483.76

59. Sunnycrest’ s Pest Control Agreement with Ecolab Pest Elimination
    Division                                                          $747.02

60. Sunnycrest Martin Bros Distributing Contract
                                                                      $14,764.67

61. Sunnycrest Bugsby Pest Agreement
                                                                      $483.64

62. Crestview Acres Contract with Lukehart Lawn Care for Mowing and
    Trimming                                                        $880.00

63. Elevator Maintenance Services Contract with Schumacher Elevator
                                                                      $2,732.42
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64. Staffing Agreement Accessible Staffing
                                                                   $1,236.73

65. Staffing Agreement with Helping Hand Nursing Solutions Inc.
                                                                   $0

66. Sunnycrest Rehabilitation Services Agreement with Millennium
    Rehab & Consulting, Inc.                                       $136,482.15

67. Crestview Acres Medicare Provider Agreement #165299
68. Sunnycrest Medicare Provider Agreement #165515                 $93,301.20



                                  MADISON SQUARE

                               Contract                                 Cure Costs
1.     Staffing Agreement with A-1 Medical Staffing
                                                                   $0

2.     Medical Participating Provider Agreement for Amerigroup
       Iowa, Inc.                                                  $0

3.     Subscription Service Agreement with Wescom Solutions
       Inc. Pointclickcare Technologies                            $781.42

4.     Lease Agreement with Great America Financial
                                                                   $188.26

5.     Services Agreement with Centurylink Communications,
       LLC                                                         $526.57

6.     Services Agreement with Mediacom
                                                                   $1,225.83

7.     Contract with Aureon Technology
                                                                   $483.85

8.     Contract with Banleaco, Inc.
                                                                   $258.47
9.     Services Agreement with Mediacom
                                                                   $1,218.33
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10.   All Resident Occupancy Agreements
                                                                  $0


11.   Shred-it Contract                                           $0


12.   Utilities Contract with Winterset Municipal Utilities
                                                                  $0

13.   Utilities Contract with Midamerican Energy
                                                                  $3,839.89



                                  MITCHELLVILLE

                               Contract                                Cure Costs
1.    Staffing Agreement with AbiraCare LLC                            $36,175.15


2.    Agreement with Banleaco, Inc. for 1 Kyocera MFP                   $270.44


3.    Agreement for 2 Dexter Washer/Extractor, 1 Dexter                 $581.22
      Reversing Dryer with Century Contract Services, Inc.

4.    Nursing Home Medical Director Agreement with Dr. Dale             $600.00
      M. Grunewald

5.    Staffing Agreement with SolidCare Staffing
                                                                              $0

6.    Weekly mowing service contract with Hawkeye I                    $1,424.50
      VanGinkel (HVG) Lawn & Snow

7.    Non-emergency Transportation Services Agreement with
      Joy Ride Transport                                                $134.00

8.    Professional Services Agreement with KareFirst Management
      Corp                                                                    $0
9.    Staffing Agreement with Maxim Healthcare Servicers
                                                                              $0
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10.   Outpatient Dialysis Services Coordination Agreement with
      RCG Mercy Des Moines, LLC                                          $0


11.   Staffing Agreement with Solidcare Staffing
                                                                     $62,398.70

12.   Subscription Service Agreement with Wescom
      Solutions, Inc. dba Pointclickcare Technologies                  $2,554.68

13.   Lease Agreement with Great America Financial Services
                                                                      $217.00

14.   Rehabilitation Services Agreement with Millennium
      Rehab & Consulting, Inc.                                       $143,581.27

15.   Contract with Aureon Technology
                                                                      $1,528.40

16.   Mobile Imaging Services Agreement with BTX Iowa
                                                                       $198.58

17.   Rental Agreement with UNITED RENTALS/PAC-VAN
      INC                                                             $1,844.45

18.   Contract with Banleaco, Inc.
                                                                       $270.44

19.   Services Agreement with Centurylink Communications,
      LLC                                                              $606.00

20.   Equipment Rental Agreement #61-00065 with Century
      Contract Services, Inc.                                         $1,238.30

21.   All Resident Admission Agreements
                                                                         $0

22.   Pharmerica Consultant Agreement
                                                                      $4,701.84

23.   Shred-it Contract
                                                                        $0
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24.   Telligen Health Management Agreement
                                                                       $0

25.   RNL Services Automatic Fire Systems Agreement
                                                                       $0

26.   Dietitian Agreement with Elayne Eckel RD
                                                                       $0

27.   Services Agreement with Stericycle for Biohazard Waste
      Disposal                                                         $0

28.   Nursing Facility Hospice and Respite Care Services
      Contract with UnityPoint at Home dba UnityPoint                  $0
      Hospice
29.   Agreement with Waste Management of Iowa Inc.
                                                                       $0

30.   Hospice and Respite Care Agreement with St. Croix
      Hospice                                                          $0

31.   Hospice and Respite Care Agreement with Hospice of
      the Midwest                                                      $0

32.   Fraser Ambulance Transportation Agreement (Midwest
      Medical Transport Company of Nebraska)                           $0

33.   Hospice and Respite Care Agreement with Hospice of
      Central Iowa                                                     $0

34.   Dietitian Agreement with Jill Dolan RD                          $0


35.   Staffing Agreement with Signature Healthcare LLC                $0


36.   Staffing Agreement with Nursefinder
                                                                       $0

37.   Utilities Contract with the City of Mitchellville
                                                                       $0
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38    Utilities Contract with Midamerican Energy
                                                                   $3,670.65

39.   Ecolab Pest Elimination Division Pest Control
      Agreement                                                    $1,936.72

40.   Staffing Agreement with A-1 Careers
                                                                      $0

41.   Staffing Agreement with Accessible Staffing
                                                                  $38,147.06

42.   CBS Staffing, LLC, Staffing Agreement
                                                                  $59,153.64

43.   Staffing Agreement with Favorite Healthcare Staffing
                                                                  $18,664.00

44.   Staffing Agreement with Helping Hand Nursing
      Solutions Inc.                                               $7,308.96

45.   Medicare Provider Agreement #165264
                                                                  $253,516.90



                                 VILLA COTTAGES

                              Contract                            Cure Costs
1.    Subscription Services Agreement with Wescom Solutions
      Inc, dba Pointclickcare                                       $277.76

2.    Contract with Aureon Technology
                                                                   $2,102.80

3.    Contract with Windstream                                      $69.09


4.    Contract with Banleaco, Inc.                                  $602.05


5.    Mobile Imaging Services Agreement with BTX Iowa               $232.47
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6.    Services Agreement with Mediacom                                   $0

7.    Services Agreement with Centurylink Communications,              $529.40
      LLC

8.    Storage Agreement with Carlson Storage                          $110.00

9.    All Resident Occupancy Agreements
                                                                         $0

10.   Shred-it Contract
                                                                        $0


11.   Utilities Contract with Midamerican Energy
                                                                      $1,778.73

12.   Utilities Contract with Fort Dodge Water Dept.
                                                                         $0

13.   Ecolab Pest Elimination Division Pest Control Agreement        $598.02


14.   Martin Bros Distributing Contract
                                                                      $83.46



                                WINTERSET NORTH

                               Contract                              Cure Costs
1.    Staffing Agreement with AbiraCare LLC                          $47,588.26


2.    Nursing Facility Hospice and Respite Care Services with            $0
      Avalon Hospice Iowa

3.    Nursing Facility Hospice and Respite Care Services with            $0
      Hospice of Central Iowa dba EveryStep

4.    Nursing Facility Hospice and Respite Care Services with            $0
      Hospice of Central Iowa dba HCI Care Services
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5.    Nursing Facility Hospice and Respite Care Services with              $0
      Hospice of the Midwest

6.    Transfer Agreement with Madison County Memorial                    $991.20
      Hospital

7.    Rehabilitation Services Agreement with Millennium Rehab
      & Consulting Group                                                 $85,672.08

8.    Agreement for 50 PPM Paper Pass Unit, 3 hole punch, Sheet
      Tandem Paper Drawers, Fax Expansion Kit, Staple Finisher, Toner
      Supply, and Tone Colletion Bottle with MMIT Business Solutions     $602.05
      Group
9.    Contract with Montross Pharmacy Inc, for 2 medication carts
                                                                        $5,598.70

10.   Staffing Agreement with Nursepro Staffing (Aerofund
      Financial)
                                                                        $75,272.47

11.   Lawn fertilization and weed control contract with Pro-Turf
      Services                                                             $0

12.   Rehabilitation Services Agreement with Rehab Visions
                                                                         $216.66

13.   Staffing Agreement with Signature Healthcare LLC
                                                                           $0

14.   Nursing Facility Hospice and Respite Care Services                   $0
      Contract with St. Croix Hospice

15.   Nursing Facility Hospice and Respite Care Services
      Contract with Suncrest Hospice                                       $0

16.   Staffing Agreement with TNN Iowa Inc,
                                                                           $0

17.   Nursing Facility Hospice and Respite Care Services
      Contract with UnityPoint at Home dba UnityPoint                      $0
      Hospice
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18.   Subscription Service Agreement with Wescom Solutions
      Inc. dba Pointclickcare Technologies                          $4,716.44

19.   Lease Agreements with Great America Financial
      Services                                                     $323.54

20.   Contract with Aureon Technology
                                                                   $2,102.80

21.   Contract with Windstream
                                                                    $69.09

22.   Contract with BANLEACO
                                                                   $602.05

23.   Mobile Imaging Services Agreement with BTX Iowa
                                                                     $232.47

24.   Services Agreement with Mediacom
                                                                        $0

25.   Contract with Centurylink Communications, LLC
                                                                    $1,615.60

26.   Storage Agreement with Carlson Storage
                                                                     $110.00

27.   Equipment Rental Agreement #61-00056 with Century Contract
      Services, Inc.                                                $1,389.00
      Equipment Rental Agreement #21-00182 with Century
28.   Staffing
      ContractAgreement    with A-1 Careers
               Services, Inc.
                                                                        $0

29.   All Resident Admission Agreements                                 $0


30.   Utilities Contract with MidAmerican Energy Company
                                                                    $5,279.34

31.   Staffing Agreement with SolidCare Staffing
                                                                        $0
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32.   Shred-it Contract
                                                                         $0

33.   Nursing Facility Hospice and Respite Care Services with
      Suncrest Hospice LLC                                               $0

34.   Nursing Home Medical Director Agreement with Dr.
      Kevin de Regnier                                                   $0

35.   Nursing Facility Hospice Agreement with Genteva
                                                                         $0

36.   Medical Director Agreement with Dr. Robert Connor
                                                                         $0

37.   Services Agreement with Stericycle
                                                                         $0

38.   Telligen Health Management Agreement
                                                                         $0

39.   Utilities Contract with Midamerican Energy
                                                                      $5,279.34

40.   Staffing Agreement with Helping Hand Nursing Solutions
      Inc.                                                           $29,024.69

41.   Utilities Contract with Winterset Municipal Utilities
                                                                         $0

42.   Ecolab Pest Elimination Division Pest Control Agreement
                                                                      $1,182.23

43.   Martin Bros Distributing Contract
                                                                     $19,183.95

44.   Staffing Agreement with Accessible Staffing
                                                                     $27,720.97

45.   CBS Staffing, LLC, Staffing Agreement
                                                                     $65,152.67
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46.   Staffing Agreement with Favorite Healthcare Staffing
                                                                   $3,040.18

47.   Medicare Provider Agreement #165497
                                                                  $128,600.06
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                                         Schedule 3.01(e)

                                             Litigation

Crestview Acres, Inc.

Linn County Case No. LACV 057567
Plaintiff: Bill Evans, Estate of Becky Hewitt, Jeffrey Evans and Dakota Hewitt
Filed April 14, 2017

Crestridge, Inc.

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL150417
Plaintiff Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

QHC Management, LLC

Linn County Case No. LACV 057567
Plaintiff: Bill Evans, Estate of Becky Hewitt, Jeffrey Evans and Dakota Hewitt
Filed April 14, 2017

Humboldt County Case No. LACV018706
Plaintiff: Gayle Lemmon, Estate of Ellen McCullough, Dennis McCullough
Filed November 26, 2018

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL150417
Plaintiff: Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

Polk County Case No. LACL149989
Plaintiff: Nicole Bittle
Filed February 22, 2021

Polk County Case No. LACL151446
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Plaintiff: Estate of Gladys Mae VanSickle, Tammy VanSickle, Sherrie VanSickle, Clarence E.
Van Sickle
Filed September 9, 2021

QHC Humboldt South. LLC

Humboldt County Case No. LACV018706
Plaintiff: Gayle Lemmon, Estate of Ellen McCullough, Dennis McCullough
Filed November 26, 2018

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL150417
Plaintiff Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

Dickinson County Case No. LACV030157
Plaintiff: Grapetree Medical Staffing, LLC
Filed: January 30, 2020
Consolidated into LACV030142 which was dismissed 12/31/20

QHC Facilities, LLC

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL151446
Plaintiff: Estate of Gladys Mae VanSickle, Tammy VanSickle, Sherrie VanSickle, Clarence E.
Van Sickle
Filed September 9, 2021

QHC Fort Dodge Villa, LLC

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL150417
Plaintiff Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

Polk County Case No. LACL149989
Plaintiff: Nicole Bittle
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Filed February 22, 2021

QHC Humboldt North, LLC

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021
QHC Humboldt North, LLC (Continued)


Polk County Case No. LACL150417
Plaintiff Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

QHC Mitchellville, LLC

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL150417
Plaintiff Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

QHC Winterset North, LLC

Polk County Case No. LACL151779
Plaintiff: Millennium Rehab & Consulting Group, Inc.
Filed October 26, 2021

Polk County Case No. LACL150417
Plaintiff Camillus Staffing, LLC d/b/a Nextaff
Filed April 12, 2021

Polk County Case No. LACL151446
Plaintiff: Estate of Gladys Mae VanSickle, Tammy VanSickle, Sherrie VanSickle, Clarence E.
Van Sickle
Filed September 9, 2021
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                                 Schedule 3.01(o)

                               Certificates of Need



  None.
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                                    Schedule 3.01(s)

                                        Permits

  See attached excel sheet.
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                                                   Schedule 3.01(t)2

                                                       Compliance

Facility Surveys

Sunnycrest

       1. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated January 13, 2022.
       2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated June 8, 2021
       3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated April 12, 2021.
       4. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated March 25, 2021.
       5. Iowa Dept. of Inspections and Appeals Visit Data Sheet
       6. Iowa Dept of Public Safety Letter dated 6/8/2021
       7. Iowa Dept of Public Safety Letter dated 7/12/2021



QHC Fort Dodge Villa


       1. Iowa Dept. of Inspections and Appeals Visit Data Sheet
       2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated December 22, 2021.
       3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated December 6, 2021.
       4. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated October 6, 2021.
       5. Department of Health and Human Services Centers for Medicare and Medicaid Survey
          dated February 10, 2021.
       6. Fire Marshall Survey dated 2/2/2021


QHC Humboldt South

       1. Iowa Dept. of Inspections and Appeals Visit Data Sheet



2
    All surveys will be submitted into the Data Room
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   2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated January 11, 2022.
   3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated July 7, 2021.
   4. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated June 7, 2021
   5. CMS Letter dated February 15, 2022.

QHC Humboldt North
  1. Iowa Dept. of Inspections and Appeals Visit Data Sheet
  2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
     dated September 23, 2021.
  3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
     dated July 6, 2021.
  4. Iowa Dept of Public Safety Letter dated 8/5/2021


Crestridge

   1. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated January 11, 2022.
   2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated March 3, 2021.
   3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated January 6, 2021.
   4. Iowa Dept. of Inspections and Appeals Visit Data Sheet
   5. Fire Marshall Survey dated 2/12/2020



QHC Winterset North

   1. Iowa Dept. of Inspections and Appeals Visit Data Sheet
   2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated January 4, 2022
   3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated November 30, 2021
   4. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated September 15, 2021.
   5. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated April 8, 2021.
   6. Department of Health and Human Services Centers for Medicare and Medicaid Survey
      dated February 25, 2021.
   7. Iowa Dept of Public Safety Letter dated 12/22/2021
   8. Iowa Dept of Public Safety Letter dated 2/10/2022
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       QHC Mitchellville

       1. Department of Health and Human Services Centers for Medicare and Medicaid Survey
           dated February 2, 2022.
       2. Department of Health and Human Services Centers for Medicare and Medicaid Survey
           dated December 6, 2021.
       3. Department of Health and Human Services Centers for Medicare and Medicaid Survey
           dated August 18, 2021.
       4. Iowa Department of Inspections and Appeals Health Facilities Division Citation dated
           September 1, 2021.
       5. IDIA Letter dated September 1, 2021.
       6. IDIA Letter dated December 15, 2021.
       7. IDIA Letter dated February 10, 2022.
       8. Iowa Dept. of Inspections and Appeals Visit Data Sheet
       9. Department of Health and Human Services Centers for Medicare and Medicaid Survey
           dated February 15, 2022.
       10. OSHA—Iowa Workforce Development Letter dated February 18, 2022.



       QHC Villa Cottages

       1. Iowa Dept. of Inspections and Appeals Visit Data Sheet
       2. Iowa Department of Inspections and Appeals Health Facilities Division Citation dated
          September 29, 2019.
       3. Fire Marshall Survey dated 6/4/2021



       QHC Madison Square

       1. Iowa Dept. of Inspections and Appeals Visit Data Sheet
       2. Iowa Department of Inspections and Appeals Health Facilities Division Citation dated
          December 14, 2020.
       3. Fire Marshall Survey dated 11/5/2020


Facility Listing with Current Administrators3

CRESTRIDGE, INC. (CR)


3
    Administrator licenses have been added to the data room.
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1015 WESLEY DRIVE
MAQUOKETA, IA 52060-2637
AMANDA CARR, ADMINISTRATOR
EMILY CLARK, ADMIN. ASSISTANT
TELE: 563.652-4968/ FAX: 563.652-3150
COMPANY #11

CRESTVIEW ACRES, INC. (CV)
1485 GRAND AVENUE
MARION, IA 52302-5219
, ADMINISTRATOR
, ADMIN. ASSISTANT
TELE: 319.377-4823/ FAX: 319.377-4501
COMPANY # 12

QHC FORT DODGE VILLA, LLC (FV)
FORT DODGE VILLA CARE CENTER
2721 10TH AVENUE NORTH
FORT DODGE, IA 50501-2834
JESSICA BELLINGER, PROVISIONAL ADMINISTRATOR/ADMIN. ASSISTANT
JESSE GRAZIER, INTERIM ADMIN. ASSISTANT
TELE: 515.576-7525/ FAX: 515.955-7528
COMPANY #23

QHC VILLA COTTAGES, LLC (VC)
VILLA COTTAGES
925 MARTIN LUTHER KING DRIVE
FORT DODGE, IA 50501-2866
MEGAN KAHLER, MANAGER
TELE: 515.576-6525/ FAX: 515.573-3968
COMPANY # 78

QHC HUMBOLDT NORTH, LLC (HN)
HUMBOLDT CARE CENTER NORTH
1111 11TH AVENUE NORTH
HUMBOLDT, IA 50548-1225
STACY BENNA, ADMINISTRATOR
JESSICA HABHAB, INTERIM ADMIN. ASSISTANT
TELE: 515.332-2623/ FAX: 515.332-2653
COMPANY #30

QHC HUMBOLDT SOUTH, LLC (HS)
HUMBOLDT CARE CENTER SOUTH
800 13TH STREET SOUTH
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HUMBOLDT, IA 50548-2439
STACY BENNA, ADMINISTRATOR
JESSICA HABHAB, INTERIM ADMIN. ASSISTANT
TELE: 515.332-4104/ FAX: 515.332-4526
COMPANY #31


QHC MADISON SQUARE, LLC (MS)
209 W JEFFERSON STREET
WINTERSET, IA 50273-1676
LOGAN KUNZMAN, MANAGER
DEBBIE SHAFER, ADMIN. ASSISTANT
TELE: 515.462-5087/ FAX: 515.462-9058
COMPANY #43

QHC MITCHELLVILLE, LLC (MV)
MITCHELL VILLAGE CARE CENTER
114 CARTER STREET SW
MITCHELLVILLE, IA 50169-5000
LESLIE WALSH, ADMINISTRATOR
DARCY HEEBNER, ADMIN. ASSISTANT
TELE: 515.967-3726/ FAX: 515.967-3728
COMPANY #47

SUNNYCREST NURSING CENTER (SC)
401 CRISMAN STREET
DYSART, IA 52224-9520
ASHLEY KERSTEN, PROVISIONAL ADMINISTRATOR/ADMIN. ASSISTANT
TELE: 319.476-2400/ FAX: 319.476-3622
COMPANY #69

QHC WINTERSET NORTH, LLC (WN)
WINTERSET CARE CENTER NORTH
411 EAST LANE STREET
WINTERSET, IA 50273-1217
LESLIE WALSH, PROVISIONAL ADMINISTRATOR
BARBARA PAINTER, ADMIN. ASSISTANT
TELE: 515.462-1571/ FAX: 515.462-1572
COMPANY #84
**Rae Tucker was the previous provisional administrator, however, her license expired in
February 2022. Rae has submitted an application to the Iowa Nursing Home Admins Licensure
Board. Once approved she will be taking the test for the license. In the interim, the IDIA has
allowed Leslie Walsh to serve as a provisional administrator.


QHC FACILITIES, LLC
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LANETT POWERS, NURSE CONSULTANT
TELE: 515.570-1533/ FAX: 515.276-4353

QHC FACILITIES, LLC
LESLIE WALSH, REGIONAL ADMINISTRATOR
TELE: 319-427-1136/ FAX: 515-276-4353




                                                     Schedule 3.01(u)

                                          Licensed Beds and Current Rate4

          Debtor            Type         Facility Name          Location         Available        Bed        Occupancy

                                                                                   Beds        Occupancy         %

    QHC Facilities,     Corporate      N/A                 8350 Hickman            N/A            N/A           N/A
    LLC                                                    Rd., Ste. 15
                                                           Clive, Iowa 50325
    QHC                 Corporate      N/A                 8350 Hickman            N/A            N/A           N/A
    Management,                                            Rd., Ste. 15
    LLC                                                    Clive, Iowa 50325
    Crestridge, Inc.    Skilled        Crestridge          1015 Wesley Dr.          75             52           69.3
                        Nursing                            Maquoketa, IA
                                                           52060
    Crestview Acres,    Skilled        Crestview Acres     1485 Grand Ave.          100           N/A           N/A
    Inc.                Nursing                            Marion, IA 52302

                                       Sunnycrest          401 Crisman St.          50             24           48.0
                        Skilled        Nursing Center      Dysart, IA 52224
                        Nursing
    QHC Fort Dodge      Skilled        Fort Dodge Villa    2721 10th Ave.           107            64           59.8
    Villa, LLC          Nursing        Care Center         N.
                                                           Fort Dodge, IA
                                                           50501
    QHC Humboldt        Skilled        Humboldt Care       1111 11th Ave.           90             36           40.0
    North, LLC          Nursing        Center North        N.
                                                           Humboldt, IA
                                                           50548
    QHC Humboldt        Skilled        Humboldt Care       800 13th St. S.          40             17           42.5
    South, LLC          Nursing        Center South        Humboldt, IA
                                                           50548


4
    All Skilled Nursing Facilities are dually certified beds, and can accept Medicare, Medicaid, or private pay. Assisted
             Living Facilities are residential units.
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QHC              Skilled     Mitchell Village   114 Carter St. SW        65             20         30.8
Mitchellville,   Nursing     Care Center        Mitchellville, IA
LLC                                             50169
QHC Winterset    Skilled     Winterset Care     411 East Lane St.        120            42         35.0
North, LLC       Nursing     Center North       Winterset, IA
                                                50273
QHC Madison      Assisted    Madison Square     209 W Jefferson           44             39        88.6
Square, LLC      Living                         St.                  (Residential   (Residential
                                                Winterset, IA           Units)         Units)
                                                50273
QHC Villa        Assisted    Villa Cottages     925 Martin                20             14        70.0
Cottages, LLC    Living                         Luther King Dr.      (Residential   (Residential
                                                Fort Dodge, IA          Units)         Units)
                                                50501
                                                             Total       711
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                                 Schedule 3.01(y)

                              Financial Information
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                                         Schedule 3.01(z)

                                          Real Property

Crestridge, Inc

Property Address: 1015 Wesley Drive, Maquoketa, IA 52060

Legally described as follows:

       The South fourth of the East fourth of the Northwest quarter (NW 1/4) of the
       Southwest quarter (SW 1/4) of Section Twenty-Four (24), Township Eighty-Four
       (84) North, Range Two (2) East of the 5th P.M., Jackson County, Iowa;
       EXCEPTING THEREFROM the West twenty (20) feet thereof;

       AND

       Commencing twenty (20) rods West of the Southeast corner of the West half
       (W1/2) of the Northeast quarter (NE1/4) of the Southwest quarter (SW 1/4) of
       Section twenty-four (24), Township eighty-four (84) North, Range two (2) East of
       the 5th P.M., Jackson County, Iowa; thence West twenty (20) rods to the
       Southwest corner of the Northeast quarter (NE 1/4) of said Southwest quarter
       (SW 1/4) of said Section twenty-four (24); thence North twenty (20) rods; thence
       East twenty (20) rods more or less to West line of land heretofore conveyed to
       Leonard Seaver to Williams P. Thomas; thence South twenty (20) rods to the
       place of beginning; EXCEPTING THEREFROM Lots one (1), two (2), three (3),
       and four (4) according to survey by J. G. Thorne dated July 23, 1966, and
       recorded in Plat Book 1 Page 143, Office of the Recorder of Jackson County,
       Iowa, together with any interest in the street along the East side thereof;

       AND

       Beginning on the West line of Western Avenue in the City of Maquoketa, Jackson
       County, Iowa, nine hundred ninety (990) feet South of the point of intersection of
       the centerline of West Platt Street and the West line of said Western Avenue;
       thence West one hundred twenty (120) feet to the point of commencement; thence
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     West four hundred ninety (490) feet; thence North ten (10) feet; thence East four
     hundred ninety (490) feet; thence South ten (10) feet to the point of
     commencement, all in the North half (N1/2) of the Southwest quarter (SW 1/4) of
     Section twenty-four (24), Township eighty-four (84) north, Range two (2) East of
     the 5th P.M. in the City of Maquoketa, Jackson County, Iowa
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Crestview Acres, Inc.

Property Address: 1485 Grand Ave, Marion Iowa 52302-5219

Legally described as follows:

       South 417 feet of North 457 feet of West 417 feet of East 447 feet of Lot 1,
       “auditor’s Plat No. 202, Linn County, Iowa.

Crestview Acres, Inc. dba Sunnycrest Nursing Center

Property Address: 401 Crisman St., Dysart, IA 52224-9520

Legally described as follows:

       Lots Ten (10), Eleven (11) and Twelve (12), Block Seventeen (17) Dysart, Iowa.

QHC Fort Dodge Villa LLC dba Fort Dodge Villa Care Center

Property Address: 2721 10th Ave. North, Fort Dodge, IA 50501-2834

Legally described as follows:

       A tract of land located in the NE ¼ of the NW ¼ of Section 21-89-28 West of the
       5th P.M., City of Fort Dodge, Webster County, Iowa, more particularly described
       as follows: Commencing at the Northeast corner of the said NW ¼; thence
       N89°33’00”W 198 feet along the North line of the said NW ¼; thence
       S00°00’00”W 33.00 feet to the South right of way line of 10th Avenue North, to
       the point of beginning; thence continuing S00°00’00”W 481.01 feet; thence
       N89°33’00”W 423.51 feet to a point on the East right of way line of North 27th
       Street; thence N00°02’00”E 481.00 feet along the said East right of way line to a
       point on the South right of way line of 10th Avenue North; thence S89°33’00”E
       423.24 feet along the said South right of way line to the point of beginning,
       containing 4.67 acres.

QHC Villa Cottages, LLC dba Villa Cottages

Property Address: 925 Martin Luther King Dr., Fort Dodge, IA 50501-2866

Legally described as follows:

       A tract of land located in the NE 1/4 of the NW 1/4 of Section 21-89-28 West of
       the 5th P.M., City of Fort Dodge, Webster County, Iowa, more particularly
       described as follows: Commencing at the Northeast corner of the said NW 1/4;
       thence N89°33'00"W 198.00 feet along the North line of the said NW 1/4;
       thence S00°00'00"W 514.01 feet to the point of beginning; thence continuing
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       S00°00'00"W 46.85 feet to a point 116.00 feet normally distant northwesterly
       from the centerline of the Chicago & Northwestern Railway right of way;
       thence S50°27'00"W 549.54 feet along a line parallel with the said Railroad
       centerline to a point on the East right of way line of North 27th Street; thence
       N00°02'00"E 400.10 feet along the said East right of way line; thence
       S89°33'00"E 423.51 feet to the point of beginning, containing 2.17 acres,

       AND

       Part of the vacated North 24th Street located in the NE1/4 of the NW 1/4 of
       Section 21-89-28 West of the 5th P.M., City of Fort Dodge, Webster County,
       Iowa, more particularly described as follows: Commencing at the North Quarter
       corner of the said Section 21 (said North Quarter corner also being the Northeast
       corner of said NE 1/4 of the NW 1/4); thence S00°00'00"W 33.00 feet along the
       East line of the said NE 1/4 of the NW 1/4 to the South right of way line of 10th
       Avenue North; thence N89°33'00"W 198.00 feet along the South right of way
       line; thence S00°00'00"W 527.86 feet to a point on the Northerly right of way line
       of vacated 24th Avenue North being the point of beginning; thence
       S50°26'20"W 549.54 feet along the said northerly right of way line to a point on
       the East right of way line of North 27th Street; thence S00°02'00"W 85.66 feet
       along the said East right of way line of North 27th Street to a point on the
       northerly railroad right of way line; thence N50°26'20"E 549.61 feet along the
       said Northerly railroad right of way line; thence N00°00'00"E 85.61 feet to the
       point of beginning

QHC Humboldt North, LLC dba Humboldt Care Center North

Property Address: 1111 11th Avenue North, Humboldt, IA 50548-1225

Legally described as follows:

       Parcel One:

       All of Lot One (1) and the East Seventeen and one-half (17 ½) feet of Lot Two (2)
       of Block Thirty-Seven (37), Second College Addition, City of Humboldt,
       Humboldt County, Iowa.

       Parcel Two:

       All of Block Thirty-Six (36) and all of Tilleston Street (vacated) (now Twelfth
       Street North) between Blocks 36 and 37, all being in Second College Addition to
       the Town, now City, of Humboldt, Humboldt County, Iowa. (Sec. 36-92-29)

QHC Humboldt South, LLC dba Humboldt Care Center South

Property Address: 800 13th Street South, Humboldt, Iowa 50548-2439
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Legally described as follows:

       A tract of land in the Southeast one-quarter (SE ¼) of the Northeast One-Quarter
       (NE ¼) of Section Eleven (11), Township Ninety-One (91) North, Range Twenty-
       Nine (29), and more particularly described as follows: Beginning at the Northeast
       Corner of said Southeast One-Quarter (SE ¼) of the Northeast One-Quarter (NE
       ¼), said point being1300.17 feet South of the Northeast Corner of Section Eleven
       (11), thence South 417.4 feet along East line of Section Eleven (11), thence South
       88 degrees 40’ 30” West 467.4 feet, thence North 417.4 feet to Point on the North
       Line of said Southeast One-Quarter (SE ¼) of the Northeast One-Quarter (NE ¼);
       thence North 88 degrees 40’ 30” East 467.4 feet along said North line to Point of
       Beginning, except the North Thirty-Three (33) feet of North Edge and except that
       part conveyed to the State of Iowa by Warranty Deed recorded in Book 260, Page
       276, and more particularly described as follows: Commencing at the E ¼ corner
       of said Sec. 11; thence N00°07’29”E, 883.35 ft. along the East line of the NE ¼
       said Sec. 11 to the SE corner of said tract; thence continuing along said line
       N00°07’29”E, 384.34 ft.; thence S88°48’50”W, 65.02 ft.; thence S00°07’29”W,
       204.40 ft; thence S07°14’59”W, 120.93 ft.; thence S00°07’29”W, 60.30 ft. to a
       point on the South line of said tract; thence N88°48’09”E, 80.02 ft. along said line
       to the Point of Beginning; containing 0.61 acre, more or less, including 0.44 acre,
       more or less, in existing right of way.

QHC Madison Square, LLC dba Madison Square

Property Address: 209 W. Jefferson St., Winterset, IA 50273-1676

Legally described as follows:

       Units #101, #102, #103, #104, #106, #107, #108, #201, #202, #203, #204, #205,
       #206, #208, #301, #302, #303, #304, #305, #306, #307, and #308 of Jefferson
       Place in the City of Winterset, Madison County, Iowa, and an undivided interest
       in the common elements and areas of Jefferson Place, as shown in the Declaration
       of Condominium of Jefferson Place filed for record on April 14, 1995 in Town
       Lot Deed Record 60 at page 159 in the Madison County Recorder’s Office (and
       any supplements and amendments thereto).

       AND

       Unit #207 of Jefferson Place in the City of Winterset, Madison County, Iowa, and
       an undivided interest in the common elements and areas of Jefferson Place as
       shown in the Declaration of Condominium of Jefferson Place filed for record on
       April 14, 1995 in Town Lot Deed Record 60 at page 159 in the Madison County
       Recorder’s Office (and any supplements and amendments thereto).
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QHC Mitchellville, LLC dba Mitchell Village Care Center

Property Address: 114 Carter St. SW, Mitchellville, IA 50169-5000

Legally described as follows:

       All of Block 6, (except the East 165 feet and except the South 140 feet and except
       the West 126.33 feet) in Sage’s Addition to Mitchellville, Polk County, Iowa.

QHC Winterset North, LLC dba Winterset Care Center North

Property Address: 411 East Lane St., Winterset, IA 50273-1217

Legally described as follows:

A tract of land located in the Northwest Fractional Quarter (1/4) of the Northwest
Fractional Quarter (1/4) of Section Thirty-one (31) in Township Seventy-s9x (76) North,
Range Twenty-seven (27) West of the 5th P.M., City of Winterset, Madison County,
Iowa, more particularly described as follows, to-wit: Commencing at the Southwest
corner of the Northwest Fractional Quarter (1/4) of the Northwest Fractional Quarter
(1/4) of said Section Thirty-one (31), thence South 88°37’ East, 935.1 feet along the
South line of said Northwest Fractional Quarter (1/4) of the Northwest Fractional Quarter
(1/4) to the point of beginning, thence continuing South 88°37’ East, 347.2 feet, thence
North 506.5 feet, thence North 88° 37’ West, 347.2 feet, thence South 506.5 feet to the
point of beginning, containing 4.0359 acres.
